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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


         AMERICAN FEDERATION OF STATE,
         COUNTY AND MUNICIPAL
         EMPLOYEES, AFLCIO, et al.,

                    Plaintiffs-Appellees,
                                                                       No. 25-1291
                                   v.

         SOCIAL SECURITY ADMINISTRATION,
         et al.,

                    Defendants-Appellants.


         TIME-SENSITIVE MOTION FOR STAY PENDING APPEAL AND AN
                    IMMEDIATE ADMINISTRATIVE STAY

              The district court’s March 20, 2025, order improperly enjoins all

        employees of the United States Social Security Administration (SSA)

        working to “implemen[t] the DOGE agenda” from accessing the agency’s

        information systems and data. The court’s order essentially piggybacks on

        an earlier-issued injunctive order entered by another court within the

        district, adopting the other court’s reasoning nearly wholesale. The

        government has appealed the preliminary injunction entered in the other
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        case and has asked this Court to immediately stay it. See American Fed’n of

        Teachers v. Bessent, No. 25-1282. The Court should do the same here.

              The district court’s order, while issued under the guise of a

        “temporary restraining order,” has the practical effect of an appealable

        injunction and is without legal basis. For one thing, Plaintiffs suffer no

        cognizable Article III injury based on which agency employee has access to

        their data. For another, there is no “final agency action” to review here,

        just routine operational acts that are not subject to the Administrative

        Procedure Act (APA). For a third, there is nothing remotely unlawful

        about allowing agency employees to access agency data; the Privacy Act

        expressly authorizes such access when employees “need” it, and it is not

        for a district judge to second-guess the President’s determination that the

        SSA (along with other agencies) has a “need” to implement the “DOGE

        agenda” of modernizing the government’s information technology and

        rooting out fraud, waste, and abuse. Even if all that were insufficient, there

        is simply no irreparable harm warranting preliminary relief—as three other

        district judges have concluded in materially identical cases.

              At bottom, the district court’s order represents an improper effort to

        usurp Article II authority and to micromanage the Executive Branch by
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        making its own determinations about what “agenda” federal employees

        should be implementing. Correcting this error cannot await ordinary

        appellate review. The order is already posing immediate impediments to

        the government’s critical efforts to correct well-documented problems with

        its technological systems and to combat fraud and waste in federal

        government programs. This is the natural but untenable consequence of

        district judges using TROs and injunctions to superintend the everyday

        business of Executive Branch departments.

              For these reasons, the government respectfully requests that this

        Court stay the district court’s March 20 order pending the government’s

        appeal. Given its immediate impacts, the government asks this Court to

        issue an immediate administrative stay of the order and to rule on this stay

        motion by March 28, 2025.

                                       STATEMENT

              A.   Background

              Executive Order 14,158 established the U.S. DOGE Services (formerly

        the United State Digital Service) to implement the President’s directive “to

        improve the quality and efficiency of government-wide software, network

        infrastructure, and information technology (IT) systems.” Exec. Order No.

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        14,158, §§ 3(a), 4, 90 Fed. Reg. 8441, 8441 (Jan. 29, 2025) (USDS EO). Agency

        heads are required under the USDS EO to establish within their respective

        agencies a “DOGE Team” of at least four employees. Id. § 3(c). The USDS

        EO directs the USDS Administrator to collaborate with agency heads to

        modernize the technology and software infrastructure of the federal

        government to increase efficiency, productivity, and data integrity. Id. § 4.

              To accomplish its objectives, the USDS EO directs the USDS

        Administrator and relevant agency heads to work together to ensure that

        USDS has access to “unclassified agency records, software systems, and IT

        systems” to the “extent consistent with law.” Id. § 4(b). At all times, the

        USDS EO instructs, USDS must “adhere to rigorous data protection

        standards.” Id.

              B.    Procedural History

              Plaintiffs—two national labor unions and an advocacy

        organization—brought this action primarily under the APA. Plaintiffs

        allege that the SSA granted agency personnel implementing the USDS EO




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        access to records containing personally identifiable information in a

        manner that violates the Privacy Act and was arbitrary and capricious.

              After briefing and a hearing, the district court issued a “temporary

        restraining order,” accompanied by a 134-page Memorandum Opinion, on

        March 20, 2025. Dkts. 48, 49. The court determined that plaintiffs had

        standing because the injuries they alleged were “akin to the [common law]

        tort of intrusion upon seclusion.” Dkt. 49 at 85 (Mem. Op.). The court also

        held that plaintiffs had adequately identified “final agency action” for

        purposes of APA review in the form of internal agency decisions to allow

        employees to access certain systems. Id. at 91-100.

              Turning to the substance of plaintiffs’ motion, the district court

        concluded that plaintiffs were likely to succeed in showing that

        defendants’ actions violate the Privacy Act. Id. at 107-126. In arriving at

        these conclusions, the court largely adopted the reasoning from an order

        authored by another court in the district that enjoins DOGE employees at

        three other agencies from accessing systems at those agencies. See Order,




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        American Federation of Teachers v. Bessent, No. 25-cv-430, Dkt. 38 (D. Md.

        Feb. 24, 2025).1

              Moving on to the remaining factors, the district court found that

        plaintiffs would suffer irreparable harm in the form of agency review of

        their private information, Dkt. 49 at 126-130, and that the government

        would suffer no cognizable injury (and the public interest would be

        served) from an order enjoining unlawful agency action, id. 130-132.

              The district court’s order (Dkt. 48) specifically enjoins access to any

        SSA system of record containing personally identifiable information by any

        DOGE Team member or DOGE Affiliate, among others. It also requires

        them to delete all such information in their possession obtained from SSA

        systems, precludes them from installing any software on SSA systems, and

        requires them to remove any software previously installed.

              The government filed a timely notice of appeal on March 24, Dkt. 57,

        and moved for a stay in district court on March 26, Dkt. 60. The




              1 The government has appealed a preliminary injunction entered in

        that case and has asked this Court to immediately stay that injunction. See
        American Fed’n of Teachers v. Bessent, No. 25-1282 (4th Cir.).

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        government will inform this Court when the district court acts on the

        motion. Plaintiffs oppose this motion.

                                           ARGUMENT

        I.    The District Court’s Order Is Appealable

              In the unique circumstances of this case, the district court’s order is

        immediately appealable under 28 U.S.C. § 1292(a)(1), despite being labeled

        a temporary restraining order. At 134 pages, the sheer length of the court’s

        order alone indicates that it is not a mere temporary restraining order.

        Moreover, “the label attached to an order is not dispositive,” and “where

        an order has the ‘practical effect’ of granting or denying an injunction, it

        should be treated as such for purposes of appellate jurisdiction.” Abbott v.

        Perez, 585 U.S. 579, 594 (2018).

              Here, the district court’s order has the “practical effect” of an

        appealable injunction. Abbott, 585 U.S. at 595. It “bar[s]” the “lawful and

        important conduct” of DOGE team members and, in doing so, “threaten[s]

        serious and perhaps irreparable harm.” Id. While the order stands, SSA

        DOGE team members are prohibited from performing their critical work,

        which includes modernizing the SSA’s software and information systems

        to increase efficiency, productivity, and data integrity, see USDS EO § 4,

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        and analyzing the data contained within SSA systems to identify and

        correct fraud, waste, and abuse in SSA programs. Indeed, in accordance

        with the court’s order, the SSA’s Acting Commissioner has since certified

        that “the SSA DOGE Team is not directing, or involved, in any SSA

        projects, including those that the SSA DOGE Teams previously led or were

        involved in that include use of, access to, or otherwise involve systems

        containing personally identifiable information … or systems of record.”

        Dkt. 56-1 (¶ 5). The SSA DOGE team’s critical work has thus come to a

        grinding halt in consequence of the district court’s order.

              The harm the court’s order threatens is substantial. The SSA DOGE

        team is focused on key efforts that will adversely impact the agency and

        public if not timely pursued. See Dkt. 60-1. DOGE projects include, for

        example, work to improve SSA’s information systems so that those systems

        are better able to detect and combat serious forms of fraud the agency

        faces, including direct-deposit and wage-reporting fraud. Such fraud costs

        taxpayers and Social Security beneficiaries an estimated $521 billion dollars

        annually. See id. Every day DOGE team members must stop work allows

        such fraud to fester and prevents DOGE team members from correcting



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        myriad issues with the agency’s technology, to the detriment of the agency,

        its beneficiaries, and the American public.

              Because the district court’s order has the practical effect of an

        injunction, it is immediately appealable under 28 U.S.C. § 1292(a)(1). If this

        Court were nevertheless to conclude the order is unappealable under

        § 1292(a)(1), it should exercise its discretion to treat this motion as a

        petition for writ of mandamus. See Cheney v. U.S. Dist. Court for D.C., 542

        U.S. 367, 380-81 (2004).

        II.   A Stay of the District Court’s Order Is Warranted

              In addition, the familiar stay factors—likely success on the merits,

        irreparable injury, the balance of the equities, and the public interest—

        strongly favor a stay. Nken v. Holder, 556 U.S. 418, 426 (2009). The district

        court enjoined SSA DOGE team members from accessing information-

        technology systems that those employees, like other employees at the SSA,

        need to access to perform their vital work of modernizing and improving

        the systems, while also rooting out fraud and waste within government

        programs. The injunction intrudes on the basic operation of federal agency

        and thwarts the implementation of critical Presidential

        directives. Conversely, plaintiffs suffer no harm from the potential
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        disclosure of their information to agency employees who are bound by law

        to maintain the information’s confidentiality.

              A.    The Government Is Likely to Succeed on the Merits

              First, the government is likely to prevail both at the threshold and on

        the merits. Plaintiffs lack standing and have not challenged final agency

        action subject to review under the APA. Even if plaintiffs’ Privacy Act

        claim was subject to review, it would fail. The SSA has authority under the

        Privacy Act to allow agency employees and others working for the agency

        to access protected information when they need to do so to perform their

        job duties. The work of SSA DOGE team members easily satisfies that

        requirement.

                    1.     Plaintiffs lack standing

              To establish standing, “a plaintiff must demonstrate (i) that she has

        suffered or likely will suffer an injury in fact, (ii) that the injury likely was

        caused or will be caused by the defendant, and (iii) that the injury likely

        would be redressed by the requested judicial relief.” Food & Drug Admin. v.

        Alliance for Hippocratic Med., 602 U.S. 367, 380 (2024). “The party seeking to

        establish standing carries the burden of demonstrating these



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        elements.” Chambers Med. Techs. of S.C., Inc. v. Bryant, 52 F.3d 1252, 1265

        (4th Cir. 1995).

              Here, plaintiffs have not—and cannot—demonstrate that they or

        their members have suffered injury-in-fact. To satisfy Article III standing,

        harm must be “actual or imminent, not speculative,” meaning “the injury

        must have already occurred or be likely to occur soon.” Alliance for

        Hippocratic Med., 602 U.S. at 381. The harm must also be

        “concrete.” TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021). To be

        concrete, an injury-in-fact must have a “close relationship” to a “harm

        traditionally recognized as providing a basis for a lawsuit in American

        courts.” Id. at 417, 424. An alleged statutory violation alone does not meet

        that standard because Congress can create “a statutory prohibition or

        obligation and a cause of action,” but it may not override Article III’s injury

        requirement. Id. at 426.

              Those requirements are fatal to plaintiffs here. Plaintiffs assert a

        purely intangible form of injury—namely, they allege that the disclosure of

        their personal information to SSA DOGE team members constitutes an

        invasion of privacy. That injury is not concrete. Plaintiffs do not contend

        their information has been shared with parties outside the agency or others
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        likely to misuse their information. The DOGE employees at the agency are

        bound by the same legal and ethical restrictions on the disclosure of

        plaintiffs’ information that bind all SSA agency employees with access to

        that information.

              Plaintiffs’ asserted injury thus bears a close resemblance to the harms

        the Supreme Court deemed insufficiently concrete in TransUnion. There,

        the Court held that the mere fact that the defendant allegedly maintained

        inaccurate information about the plaintiffs within the company’s files, in

        violation of a statutory requirement, was not sufficient to establish

        standing; any harm to the plaintiffs in TransUnion would become concrete

        only upon publication of the inaccurate information to third

        parties. TransUnion, 594 U.S. at 434. Here too, the mere fact that the SSA

        allegedly committed a statutory violation in allowing SSA employees to

        access information stored in SSA databases does not alone demonstrate a

        concrete harm.

              The district court nevertheless held plaintiffs established an injury-in-

        fact because plaintiffs’ alleged injury purportedly was “akin” to the




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        common law tort of intrusion upon seclusion. Mem. Op. at 85. That

        conclusion is wrong in several respects.

              First, it is incompatible with this Court’s precedent. In O’Leary v.

        TrustedID, Inc., 60 F.4th 240 (4th Cir. 2023), this Court rejected the plaintiffs’

        attempt to analogize the disclosure of their partial social security numbers

        to intrusion upon seclusion, explaining there was no “unwanted intrusion

        into the home” and, therefore, no intrusion upon seclusion. Id. at 246; see

        id. at 245 (noting “federal courts’ traditional protection of ‘privacy interests

        in the home’”). As this Court emphasized there, it is “the unwanted

        intrusion into the home that marks intrusion upon seclusion,” and

        therefore a plaintiff must plead something “that closely relates to that”

        kind of invasion to establish a cognizable Article III injury. Id. at

        246. Contrary to the district court’s ruling, an agency employee’s review of

        an individual’s personal information that the individual has voluntarily

        provided to the agency and which is stored on government systems does

        not bear a “close relationship” to the common law tort of intrusion upon




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        seclusion. Mem. Op. 78. O’Leary forecloses the district court’s

        conclusion.

              In ruling otherwise, the district court instead focused on this Court’s

        decision in Garey v. James S. Farrin, 35 F.4th 917 (4th Cir. 2022). But there

        the plaintiffs alleged not only that the defendant unlawfully obtained their

        names and addresses but also that they used the data they obtained to send

        unsolicited mail to plaintiffs’ homes. See id. at 921. And as this Court

        noted in O’Leary, that kind of “invasion” into plaintiffs’ reasonable

        expectation of privacy is the sine qua non of the injury underlying the tort of

        invasion upon seclusion.

              Even if O’Leary does not control, the district court’s conclusion that

        plaintiffs’ alleged injury bears a resemblance to the tort of inclusion on

        seclusion should be rejected. Black-letter law confirms that, to establish the

        tort of intrusion upon seclusion, a plaintiff must show he possesses a

        reasonable expectation of privacy and that the defendant intruded upon

        that privacy interest in a manner that would “be highly offensive to a




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        reasonable person.” Restatement (Second) of Torts § 652B (Am. Law Inst.

        1977). Plaintiffs cannot make that showing here.

              Plaintiffs do not dispute that the SSA legally obtained their personal

        information or that the SSA legally retains that information in data systems

        maintained by, and housed within, the agency. Moreover, when plaintiffs

        provided their information to the government (in exchange for a

        government benefit), they did so on the understanding that the information

        would be routinely used by agency employees and others within and

        outside the government to perform the types of activities that the DOGE

        team members plan to undertake. For example, the System of Record

        Notice (SORN) for SSA’s Master File of Social Security Number Holders

        and SSN Applicants database provides that records in the database will be

        routinely shared not only with SSA employees but also with “contractors

        and other Federal agencies” for the purpose of “assisting SSA in the

        efficient administration of its programs.” 87 Fed. Reg. 263, 264 (Jan. 4,

        2022). The agency’s SORNs also inform individuals that their data will be

        shared with other federal agencies “for the purpose of conducting

        computer matching programs designed to reduce fraud, waste, and abuse.”

        71 Fed. Reg. 1796, 1858 (Jan. 11, 2006). Given that plaintiffs provided their
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        information to the SSA on the understanding that it would be routinely

        used by agency employees and others to improve the administration of

        SSA’s programs and to investigate improper payments, disclosure of

        plaintiffs’ information to DOGE team members—who are themselves

        agency employees and who are performing those very tasks—cannot

        possibly qualify as “highly offensive,” even if it was in some manner

        improper.

              Indeed, plaintiffs do not dispute that their personal information can

        lawfully be accessed by employees of the agency and shared outside of the

        agency for any of the numerous purposes set forth in the Privacy Act and

        the agency’s Statement of Record Notices. See 5 U.S.C. § 552a(b)(1)-

        (13). Nor do plaintiffs dispute that their personal information, located in

        government systems, can and is regularly accessed by agency employees

        and others. And, in practice, plaintiffs would have no reason to know that

        a particular employee has accessed their information in the normal course

        of that employees’ duties. See TransUnion, 594 U.S. at 438 (emphasizing

        that certain plaintiffs had not suffered an injury sufficient to support

        standing where no evidence showed they “even knew” their files contained

        inaccurate information). For all these reasons, the accessing of plaintiffs’
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        information by SSA DOGE team members in no sense creates the kind of

        highly objectionable invasion of personal privacy that forms the core of the

        common law tort.

                    2.    Plaintiffs have not identified final agency action

              The district court lacked authority to resolve plaintiffs’ claims for an

        additional reason—only “final agency action” is reviewable under the

        APA, 5 U.S.C. § 704, and an agency’s decision to provide employees with

        access to agency data systems does not qualify.

              It is well-settled that not all agency conduct is subject to review under

        the APA. The APA does not permit “general judicial review of [an

        agency’s] day-to-day operations.” Lujan v. National Wildlife Fed’n, 497 U.S.

        871, 899 (1990). Nor does the APA authorize agencies to oversee “the

        common business of managing government programs.” Fund for Animals,

        Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 20 (D.C. Cir. 2006).

              Plaintiffs’ complaint seeks review of exactly that kind of day-to-day

        management of agency operations. The supposed “agency action”

        plaintiffs identify is a loosely defined series of personnel decisions related

        to granting individual SSA employees access to agency systems. Plaintiffs

        contend that the SSA granted access to DOGE team employees in too
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        rushed a manner and without adequately vetting those employees,

        providing them with sufficient training, or correctly assessing those

        employees’ need for access to the agency’s systems. These are precisely the

        type of day-to-day operational decisions and conduct that the Supreme

        Court in Lujan advised do not fall within the APA’s ambit. See Lujan, 497

        U.S. at 899. As this Court has recognized, courts “are woefully ill-suited …

        to adjudicate” “‘broad programmatic attack[s]’” “asking [the judiciary] to

        improve an agency’s performance or operations.” City of New York v. U.S.

        Dep’t of Def., 913 F.3d 423, 431 (4th Cir. 2019). In that kind of case, “courts

        would be forced either to enter a disfavored ‘obey the law’ injunction or to

        engage in day-to-day oversight of the executive’s administrative

        practices. Both alternatives are foreclosed by the APA, and rightly so.” Id.

              Plaintiffs’ understanding of what qualifies as “agency action” would

        have sweeping and untenable consequences. Agencies make thousands of

        personnel decisions every day of the type plaintiffs challenge here, whether

        creating an e-mail account for an employee, staffing an employee on a

        particular matter, or ensuring that an employee has the relevant training

        and credentials to access systems or participate in programs. A court could

        not review such decisions without bringing within the scope of the APA
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        virtually every aspect of an agency’s relationship with its

        employees. Neither plaintiffs nor the district court identified any

        precedent accepting that such work-a-day internal decisions are reviewable

        under the APA.

              In addition, even if it qualifies as agency action, granting certain

        employees access to agency databases is not “final” agency action because

        it is not an action through which “rights or obligations have been

        determined” or from which “legal consequences will flow.” Bennett v.

        Spear, 520 U.S. 154, 177–78 (1997). Plaintiffs’ Amended Complaint fails to

        demonstrate how providing an employee with system access necessary to

        his or her job duties creates any rights, obligations, or legal consequences

        for plaintiffs. U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 597

        (2016). There is no final agency action where the challenged act “impose[d]

        no obligations, prohibitions or restrictions on regulated entities” and “d[id]

        not subject them to new penalties or enforcement risks.” Sierra Club v.

        EPA, 955 F.3d 56, 63 (D.C. Cir. 2020). Plaintiffs are not regulated by

        internal agency decisions to allow new employees access to the agency’s




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        own systems, nor have they identified any direct legal consequences that

        arise from those decisions.

              The fact that such decisions might hypothetically lead to indirect,

        practical consequences for plaintiffs does not change the analysis. Adverse

        effects “accompany many forms of indisputably non-final government

        action.” Air Brake Sys., Inc. v. Mineta, 357 F.3d 632, 645 (6th Cir. 2004). For

        example, “initiating an enforcement proceeding against a company … may

        have a devastating effect on the company’s business, but that does not

        make the agency’s action final.” Id. What matters is that the alleged data

        access decisions here have no “direct and appreciable legal consequences”

        for plaintiffs. See California Cmtys. Against Toxics v. EPA, 934 F.3d 627, 640

        (D.C. Cir. 2019). That is fatal to plaintiffs’ APA claim.

              Nor is this a case where plaintiffs have identified some agency action

        or policy resulting in third-party disclosure of confidential

        information. Courts have recognized that unauthorized third-party

        disclosures can have direct and immediate consequences for plaintiffs. See

        Venetian Casino Resort, LLC v. EEOC, 530 F.3d 925 (D.C. Cir. 2008). But

        review of data contained in internal agency systems by agency employees

        does not threaten the same immediate harms. Indeed, courts recognize
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        that, without third-party disclosure, claims founded on internal disclosure

        of data do not even state a cognizable injury for standing purposes. See

        Hunstein v. Preferred Collection & Mgmt. Servs., Inc., 48 F.4th 1236, 1240,

        1245-50 (11th Cir. 2022) (en banc) (collecting cases).

              B.    Even if Justiciable, Plaintiffs’ Claims Fail

                    1.    Plaintiffs’ APA claims are foreclosed by the Privacy
                          Act’s narrow cause of action

              The APA provides a vehicle for review only in circumstances where

        “there is no other adequate remedy.” 5 U.S.C. § 704; see also Bowen v.

        Massachusetts, 487 U.S. 879, 903 (1988). That requirement is not satisfied

        here, however, because the Privacy Act provides an exclusive and

        “comprehensive remedial scheme” for injuries arising out of the

        inappropriate dissemination of private information in the government’s

        possession. Wilson v. Libby, 535 F.3d 697, 703 (D.C. Cir. 2008) (citing Chung

        v. U.S. Dep’t of Justice, 333 F.3d 273, 274 (D.C. Cir. 2003)). Plaintiffs may not

        use the APA to circumvent that carefully crafted scheme.

              Plaintiffs seek a form of relief that Congress did not make available

        under the Privacy Act. Section 552a(g) of the Act establishes the narrow

        causes of action under which an “individual may bring a civil action


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        against the agency” for violations of the Act. See 5 U.S.C.

        § 552a(g)(1). Here, plaintiffs seek an injunction barring the relevant

        agencies from taking actions that, in plaintiffs’ view, violate § 552a(b)’s

        prohibition on the disclosure of their personal information. Congress

        authorized suits seeking prospective injunctive relief to enforce certain

        provisions of the Act, namely where a plaintiff asks an agency to “amend”

        a record or seeks to access a record they are entitled to under the statute.

        Id. § 552a(g)(2), (3). It did not, however, authorize suits for injunctive relief

        to prevent violations of § 552a(b). Congress instead permitted individuals

        to enforce their rights under § 552a(b) only through suits for money

        damages. See id. § 552a(g)(4); Sussman v. U.S. Marshals Serv., 494 F.3d 1106,

        1122 (D.C. Cir. 2007). In short, Congress concluded that suits for money

        damages provide an adequate remedy for violations of § 552a(b) and




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        limited relief to suits for such damages. That congressional determination

        forecloses plaintiffs’ APA claim.2

                    2.    There is no Privacy Act violation.

              Plaintiffs’ Privacy Act claims fail on the merits, in any event. While

        the Privacy Act generally prohibits disclosure of covered records

        containing personal information absent consent, it authorizes disclosure of

        such records to “those officers and employees of the agency which

        maintains the record who have a need for the record in the performance of

        their duties.” 5 U.S.C. § 552a(b)(1). The disclosure of plaintiffs’ records to

        SSA DOGE team members within the agency falls comfortably within that

        authorization.

              First, the relevant employees at SSA are employees of the agency for

        Privacy Act purposes. “[F]or purposes of” Title 5 of the U.S. Code, which

        includes the Privacy Act, “employee” “means an officer and an individual

        who is” first “appointed in the civil service by one of the following acting


              2 Defendants recognize that, in dicta, this Court has suggested that

        prospective injunctive relief may be available under the APA for alleged
        Privacy Act violations. See Doe v. Chao, 435 F.3d 492, 504 n.17 (4th Cir.
        2006). But that dicta is not binding on this panel, and even if it were,
        defendants disagree and raise the argument here to preserve it for any
        further review.
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        in an official capacity”; as relevant here, the ensuing list of potential

        appointers includes “the President” and “an individual who is an

        employee under this section.” 5 U.S.C. § 2105(a)(1)(A), (D). An employee

        must also be “engaged in the performance of a Federal function under

        authority of law or an Executive act; and … subject to the supervision of an

        individual named by paragraph (1) of this subsection while engaged in the

        performance of the duties of his position.” Id. § 2105(a)(2), (3). The

        relevant employees easily satisfy that definition.

              Second, the employees at issue have a “need” to access the records

        contained in the relevant systems to perform their official duties. 5 U.S.C.

        § 552a(b)(1). The DOGE team at SSA exists under Executive Order 14,158

        to modernize technology and to “[m]aximize [e]fficiency and

        [p]roductivity.” USDS EO § 4, 90 Fed. Reg. at 8442. To that end, the Order

        instructs agency heads “to the maximum extent consistent with law, to

        ensure USDS has full and prompt access to all unclassified agency records,

        software systems, and IT systems,” and in turn requires USDS to “adhere

        to rigorous data protection standards.” Id. § 4(b). Given the purpose of the

        order—to modernize technology—it necessarily follows that agency

        personnel seeking to improve agency systems would need access to them
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        to conduct that modernization. Put another way, it would be impossible

        for the DOGE team members to modernize these data systems without

        access to the systems themselves.

              It is likewise plain that SSA DOGE team members investigating

        whether the government has made improper expenditures require access

        to the records detailing the relevant payments. To assess the propriety of

        any payment, an analyst needs to know the details surrounding that

        payment, including information about the recipient of that payment, the

        amount of the payment, the payment’s purpose, and so forth. One is hard-

        pressed to understand how such investigative work could be performed

        without access to the relevant payment records.

              The “need” underlying the employees access here is both clear

        (arising directly from the mandates of an Executive Order and the

        functions being performed by DOGE team employees) and obvious (as it is

        impossible to effectively review and modernize a data system without

        accessing that system, including the records within it, or to investigate

        improper payments without reviewing payment records). The district

        court’s conclusion that the government had failed to establish that the

        DOGE team members need access was thus plainly wrong. And, indeed,
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        the district court’s reasoning would appear to call into doubt the legality of

        the agency’s granting of access to the many non-DOGE team members who

        have had access to the relevant systems for years and who perform tasks

        substantially similar to the work being performed by SSA DOGE team

        members. That is not correct. Like other employees at the agency, the SSA

        DOGE team members need to access records in the pertinent

        systems. Accordingly, § 552a(b)(1) authorizes that access.

        II.   The Remaining Factors Favor a Stay.

              The remaining factors—irreparable harm, the balance of harms, and

        the public interest—likewise favor the requested stay. Allowing the

        injunction to stay in effect threatens irreparable injuries to the government

        and the public, whose interests “merge” in this context. Nken, 556 U.S. at

        435. The injunction here impinges on the President’s broad authority over

        and responsibility for directing employees in important work to modernize

        federal government systems and identify fraud, waste, and abuse

        throughout the federal government. It is therefore “an improper intrusion

        by a federal court into the workings of a coordinate branch of the

        Government.” Immigration & Naturalization Serv. v. Legalization Assistance



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        Project of L.A. Cty. Fed’n of Labor, 510 U.S. 1301, 1305–06 (1993) (O’Connor,

        J., in chambers).

              At every turn, the injunction inflicts irreparable constitutional harm.

        It erodes the President’s control over subordinates. It frustrates the

        public’s interest in having their elected President effectuate policy

        priorities through lawful direction of the Executive Branch. And it inserts

        the Judicial Branch into the day-to-day, internal operations of federal

        agencies. Moreover, by preventing the DOGE team from scrutinizing SSA

        systems for waste, fraud, and abuse, the order likely facilitates improper

        payments that will be difficult, if not impossible, for the government to

        recover.

              By contrast, the district court’s conclusions regarding the harm to

        plaintiffs were premised on fundamental errors. For all the reasons

        plaintiffs have failed to show cognizable injury for the purposes of Article

        III standing, they have necessarily failed to show irreparable harm, which

        is fatal to plaintiffs’ motion. See Mountain Valley Pipeline v. Western

        Procahontas Prop. Ltd., 918 F.3d 353, 366 (4th Cir. 2019) (“Each of these four

        requirements must be satisfied.”). But even if they had shown a cognizable

        injury for the purposes of standing, plaintiffs nonetheless fail to make a
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        clear showing of actual and imminent harm from the intra-agency

        disclosure of information, where employees who view that information are

        subject to the same confidentiality obligations that apply to other similarly

        situated agency employees. Indeed, three other courts addressing similar

        claims have denied motions for emergency relief based on the plaintiffs’

        failure to establish irreparable harm. See University of Cal. Student Ass’n v.

        Carter, --- F. Supp. 3d ----, 2025 WL 542586, at *5 (D.D.C. Feb. 17, 2025)

        (“Courts have declined to find irreparable injury where the challenged

        disclosure is not ‘public,’ but [rather] involves individuals obligated to

        keep it confidential.”); Electronic Privacy Info. Ctr. v. U.S. Office of Personnel

        Mgmt., 2025 WL 580596, at *6-7 (E.D. Va. Feb. 21, 2025); Alliance for Retired

        Ams. v. Bessent, --- F. Supp. 3d ----, 2025 WL 740401, at *20–24 (D.D.C. Mar.

        7, 2025).




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                                      CONCLUSION

              For the foregoing reasons, this Court should stay the district court’s

        March 20, 2025, order pending appeal.

                                          Respectfully submitted,

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         MARCH 2025




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                            CERTIFICATE OF COMPLIANCE

              I hereby certify that this motion satisfies the type-volume

        requirements set out in Federal Rule of Appellate Procedure 27(d)(2)(A)

        because it contains 5,183 words. This motion was prepared using

        Microsoft Word in Book Antiqua, 14-point font, a proportionally spaced

        typeface.



                                                     s/ Jacob Christensen
                                                    Jacob Christensen
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

          AMERICAN FEDERTION OF
          STATE, COUNTY AND
          MUNICIPAL EMPLOYEES, AFL-
          CIO, et al.
             Plaintiffs,
                                                  Civil Action No. ELH-25-0596
             v.

          SOCIAL SECURITY
          ADMINISTRATION, et al.
             Defendants.



                                   MEMORANDUM OPINION




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                                                I.      Introduction

               This case is one of dozens of lawsuits filed since the inauguration of President Donald J.

        Trump on January 20, 2025, challenging a wide swath of executive orders as well as the

        implementation of them. In particular, this case concerns the decision of the Social Security

        Administration (“SSA” or the “Agency”) to provide ten anonymous individuals affiliated with the

        Department of Government Efficiency (“DOGE”) with unfettered access to the SSA records of

        millions of Americans.

               “[W]e’ve just never seen anything like it,” proclaimed plaintiffs’ counsel at a motion

        hearing held on March 14, 2025. ECF 45 (Tr., March 14, 2025), at 64. 1 Defense counsel

        acknowledged at the hearing that SSA has, indeed, provided DOGE affiliates with access to a

        “massive amount” of records. Id. at 17. But, counsel claimed that such access is needed so that

        DOGE personnel can search for “improper or fraudulent payments” made by SSA. Id. at 22.

               Ironically, the identity of these DOGE affiliates has been concealed because defendants are

        concerned that the disclosure of even their names would expose them to harassment and thus

        invade their privacy. The defense does not appear to share a privacy concern for the millions of

        Americans whose SSA records were made available to the DOGE affiliates, without their consent,

        and which contain sensitive, confidential, and personally identifiable information (“PII”). As used

        here, “‘Personally identifiable information’ means information that can be used to distinguish or

        trace an individual’s identity, either alone or when combined with other information that is linked

        or linkable to a specific individual.” Office of Mgmt. & Budget, Exec. Office of the President,




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                 With the exception of the Table of Contents, the Court cites to the electronic
        pagination. However, the electronic pagination does not always correspond to the page number
        imprinted on a particular submission.

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        OMB        Circular   A-130,   Managing    Information    as   a   Strategic   Resource    (2016),

        https://perma.cc/L3CV-M6RF.

               In particular, the information in SSA’s records includes Social Security numbers, personal

        medical and mental health records, driver’s license information, bank account data, tax

        information, earnings history, birth and marriage records, home and work addresses, school

        records, immigration and/or naturalization records, health care providers’ contact information,

        family court records, and employment and employer records.

                                                  II.    Summary

               Plaintiffs, two national labor and membership associations and one grassroots advocacy

        organization, filed suit against the Social Security Administration and three other defendants on

        February 21, 2025, challenging the legality of SSA’s decision to provide unlimited access to an

        enormous quantity of sensitive, personal, protected, and confidential information pertaining to

        millions of Americans. ECF 1. 2 On March 7, 2025, plaintiffs filed a “First Amended Complaint

        For Declaratory and Injunctive Relief,” ECF 17 (“Amended Complaint”), which substantially


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                  Several cases have been filed throughout the country asserting similar allegations with
        respect to disclosures of confidential information by other federal agencies. See, e.g., American
        Federation of Teachers, at al., v. Bessent, et al., 25-DLB-0430, 2025 WL 582063 (D. Md. Feb.
        24, 2025) (granting TRO against U.S. Department of Education, and Denise L. Carter, Acting
        Secretary of Education, as well as against the Office of Personnel Management and its Acting
        Director, Charles Ezell); Electronic Privacy Information Center, et al., v. U.S. Office of Personal
        Management, et al., 25-RDA-255, 2025 WL 580596 (E.D. Va. Feb. 21, 2025) (denying
        preliminary injunction because plaintiffs failed to show irreparable harm); New York, et al. v.
        Trump, et al., 25-JAV-1144, 2025 WL 573771 (S.D.N.Y. Feb. 21, 2025) (granting preliminary
        injunction against U.S. Department of the Treasury and Scott Bessent, the Secretary of the
        Treasury); New Mexico, et al., v. Musk, et al., 25-TSC-429, 2025 WL 520583 (D.D.C. Feb. 18,
        2025) (denying TRO because plaintiffs did not show irreparable harm); Univ. of California Student
        Ass’n v. Carter, 25-RDM-354, __ F. Supp. 3d __, 2025 WL 542586 (D.D.C. Feb. 17, 2025)
        (denying TRO because plaintiffs did not show irreparable harm); Am. Fed’n of Lab. & Cong. of
        Indus. Organizations, et al. v. Dep’t of Lab., et al., 25-JDB-0339, 2025 WL 542825, at *5 (D.D.C.
        Feb. 14, 2025) (denying TRO because plaintiffs did not show that they were highly likely to
        succeed on the merits).

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        revised the lawsuit and added three defendants. As discussed, infra, on the same date, plaintiffs

        also filed a motion for a temporary restraining order. ECF 21.

                 The plaintiffs are the American Federation of State, County and Municipal Employees,

        AFL-CIO (“AFSCME”); Alliance for Retired Americans (“ARA” or “Alliance”); and American

        Federation of Teachers (“AFT”). They have sued the Social Security Administration; Leland

        Dudek, in his official capacity as “purported Acting Commissioner” of the SSA; Michael Russo,

        in his official capacity as Chief Information Officer (“CIO”) of the Agency; Elon Musk, in his

        official capacity as “Senior Advisor to the President and de facto head of” the Department of

        Government Efficiency; the “U.S. DOGE Service”; the U.S. DOGE Service Temporary

        Organization; and Amy Gleason, in her official capacity as the DOGE Acting Administrator.

                 I shall refer to the SSA, Dudek, and Russo collectively as the “SSA Defendants.” I shall

        refer to the Department of Government Efficiency as “DOGE” and U.S. DOGE Service as

        “USDS.” USDS; U.S. DOGE Service Temporary Organization; Musk; and Gleason shall be

        collectively referenced as the “DOGE Defendants.” And, for convenience, I shall sometimes refer

        to all of the defendants collectively as the “government.” The anonymous individuals associated

        with DOGE, to whom SSA has granted access to its records, shall be referred to as the “DOGE

        Team.”

                 Plaintiffs allege that the SSA “has abandoned its commitment to maintaining the privacy

        of personal data” provided to the Agency by millions of Americans and has unlawfully “opened

        its data systems to unauthorized personnel from [DOGE] in violation of applicable laws and with

        disregard fo[r] the privacy interest of the millions of Americans that SSA serves.” ECF 17, ¶ 2.

        They also maintain that the “White House” has demonstrated “a breathtaking disregard for the

        legal protections Congress and the Executive Branch implemented to protect data belonging to or



                                                        3

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        pertaining to individual Americans.” Id. ¶ 12. And, they assert that it is unprecedented for “a

        group of unelected, unappointed, and unvetted individuals,” described variously as White House

        employees, employees of agencies, and advisors, to gain access to such sensitive information. Id.

        ¶ 10. Similarly, referring to defendant Musk, they assert: “Never before has an industry mogul

        with countless conflicts of interest—not to mention an undefined role in the administration—

        sought and gained access to protected, private data on nearly every person in the country.” Id.

        ¶ 11.

                According to plaintiffs, defendants have “ransacked” the SSA, “installing DOGE

        associates without proper vetting or training . . . and demanding access to some of the agency’s

        most sensitive data systems.” Id. ¶ 83. This data includes, among other things, “Social Security

        numbers, employment and wage information, medical histories, tax return information, and

        personal addresses . . . .” Id. ¶ 1; see also id. ¶ 35. Thus, the suit “seeks to protect Plaintiffs and

        their members against the ongoing (and ever increasing) harm caused by DOGE and certain SSA

        executives’ unlawful seizure of personal, private, and sensitive data from SSA systems.” Id. ¶ 13. 3

                The Amended Complaint contains seven counts. Counts I, III, IV, and V allege unlawful

        and arbitrary and capricious Agency action, in violation of the Administrative Procedure Act

        (“APA”), 5 U.S.C. § 551 et seq.

                Count I alleges that the SSA Defendants have unlawfully disclosed and continue to disclose

        “personal records contained in systems of records under their control,” without consent of

        plaintiffs’ members, in violation of the Privacy Act, 5 U.S.C. § 552a, and § 706(2) of the APA.

        ECF 17, ¶ 101. Count I also alleges that the SSA Defendants “entered inter-agency data sharing


                3
                 Subject matter jurisdiction is founded on 28 U.S.C. § 1331 because this action arises
        under federal law. ECF 17, ¶ 14.



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        agreements without abiding [by] the process prescribed by law, 5 U.S.C. § 552a(o).” Id. ¶ 102.

        According to plaintiffs, this conduct constitutes final agency action under 5 U.S.C. § 704. Id.

        ¶ 103. And, plaintiffs allege that the SSA Defendants “have thereby engaged in conduct that is

        contrary to law, in excess of statutory authority, and arbitrary, capricious, an abuse of discretion,

        or otherwise not in accordance with law” under 5 U.S.C. § 706(2). Id. ¶ 104.

               In Count II, plaintiffs allege that the SSA Defendants have violated the Privacy Act, 5

        U.S.C. § 552a(o), by the same actions identified in Count I. Id. ¶ 108–09. Accordingly, plaintiffs

        allege that they are entitled to civil remedies under 5 U.S.C. § 552a(g). Id. ¶ 110.

               Count III alleges that the SSA Defendants “unlawfully permitted DOGE Defendants to

        access and inspect tax return information protected by the Internal Revenue Code, 26 U.S.C.

        §§ 6103, 7213A, and the Social Security Act, 42 U.S.C. § 1306.” Id. ¶ 114. According to

        plaintiffs, this conduct constitutes final agency action under 5 U.S.C. § 704. Therefore, under 5

        U.S.C. § 706(2), plaintiffs allege that defendants have “engaged in conduct that is contrary to law,

        in excess of statutory authority, and arbitrary, capricious, an abuse of discretion, or otherwise not

        in accordance with law . . . .” Id. ¶¶ 115, 116.

               Count IV alleges that the SSA Defendants “have administered systems containing vast

        quantities of sensitive personal information without complying with statutorily required security

        protections” under the Federal Information Security Modernization Act (“FISMA”), 44 U.S.C.

        §§ 3554(a)(1)–(2), and thus they assert a violation of the APA, 5 U.S.C. § 706(2). Id. ¶ 118.

        Plaintiffs assert that this conduct constitutes a final agency action under 5 U.S.C. § 704 and is

        arbitrary and capricious under 5 U.S.C. § 706(2).

               Count V alleges: “SSA Defendants have disclosed an unfathomable amount of sensitive,

        personally identifying information about the American public without acknowledging that SSA



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        was changing its policies, identifying the source of its authority to do so, or providing any analysis

        whatsoever of why its decision is not arbitrary and capricious, and without considering the

        consequences, including the reliance interests of Plaintiffs and their members,” in violation of 5

        U.S.C. § 706(2). Id. ¶ 122.

               In Count VI, plaintiffs allege ultra vires actions by the DOGE Defendants. They assert

        that, “[i]n directing and controlling the use and administration of Defendant SSA’s systems, the

        DOGE Defendants have breached secure government systems and caused the unlawful disclosure

        of the personal data of tens of millions of people.” Id. ¶ 126. And, according to plaintiffs, this

        constitutes “ultra vires actions that injure Plaintiffs by exposing their sensitive, private, and

        personally identifiable information and increasing the risk of further disclosure of their

        information.” Id. ¶ 129.

               Count VII asserts that the naming of Leland Dudek as the Acting Commissioner of SSA

        constitutes a violation of the Appointments Clause of the Constitution, U.S. CONST. art. II, § 2, cl.

        2. Specifically, plaintiffs assert that as “Acting Commissioner, Defendant Dudek is exercising

        significant authority and discretion. He therefore was purporting to act as an officer for purposes

        of the Appointments Clause.” Id. ¶ 132. But, they observe that “Defendant Dudek was neither

        nominated by the President nor confirmed by the Senate. Nor has Congress enacted a law

        authorizing him to perform the functions and duties of the Commissioner without Senate

        confirmation.” Id. ¶ 133. Therefore, plaintiffs posit that Dudek is acting in violation of 42 U.S.C.

        § 902, id. ¶ 134, and his “grant of initial and continued access to SSA systems is thus unlawful and

        must be invalidated.” Id. ¶ 135.

               At approximately 10:20 p.m. on Friday, March 7, 2025—two weeks after suit was initially

        filed—plaintiffs filed a “Motion For Temporary Restraining Order, Preliminary Injunction, and/or



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       5 U.S.C. § 705 stay.” ECF 21. The motion is supported by a memorandum (ECF 21-1, collectively

       the “Motion”) and numerous exhibits. See ECF 22. Plaintiffs seek a temporary restraining order

       (“TRO”) that, among other things, does the following, ECF 21 at 1–2: (1) enjoins the DOGE

       Defendants from accessing, using, or disclosing tax “return information, personally identifiable

       information, or non-anonymized information” housed by the SSA; (2) directs the DOGE

       Defendants to “disgorge or delete all unlawfully obtained, disclosed, or accessed data”; (3)

       prohibits the DOGE Defendants from “installing any software on SSA devices” or “accessing, or

       disclosing any SSA computer or software code”; and (4) enjoins all defendants’ “access,

       inspection, disclosure, or use of any SSA information system,” or “data obtained therefrom,” for

       any purpose other than those permitted by the Privacy Act and other applicable laws.

              On Monday, March 10, 2025, the Court held a telephone scheduling conference with

       counsel, on the record. ECF 25. Pursuant to the Scheduling Order that followed (ECF 30),

       defendants filed an opposition to the Motion on March 12, 2025. ECF 36 (“Opposition”). The

       Opposition is supported by two exhibits. Plaintiffs replied on March 13, 2025. ECF 39 (“Reply).

       With the Reply, they submitted additional exhibits. Neither side has challenged the Court’s

       consideration of any of the exhibits. 4

              The Court held a Motion hearing on March 14, 2025, at which argument was presented.

       ECF 43. I briefly summarize each side’s arguments, focusing on the points of contention that are

       pertinent to resolution of the Motion.

              Plaintiffs contend that they have standing to pursue their claims. ECF 39 at 6. They point

       to “three concrete, particularized, and actual or imminent injuries” suffered by their members: “(1)



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               In the Motion, the parties never address the Appointments Clause claim in Count VII.
       Therefore, I shall not do so here.

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                                                   ADD16
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       an invasion of privacy akin to intrusion upon seclusion, (2) exposure to an increased and non-

       speculative risk of identity theft, and (3) an increased likelihood of disruption in benefit payments.”

       Id. at 7. These harms, plaintiffs say, are far more than a “‘bare statutory violation’” of the Privacy

       Act. Id. at 8 (citation omitted). And, plaintiffs argue that participation of their individual members

       is not necessary to establish standing because they seek injunctive relief. Id. at 12.

               Further, plaintiffs argue that the Court has authority to resolve their APA claims because

       plaintiffs “clearly challenge” a final agency action, identified as SSA’s decision to open its “‘data

       systems to unauthorized personnel’” from DOGE, “‘in violation of applicable laws and with

       disregard for the privacy interests’ of millions of Americans.” Id. at 13 (citation omitted).

       According to plaintiffs, this constitutes an “agency action” because, inter alia, it is “‘discrete’ and

       ‘circumscribed’”, and “a far cry from the types of ‘workaday’ dealings at issue in the cases

       Defendants cite.” Id. at 14 (citation omitted). And, plaintiffs posit that this agency action is “final”

       because the “‘practical effect’ of Defendants’ decision to grant DOGE personnel access to SSA

       systems . . . is that unauthorized personnel can view, copy, and analyze extensive PII about

       Plaintiffs’ members.” Id. at 15. In turn, “[t]hat decision . . . ‘determined’ DOGE’s rights to those

       data systems and ‘determined’ Plaintiffs’ rights with respect to the privacy of its PII—both of

       which independently render the decision final agency action.” Id.

               Turning to the TRO elements, plaintiffs argue that they are likely to succeed on the merits

       of their claims, because defendants’ actions “flout” the Privacy Act, the Social Security Act, the

       Tax Reform Act of 1976 (i.e., the Internal Revenue Code), and SSA’s own rules and regulations.

       ECF 21-1 at 24; see also id. at 22–26. In short, they argue that SSA granted DOGE affiliates

       “nearly unlimited access to systems of records containing sensitive personally identifiable

       information,” without requesting or receiving the consent of plaintiffs’ members. Id. at 23. And,



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       according to plaintiffs, the exception in the Privacy Act that permits disclosure of information to

       an agency’s employees who “need” access to it does not apply here. ECF 39 at 18. As plaintiffs

       put it, id.: “Defendants’ broad invocations of ‘modernization’ and ‘detecting fraud, waste, and

       abuse’ are simply insufficient to justify the unprecedented level of access provided here.”

               According to plaintiffs, their members are “irreparably harmed by DOGE’s ongoing, illegal

       access to their sensitive information.” ECF 21-1 at 29 (boldface omitted). They highlight that

       SSA databases contain “among the most sensitive personal data the government has,” such as

       extensive medical information, and some of this information “concerning ‘health conditions like

       HIV or STDs can result in stigma, social isolation, job loss, housing loss, and other harms.’” Id.

       at 29, 30 (citation omitted). In their view, this type of privacy violation “cannot be rectified by

       money damages down the road.” Id. at 30. Plaintiffs also argue that their members are irreparably

       harmed “by the now-increased risk that their information is more easily accessible by bad actors.”

       Id. at 31 (boldface omitted). The information that SSA maintains, plaintiffs say, has “‘anything a

       scammer would want to know, to do just about anything a scammer would want to do.’” Id.

       (citation omitted). Finally, plaintiffs argue that the balance of the equities and public interest weigh

       in favor of issuing a TRO because “‘there is a substantial public interest in having governmental

       agencies abide by the federal laws’” and the “government cannot suffer harm from [a TRO] that

       merely ends an unlawful action . . . .” Id. at 33 (citation omitted).

               Defendants maintain that plaintiffs lack standing to pursue their claims. They argue, inter

       alia, that plaintiffs’ members have not suffered a concrete injury in fact. ECF 36 at 11. In

       defendants’ view, disclosure of information to government employees cannot qualify as an injury

       in fact, id. at 13, and the alleged increased risk of identity theft and disruption of Social Security

       payments are too speculative so as to be concrete for purposes of Article III of the Constitution.



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       Defendants also argue that participation of plaintiffs’ individual members is necessary for Counts

       I and II, which implicate the Privacy Act, and therefore plaintiffs lack standing as to those claims.

       Id. at 14–15.

                As to SSA, defendants contend that plaintiffs have failed to identify a final agency action,

       and therefore plaintiffs’ claims are precluded under the APA. Id. at 16. In particular, defendants

       argue that “day-to-day” agency operations are not “agency action” within the meaning of the APA.

       Id. at 17, 19. And, in defendants’ view, even if there was an “agency action” here, it is not a “final”

       one. Id. at 19. That is so, according to defendants, because plaintiffs’ “identified actions are both

       tentative and interlocutory in nature”; “no new finalized policy has been implemented”; no existing

       policy has been “definitively changed”; and “the data access decision alleged has no ‘direct and

       appreciable legal consequences’” for plaintiffs. Id. at 19, 20, 21. Further, defendants argued at

       the hearing that DOGE is not a government agency.

                In addition, defendants contend that plaintiffs are not likely to succeed on the merits of

       their claims. Id. at 22. According to defendants, the Privacy Act “does not permit organizations

       to sue for injunctive relief over a decision to provide access to particular government employees.”

       Id. at 23. Even if it did, defendants argue that there is no Privacy Act violation because the

       members of the DOGE Team working at SSA are employees of SSA, and they are in need of the

       data that was made accessible to them to perform their duties. Id. at 23–24. For similar reasons,

       defendants contend that there is no violation of the other statutes or regulations at issue. See id. at

       26–28.

                Moreover, defendants contend that plaintiffs cannot show irreparable harm. Id. at 31. They

       largely rehash the same arguments they raised with respect to standing, i.e., that plaintiffs’ alleged

       injuries are not concrete or are too speculative. Id. But, they also assert that there is no irreparable



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       harm because plaintiffs can pursue the recovery of monetary damages under the Privacy Act. Id.

       at 32. Finally, defendants argue that a TRO would “harm” the public interest because it would

       limit “the President’s ability to effectuate the policy choices the American people elected him to

       pursue”, including “identifying fraud, waste, and abuse throughout the federal government.” Id.

       at 33.

                For the reasons that follow, I shall grant the Motion. A TRO shall issue.

                                                III.    Background

                                                 A. The Parties

                                                   1. Plaintiffs

                AFSCME is a “national labor organization and unincorporated membership organization”

       headquartered in Washington, D.C. ECF 17, ¶ 16. According to the Amended Complaint,

       “AFSCME is the largest trade union of public employees in the United States, with around 1.4

       million members organized into approximately 3,400 local unions, 58 councils, and other affiliates

       in 46 states, the District of Columbia, and Puerto Rico.”          Id.   Of AFSCME’s members,

       “approximately 200,000 are retired public service workers who continue to remain members of

       AFSCME, participate in its governance, and advocate for fairness, equality, and income security

       for retired Americans.” Id.

                Alliance is a “grassroots advocacy organization with 4.4 million members headquartered

       in Washington, D.C.” Id. ¶ 17. The ARA was founded by the AFL-CIO Executive Council in

       2001 and has 40 state alliances, as well as members in every state. Id. The Alliance’s retiree

       members include “former teachers, industrial workers, state and federal government workers,

       construction workers, and community leaders united in the belief that every American deserves a

       secure and dignified retirement after a lifetime of hard work.” Id.



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              AFT is a “national labor organization headquartered in Washington, D.C.” Id. ¶ 18. It

       represents “over 1.8 million members who are employed as pre-K through 12th-grade teachers,

       early childhood educators, paraprofessionals, and other school-related personnel; higher education

       faculty and professional staff; federal, state, and local government employees; and nurses and other

       healthcare professionals.” Id. According to the Amended Complaint, “[a]pproximately 490,000

       of AFT’s members are retired, and most benefit from programs administered by SSA.” Id.

       Plaintiffs assert, id.: “Economic and retirement security is at the core of AFT’s mission.”

              As I discuss in more detail, infra, each plaintiff has many members for whom SSA holds

       personal, sensitive information, such as Social Security Numbers (“SSN”), bank account numbers,

       medical and mental health information, tax information, and home addresses. See, e.g., ECF 22-

       1 (Declaration of Ann Widger, Director of Retirees at AFSCME), ¶¶ 10–13; ECF 22-6

       (Declaration of Richard J. Fiesta, Executive Director of Alliance), ¶ 9; ECF 22-8 (Declaration of

       Bernadette Aguirre, Director of the Retiree Division of AFT), ¶ 8. And, members of each

       organization are concerned that DOGE’s access to this information violates their privacy interests,

       increases their risk of identity theft, and increases the risk that the benefits to which they are

       entitled will be delayed or cut off. See ECF 22-1, ¶¶ 16, 17, 27, 30, 32; ECF 22-6, ¶¶ 7, 12, 13;

       ECF 22-8, ¶¶ 12, 13, 15.

                                                 2. Defendants

              The Social Security Administration is an “independent federal agency,” ECF 17, ¶ 19,

       founded in 1935, during the Great Depression. Id. ¶ 28. It was intended to “‘give some measure

       of protection to the average citizen,’ particularly those facing ‘poverty-ridden old age.’” Id.

       (quoting SOC. SEC. ADMIN., Presidential Statement on Signing the Social Security Act (August 14,

       1935), https://perma.cc/7RDU-EDWD).



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              SSA is “the nation’s principal benefit-paying agency,” ECF 17, ¶ 28, and “manages and

       administers” several of “the largest federal benefit programs,” including the Old-Age, Survivors,

       and Disability Insurance program (“OASDI”) and the Supplemental Security Income program

       (“SSI”). Id. ¶¶ 19, 30. “Collectively, SSA pays over $1.5 trillion to seventy million people—more

       than one in five Americans—each year.”            Id. ¶ 32 (citing SOC. SEC. ADMIN., Fact Sheet,

       https://perma.cc/595S-B36F).      SSA      “has        roughly   57,000”    employees.          ECF

       39-1 (Supplemental Declaration of Tiffany Flick) (“Flick II Decl.”), ¶ 7.

              Most of Social Security’s beneficiaries are retired. ECF 17, ¶ 31. But, “others receive

       benefits because they have a qualifying disability; are the spouse (or former spouse) or child of

       someone who receives or is eligible for Social Security; or are the spouse (or former spouse), child,

       or dependent parent of a deceased worker.[]” Id. (citing SOC. SEC. ADMIN., Understanding the

       Benefits (2025) 2, https://perma.cc/V2MH-VANX). The Agency “pays more benefits to children

       than any other federal program.[]” ECF 17, ¶ 31 (citing SOC. SEC. ADMIN., Understanding the

       Benefits (2025) 2, https://perma.cc/V2MH-VANX). The benefits SSA provides “lift 22 million

       people, including over 16 million adults aged sixty-five and over, out of poverty.[]” ECF 17, ¶ 32

       (citing Kathleen Romig, Social Security Lifts More People Above the Poverty Line Than Any Other

       Program, CTR. ON BUDGET & POL’Y PRIORITIES (Jan. 21, 2025), https://perma.cc/6U8X-7U9A).

              In addition to dispersing funds to eligible beneficiaries, SSA issues Social Security

       Numbers to “U.S. citizens, permanent residents, and other eligible noncitizens.” ECF 17, ¶ 29. To

       date, more than “450 million” SSNs have been issued. Id. SSA also “helps administer” federal

       programs, such as “Medicare, Medicaid, SNAP, eVerify, and the Help America Vote Act.” Id. ¶ 33.

              “To facilitate its work on behalf of the American public, SSA collects and houses some of

       the most sensitive, personally identifiable information (including personal health information) of



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       millions of seniors, working-age adults, and children.” Id. ¶ 34. By way of example, Form SS-5,

       “which applicants must submit to SSA to receive a” SSN, “requires applicants to provide their

       name (including prior names or other names used), place and date of birth, citizenship, ethnicity,

       race, sex, phone number, and mailing address, as well as their parents’ names and [SSNs].”

              The Agency also collects a wide range of other personal information, including “driver’s

       license and identification card information, bank and credit card information, birth and marriage

       certificates, pension information, home and work addresses, school records, immigration and/or

       naturalization records, health care providers’ contact information, family court records,

       employment and employer records, psychological or psychiatric health records, hospitalization

       records, addiction treatment records, and tests for, or records about, HIV and AIDS.” Id. ¶ 35.

              Moreover, SSA collects tax and earnings information. Id. ¶ 36. In particular, employers

       submit to SSA a W-3 form each year that shows “total earnings, Social Security wages, Medicare

       wages, and withholdings for all employees for the previous year.” Id.

              Plaintiffs do not elaborate about required financial contributions paid to Social Security.

       But, the Court takes notice that retirement benefits are funded by the nation’s workforce, through

       mandatory payment of payroll taxes by both employers and employees. At certain ages,

       individuals become eligible for retirement benefits, calculated based on work history and earnings.

       This means that SSA collects the work and earnings history of nearly all working Americans for

       the entirety of their working lives. See, e.g., ECF 22-3 (Declaration of John Doe), ¶ 5 (stating that

       SSA has 65 years of his employment records); see also Social Security Administration,

       Understanding the Benefits (2025), https://www.ssa.gov/pubs/EN-05-10024.pdf.

              The Agency is subject to a “panoply of laws” that govern and protect SSA’s data systems

       and the disclosure of information held by SSA. ECF 17, ¶ 39. These include the Privacy Act, the



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       Social Security Act, the Tax Reform Act of 1976, the Taxpayer Browsing Protection Act, and

       FISMA. Id.

              Leland Dudek is the “purported” Acting Commissioner of the SSA. Id. ¶ 20. He was

       selected by President Trump on or about February 16, 2025, after the resignation of Michelle King,

       then the Acting SSA Commissioner. ECF 1, ¶ 88. 5 Dudek approved the data access to the DOGE

       Team that is at issue here. See ECF 36-1 (Declaration of Russo), ¶ 6.

              Michael Russo is the Chief Information Officer of the SSA. ECF 17, ¶ 21. He has served

       in this role since February 3, 2025. ECF 36-1 (Russo Declaration), ¶ 1. In this role, he is

       responsible for implementation and management of information technology, and he is “responsible

       for oversight of grants of permissions [sic] to access SSA systems.” Id. ¶ 2.

              Elon Musk is a “Senior Advisor to the President and the de facto Head of DOGE.” ECF

       17, ¶ 23. U.S. DOGE Service, previously the U.S. Digital Service, 6 was established by Executive

       Order 14,158 and renamed as the United States DOGE Service. Id. ¶ 24. USDS is part of the

       Executive Office of the President (“EOP”). Id. U.S. DOGE Service Temporary Organization is a

       “temporary organization also created by Executive Order 14,158 and headed by the U.S. DOGE

       Service Administrator.” Id. ¶ 25.



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                Dudek had previously been a GS-15 employee and a manager in SSA’s Office of Program
       Integrity working on anti-fraud measures. ECF 1, ¶ 89. The SSA placed Dudek on administrative
       leave after “leadership received reports that Dudek had shared information with nonagency
       personnel as early as December 2024 and had reportedly pressured career staff to ‘help DOGE
       representatives.’” Id. ¶ 90. Dudek reportedly wrote in a now-deleted LinkedIn post, “I confess. I
       moved contractor money around to add data science resources to my anti-fraud team to examine
       Direct Deposit Fraud . . . . I confess. I bullied agency executives, shared executive contact
       information, and circumvented the chain of command to connect DOGE with the people who get
       stuff done.” Id.
              6
               The United States Digital Service was a technology unit established in 2014 with
       Congressional appropriations, and housed within the Executive Office of the President.

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              Amy Gleason is the Acting Administrator of USDS and the U.S. DOGE Service Temporary

       Organization. Id. ¶ 26. She was named to the position on February 25, 2025. See Citizens for

       Resp. & Ethics in Washington v. U.S. Doge Serv. (“CREW”), No. 25-CV-511 (CRC), 2025 WL

       752367, at *2 (D.D.C. Mar. 10, 2025).

                                           B. Post-Election Period

              The presidential election was held on November 5, 2024. Days later, on November 12,

       2024, President-elect Trump announced the formation of the “Department of Government

       Efficiency,” with the stated goal “to dismantle Government Bureaucracy, slash excess regulations,

       cut wasteful expenditures, and restructure Federal Agencies.” Colleen Long & Jill Colvin, Trump

       says Musk, Ramaswamy will form outside group to advise White House on government efficiency,

       AP NEWS (Nov. 12, 2024), https://perma.cc/UW7W-GAQW; see CREW, 2025 WL 752367, at *1.

       Technology moguls Elon Mush and Vivek Ramaswamy were identified as the individuals who

       were to lead the new department. Id.

              Musk and Ramaswamy subsequently published an opinion piece in the Wall Street Journal,

       declaring their intent to “advise DOGE at every step to pursue three major kinds of reform:

       regulatory rescissions, administrative reductions and cost savings.”      Elon Musk & Vivek

       Ramaswamy:      The DOGE Plan to Reform Government, WALL ST. J. (Nov. 20, 2024),

       https://perma.cc/9TBR-E9ZF.      According to Musk and Ramaswamy, DOGE would operate

       through “embedded appointees” at federal agencies and would identify “thousands” of regulations

       for repeal by the President. Id. In addition, they claimed that DOGE would seek “mass head-

       count reductions across the federal bureaucracy.” Id. 7



              7
                Shortly after President Trump’s inauguration on January 20, 2025, news reports indicated
       that Mr. Ramaswamy was no longer involved with DOGE. See Thomas Beaumont & Jonathan J.
       Cooper, Ramaswamy won’t serve on Trump’s government efficiency commission as he mulls run
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                                        C. Post-Inauguration Period

                                          1. Executive Order 14,158

              Following President Trump’s inauguration on January 20, 2025, he wasted no time in

       creating DOGE. On the day of his inauguration, President Trump issued Executive Order 14,158,

       Fed. Reg. 8441 (Jan. 20, 2025) (“Order” or “E.O.”). It is titled “Establishing and Implementing

       the President’s ‘Department of Government Efficiency.’” The Order established the “Department

       of Government Efficiency to implement the President’s DOGE Agenda, by modernizing Federal

       technology and software to maximize governmental efficiency and productivity.” Id. § 1. The

       E.O. also renamed the United States Digital Service as the “United States DOGE Service (USDS)”

       and declared that USDS “shall be established in the Executive Office of the President.” Id. §

       (3)(a). 8 In addition, the Order established a “USDS Administrator . . . in the Executive Office of

       the President” who “shall report to the White House Chief of Staff.” Id. § 3(b).

              In addition, the E.O. creates “a temporary organization known as ‘the U.S. DOGE Service

       Temporary Organization’” that “shall be headed by the USDS Administrator and shall be dedicated

       to advancing the President’s 18-month DOGE agenda.” Id. The Order states, id.: “The U.S.

       DOGE Service Temporary Organization shall terminate on July 4, 2026.”




       for Ohio governor, AP NEWS (Jan. 20, 2025), https://perma.cc/G8CF-FZFJ. Mr. Ramaswamy has
       since announced his campaign for governor of Ohio. See Ana Faguy & Brandon Drenon, Vivek
       Ramaswamy announces run for governor in Ohio, BBC NEWS (Feb. 25, 2025),
       https://perma.cc/9E6P-7D74.
              8
                The distinctions between DOGE and USDS are not entirely clear. But, for the purpose
       of this Memorandum Opinion, the terms are largely interchangeable.

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              Further, the Order provides, id. § 3(c): “In consultation with USDS, each Agency Head[9]

       shall establish within their respective Agencies a DOGE Team of at least four employees, which

       may include Special Government Employees,[10] hired or assigned within thirty days of the date

       of this Order. Agency Heads shall select the DOGE Team members in consultation with the USDS

       Administrator. Each DOGE Team will typically include one DOGE Team Lead, one engineer,

       one human resources specialist, and one attorney. Agency Heads shall ensure that DOGE Team

       Leads coordinate their work with USDS and advise their respective Agency Heads on

       implementing the President’s DOGE Agenda.”

              Section 4 of the Order concerns “Modernizing Federal Technology and Software to

       Maximize Efficiency and Productivity.” Id. § 4. It provides, id. § 4(a): “The USDS Administrator

       shall commence a Software Modernization Initiative to improve the quality and efficiency of

       government-wide software, network infrastructure, and information technology (IT) systems.

       Among other things, the USDS Administrator shall work with Agency Heads to promote inter-

       operability between agency networks and systems, ensure data integrity, and facilitate responsible

       data collection and synchronization.”

              Relevant here, § 4(b) of the E.O. states: “Agency Heads shall take all necessary steps, in

       coordination with the USDS Administrator and to the maximum extent consistent with law, to




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                 The Executive Order defines “Agency Head” as “the highest-ranking official of an
       agency, such as the Secretary, Administrator, Chairman, or Director, unless otherwise specified in
       this order.” Exec. Order. No. 14,158, § 2(b).
              10
                 A Special Government Employee may be a temporary “officer or employee” who is
       “retained, designated, appointed, or employed to perform, with or without
       compensation . . . temporary duties either on a full-time or intermittent basis” for up to 130 days
       in any 365-day period. 18 U.S.C. § 202(a). They are exempt from some of the ethics rules to
       which most federal employees are subject. See 18 U.S.C. §§ 203, 205, 207–209.

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       ensure USDS has full and prompt access to all unclassified agency records, software systems, and

       IT systems. USDS shall adhere to rigorous data protection standards.”

                                          2. Executive Order 14,210

              On February 11, 2025, President Trump signed an executive order titled “Implementing

       the President’s ‘Department of Government Efficiency’ Workforce Optimization Initiative.”

       Executive Order 14,210, 90 Fed. Reg. 9669 (Feb. 14, 2025). It states, in part, id. § 1: “To restore

       accountability to the American public, this order commences a critical transformation of the

       Federal bureaucracy. By eliminating waste, bloat, and insularity, my Administration will empower

       American families, workers, taxpayers, and our system of Government itself.”

              Section Three of the order is titled “Reforming the Federal Workplace to Maximize

       Efficiency and Productivity.” Section 3(a) provides: “Pursuant to the Presidential Memorandum

       of January 20, 2025 (Hiring Freeze), the Director of the Office of Management and Budget shall

       submit a plan to reduce the size of the Federal Government’s workforce through efficiency

       improvements and attrition (Plan).” Subject to certain exceptions, the Plan requires “that each

       agency hire no more than one employee for every four employees that [sic] depart, consistent with

       the Plan and any applicable exemptions and details provided for in the Plan.”

              Section 3(b) requires “[e]ach Agency Head” to develop “a data-driven plan, in consultation

       with its DOGE Team Lead, to ensure new career appointment hires are in highest-need areas.” In

       connection with this directive, the order states: (i) “This hiring plan shall include that new career

       appointment hiring decisions shall be made in consultation with the agency’s DOGE Team Lead,

       consistent with applicable law”; (ii) “The agency shall not fill any vacancies for career

       appointments that the DOGE Team Lead assesses should not be filled, unless the Agency Head




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       determines the positions should be filled”; and (iii) “Each DOGE Team Lead shall provide the

       [USDS] Administrator with a monthly hiring report for the agency.” Id. § 3(b)(i)–(iii).

              Section 3(c) of the order concerns “Reductions in Force”, but does “not apply to functions

       related to public safety, immigration enforcement, or law enforcement.” It states, in part: “Agency

       Heads shall promptly undertake preparations to initiate large-scale reductions in force (RIFs),

       consistent with applicable law, and to separate from Federal service temporary employees and

       reemployed annuitants working in areas that will likely be subject to the RIFs.”

                                             3. SSA in the Crosshairs

               According to the Amended Complaint, “President Trump, Elon Musk, and other

       administration officials have had their sights set on Social Security for the past year . . . .” ECF

       17, ¶ 60. For example, President Trump and Mr. Musk have “repeatedly suggested that there is

       widespread fraud within Social Security, as well as other entitlements.” Id. ¶ 65. On February 11,

       2025, Musk posted on “X”, formerly known as Twitter, as follows:




       See id. ¶ 66. 11 And, on February 17, 2025, Musk posted on X, see id. ¶ 67:




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                   Plaintiffs provided the permalink for all “X” posts.

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              Further, the Amended Complaint states, id. ¶ 68: “On February 17, 2025, White House

       Press Secretary Karoline Leavitt stated on Fox News that President Trump ‘has directed Elon

       Musk and the DOGE team to identify fraud at the Social Security Administration.[]’” (Quoting

       Yamiche Alcindor & Raquel Coronell, Top Social Security official steps down after disagreement

       with DOGE over sensitive data, CNN (Feb. 17, 2025), https://perma.cc/9ZLL-VLFH). In

       particular, Leavitt claimed that Musk and the DOGE Team “‘suspect that there are tens of millions

       of deceased people who are receiving fraudulent Social Security payments.[]’” ECF 17, ¶ 68

       (quoting Zachary B. Wolf, Trump and Musk set their sights on Social Security by spreading

       rumors, CNN (Feb. 19, 2025), https://perma.cc/YY7H-8XPA).

              On February 19, 2025, Howard Lutnick, the Secretary of the Department of Commerce,

       stated on Fox News: “‘Back in October . . . I flew down to Texas, got Elon Musk [to set up DOGE],

       and here was our agreement: that Elon was gonna cut a trillion dollars of waste[,] fraud and abuse

       . . . . We have almost $4 trillion in entitlements, and no one’s ever looked at it before. You know

       Social Security is wrong, you know Medicaid and Medicare are wrong . . . .[]’” ECF 17, ¶ 69

       (citation omitted).

              Also on February 19, 2025, Dudek “issued a press release endorsing DOGE and stating

       that DOGE ‘is a critical part of President Trump’s commitment to identifying fraud, waste, and


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       abuse.[]’” Id. ¶ 70 (quoting SOC. SEC. ADMIN., Press Release, Statement from Lee Dudek, Acting

       Commissioner, about Commitment to Agency Transparency and Protecting Benefits and

       Information (Feb. 19, 2025), https://perma.cc/W33R-QKEZ). And, on February 22, 2025,

       President Trump claimed that “tens of millions of Americans are improperly receiving Social

       Security benefits,[] calling Social Security ‘the biggest Ponzi scheme of all time . . . It’s all a scam,

       the whole thing is a scam.[]’” ECF 17, ¶ 71 (citations omitted).

               Then, on February 28, 2025, Musk appeared on “‘The Joe Rogan Experience’—a widely

       listened to podcast—and proclaimed that ‘a basic search of the Social Security database’ indicated

       ‘20 million dead people [were] marked as alive’ and that ‘Social Security is the biggest Ponzi

       Scheme of all time.’” Id. ¶ 72 (citation omitted; alteration in ECF 17). According to plaintiffs,

       “[t]hat claim is false.” Id. (citing SOC. SEC. ADMIN., Off. of Inspector Gen., IG Reports: Nearly

       $72 Billion Improperly Paid; Recommended Improvements Go Unimplemented (Aug. 19, 2024),

       https://perma.cc/WR7T-3KZA).

               President Trump continued to deride the SSA. On March 4, 2025, in his “his first speech

       before a joint session of Congress,” President Trump “claimed there to be ‘shocking levels of

       incompetence and probable fraud in the Social Security Program.’” ECF 17, ¶ 73 (citation

       omitted).

               According to the Amended Complaint, “SSA leadership has sought to rework the agency.”

       Id. ¶ 74. For example, on February 21, 2025, “SSA announced an ‘organizational realignment’ of

       its Office of Analytics, Review, and Oversight, which was responsible for addressing

       recommendations from external monitoring authorities and overseeing fraud detection.” Id. ¶ 75

       (citing SOC. SEC. ADMIN., Press Release, Social Security Announces Change to Improve Agency

       Operations and Strengthen Protections (Feb. 21, 2025), https://perma.cc/3EC7-KARR). On



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       February 24, 2025, “SSA announced it was closing the agency’s Office of Transformation,[] which

       was dedicated to the digital modernization of SSA programs and services, including improving the

       agency’s website.” ECF 17, ¶ 76 (citation omitted). The next day, “SSA shuttered its Office of

       Civil Rights and Equal Opportunity,[] which had been tasked with overseeing the agency’s civil

       rights, equal employment, harassment prevention, accommodations, and disability services.” Id.

       (citation omitted).

              Then, on February 27, 2025, “SSA announced that it was implementing an ‘agency-wide

       organizational restructuring that will include significant workforce reductions’[] and began

       offering buyouts to agency employees.[]” Id. ¶ 77 (citations omitted). The following day, “SSA

       announced it was reducing the agency’s workforce by 7,000 and reducing the number of regional

       SSA offices from ten to four.[]” Id. ¶ 78 (citation omitted). But, the Agency “had already been at

       a fifty-year staffing low.[]” Id. (citation omitted). And, on February 28, 2025, the same day that

       the Agency announced the significant workforce reduction, “twenty senior SSA leaders announced

       their resignations.[]” Id. ¶ 79 (citation omitted). “During this time,” plaintiffs say, “DOGE has

       also been examining SSA’s contracting and other systems, posting various cuts to agency contracts

       on its ‘wall of receipts.[]’” Id. ¶ 80 (citation omitted). According to plaintiffs, Dudek “has

       confirmed: DOGE personnel—or, as he called them, ‘outsiders who are unfamiliar with nuances

       of SSA programs’—are calling the shots.[]” Id. ¶ 81 (citing Lisa Rein et al., DOGE is driving

       Social Security cuts and will make mistakes, acting head says privately, Wash. Post (Mar. 6, 2025),

       https://perma.cc/FYY3-QGRR).

                                          D. Exhibits to the Motion

              Plaintiffs submitted ten declarations in support of their Motion, and added two more with

       their Reply.   The defendants have submitted two declarations.         I summarize some of the



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       declarations below, because they provide context for the allegations and are important to the

       resolution of the Motion.

                                                  1. Plaintiffs

              Tiffany Flick retired from SSA on or about February 16, 2025, after almost 30 years of

       service at the Agency, where she held a variety of positions. ECF 22-10 (“Flick Declaration”),

       ¶¶ 1, 2, 45, 46.   Most recently, Flick served as the Acting Chief of Staff to Acting SSA

       Commissioner Michelle King. Id. ¶ 2. She assumed that position after serving as Associate

       Commissioner for Budget, Facilities and Security in the Office of Hearing Operations. Id. Flick

       provides a blistering account of events that unfolded at SSA from late January through the time of

       her resignation in mid February 2025.

              According to Flick, “[t]he importance of privacy is engrained in every SSA employee from

       day one” and, “[a]long with accurate and timely payment of benefits, attention to privacy is one of

       SSA’s most fundamental duties.” Id. ¶ 4. Indeed, she points out that “the first regulation adopted

       by the Social Security Board” in 1937 “outlined the rules regarding privacy and the disclosure of

       Social Security records.” Id. Over time, the Privacy Act and other laws and regulations “have

       further defined [SSA’s] responsibilities to ensure the confidentiality of the information the agency

       collects and holds.” Id.; see also id. ¶ 5. The SSA’s privacy protections and data systems are

       examined annually to help ensure compliance with security policies. Id. ¶ 7.

              Flick indicates that every SSA employee is required to sign two documents each year. Id.

       ¶ 6. One is the “Systems Sanctions Policy,” outlining sanctions for “unauthorized access or

       disclosure of SSA data.” Id. The second document is “an annual reminder” about each employee’s

       “duty to protect personally identifiable information, including when SSA employees need to, as a




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       part of their job, communicate with constituents outside the agency.”         Id.   And, “annual

       information security training is required for all employees.” Id.

              Moreover, Flick explains that when there is “a need to share data between agencies,” the

       SSA must follow “a detailed process,” which involves multiple levels of review, including by the

       General Counsel’s office. Id. ¶ 8. She states that it “generally takes months” to complete the

       process, “to ensure [that] the sharing of information accords with all applicable privacy laws and

       policies of both SSA and the partner agency.” Id.

              On the morning of January 30, 2025, Flick received a call from Dudek, who was then

       serving as a senior advisor in the Office of Program Integrity, where he worked on anti-fraud

       measures. Id. ¶ 9. Dudek told Flick that some members of DOGE requested to be on-site

       immediately and wanted to come to SSA Headquarters that day, and that two DOGE associates,

       Michael Russo and Scott Coulter, would be working at SSA. Id. Given Dudek’s status as a mid-

       level employee, Flick asked him why he was communicating with anyone from DOGE. Id. ¶ 10.

       Dudek indicated that DOGE had reached out to him. Id. Flick instructed Dudek to “stand down

       and not have further contact with anyone from DOGE,” and that the Commissioner’s Office would

       handle the issue. Id. Flick then reported the call to Acting Commissioner King. Id. She states,

       id.: “We began to prepare to onboard Mike Russo, but Scott Coulter had not come to the agency

       prior to February 16, 2025.”

              Russo came onsite on January 31, 2025, to begin his onboarding process. Id. ¶ 11. He

       joined the Agency as the CIO on February 3. Id. Flick recounts that Russo “introduced himself

       as a DOGE representative to multiple employees on multiple occasions.” Id.

              According to Flick, as soon as Russo joined the SSA, “he requested to bring in a software

       engineer named Akash Bobba, who was already assisting DOGE in multiple agencies.” Id. ¶ 13.



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       But, “there were challenges with Mr. Bobba’s background check that took a few days to resolve.”

       Id. On February 10, 2025, the Commissioner’s Office and the Office of Human Resources

       “received phone calls and emails from Mr. Russo, DOGE manager Steve Davis, and people who

       stated they were associated with the White House’s Presidential Personnel Office (‘PPO’) but who

       were working out of the Office of Personnel Management (‘OPM’).”                 Id. ¶ 14.   These

       communications “were about onboarding” Bobba and “giving [him] the equipment and credentials

       he needed to access SSA data before midnight on February 10.” Id.

              Flick recalls that Russo and Davis “grew increasingly impatient over the course of the

       evening on February 10,” and ultimately Bobba was sworn in “over the phone” at around 9 p.m.

       that evening, “contrary to standard practice.” Id. ¶ 16. But, she asserts that “the credentialing

       process necessary for access to the systems would take longer.” Id. Flick characterizes the request

       for same-day access for Bobba as “unprecedented” in her time working “for multiple SSA

       commissioners across multiple administrations . . . .” Id. ¶ 15. Nor did she understand “the

       apparent urgency with which Mr. Bobba needed to be onboarded and given access to SSA’s

       systems and data,” which she described as “highly sensitive.” Id.

              “[W]ith daily pressure” from Russo, the CIO’s office “tried to rapidly train” Bobba during

       the week of February 10, 2025, in order “to get him access to SSA data systems . . . .” Id. ¶ 23.

       This was so that Bobba “could work on a special project for Mr. Russo at DOGE’s request,” and

       to enable him to “‘audit’ any of the work of SSA experts.” Id.

              Flick avers that because Bobba’s “security training” was “truncated” and done “outside

       normal processes,” id. ¶ 24, she does “not believe Mr. Bobba had a sufficient understanding of the

       sensitive nature of SSA data or the ways to ensure such data’s confidentiality.” Id. ¶ 25. She adds,




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       id.: “These are complicated systems with complex policies governing very large programs, and it

       simply is not possible to become proficient within a matter of a few days.”

              Also on February 10, 2025, Russo contacted several people, including Dudek, and

       assembled an “internal team to answer questions from DOGE.” Id. ¶ 17. Because Russo “did not

       share many details of the questions or his conversations,” Flick had “only limited information” on

       what the assembled team was doing. Id. She asserts: “Mr. Russo never fully disclosed to the

       Commissioner’s office the details on what information DOGE wanted and issues it needed to

       address.” Id. at 18. But, she understood that it related to fraud. Id. She states, id.:

              The information DOGE sought seemed to fall into three categories: (1) untrue
              allegations regarding benefit payments to deceased people of advanced age; (2)
              concern regarding single Social Security numbers receiving multiple benefits
              (which is normal when multiple family members receive benefits through one
              wage-earner); and (3) payments made to people without a Social Security number.

              In Flick’s view, these concerns were “invalid and based on an inaccurate understanding of

       SSA’s data and programs.” Id. ¶ 19. She explains, id.:

              As to the first [category], SSA’s benefits’ file contradicts any claim that payments
              are made to deceased people as old as 150 years. As to the second issue, DOGE
              seemed to misunderstand the fact that benefits payments to spouses and dependents
              will be based on the Social Security number of a single worker. As to the third
              [category], we were simply never given enough information to understand the
              source of the concern but had never encountered anything to suggest that
              inappropriate benefit payments were being made to people without a Social
              Security number.

              Nevertheless, the Commissioner’s Office “tried to assist” Russo “in the areas related to

       potential fraud,” including by proposing briefings to help Russo and Bobba “understand the many

       measures the agency takes to help ensure the accuracy of benefit payments, including those

       measures that help ensure we are not paying benefits to deceased individuals.” Id. ¶ 20. But, Flick

       claims that Russo was “completely focused on questions from DOGE officials based on the general

       myth of supposed widespread Social Security fraud, rather than facts.” Id.

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               According to Flick, “Acting Commissioner King requested that Mr. Russo report to her, as

       the CIO normally would, but he consistently gave evasive answers about his work.” Id. ¶ 22. But,

       Flick believed that Russo “was actually reporting to DOGE.” Id. For example, according to Flick,

       Russo had conversations with other agencies about data sharing, including the Departments of

       Treasury, Education, and Homeland Security, and although data sharing with those agencies is

       “normal,” the “lack of transparency” with Acting Commissioner King “is not.” Id. ¶ 21.

               In the meantime, on February 14, 2025, Dudek was placed on administrative leave. Id.

       ¶ 41. This was based on allegations of inappropriate conduct. Id.

               Flick also provided details concerning Bobba’s access to SSA systems and data. Based on

       Flick’s conversations with experts in the CIO’s office, she “determined” that Mr. Bobba would

       have “anonymized and read-only Numident data using a standard ‘sandbox’ approach,” so that he

       would not have access to other data. Id. ¶ 26. She explained that this approach was consistent

       with the way that SSA handles “any request to review SSA’s records for potential fraud, waste,

       and abuse by oversight agencies . . . or auditors. . . .” Id.

               To illustrate, Flick explained that for auditors, SSA ordinarily provides data pertaining to

       a requested scope of review, which the requester would “outline in detail.” Id. In response, SSA

       provides “anonymized or sanitized data needed for the type of review being conducted. If

       problems were identified, then the individual cases would be located and addressed.” Id.

               According to Flick, the access she had determined to provide Bobba would enable him to

       answer DOGE’s “numident-related questions about fraud,” as Flick understood them, without

       exposing personally identifiable information. Id. However, because of the expedited basis on

       which Bobba was granted access, the anonymized file he was provided had “technical glitches that

       created problems with the data in the file.” Id. ¶ 27. Bobba reported the problems on February



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       15, 2025. Id. ¶ 28. At the time, she understood that Bobba was working off-site at OPM, pursuant

       to a telework agreement for Bobba that Russo had approved. Id.

               Flick asserts that Bobba’s work off-site did not align with the typical requirements of

       SSA’s standard telework agreements, which “state that employees need to work in a private

       location and should be careful to protect systems and data from unauthorized access.” Id. ¶ 42.

       Moreover, Flick states that she understood Bobba was not viewing data to which he was given

       access “in a secure environment because he was living and working at the Office of Personnel

       Management around other DOGE, White House, and/or OPM employees.” Id. ¶ 43. She believes

       that non-SSA may have had access to the SSA data. Id. ¶ 28.

               As noted, on February 15, 2025, Bobba experienced technical issues with the anonymized

       Numident file. Id. ¶ 28. Rather than waiting for SSA to resolve the technical issues, Russo

       obtained “an opinion” from the federal Chief Information Officer, a Presidential appointee housed

       within the Office of Management and Budget, stating that “he could give Mr. Bobba access to all

       SSA data.” Id. ¶ 39. And, Russo and “other DOGE officials demanded that Mr. Bobba be given

       immediate, full access to SSA data in the Enterprise Data Warehouse (‘EDW’), which included

       Numident files, the Master Beneficiary Record (‘MBR’) files, and the Supplemental Security

       Record (‘SSR’) files.” Id. ¶ 30.

               Moreover, Russo “repeatedly stated that Mr. Bobba needed access to ‘everything,

       including source code.’” Id. ¶ 36. When the Commissioner’s Office tried to determine why Bobba

       needed full access to the EDW, Russo was “evasive and never provided the kind of detail that SSA

       typically requires to justify this level of access.” Id. ¶ 38.

               Flick was contacted by SSA staff, who indicated that Russo requested full access to the

       EDW for Bobba. Id. ¶ 40. She instructed the CIO’s office not to provide Bobba with such access



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       until Russo spoke with Acting Commissioner King. Id. Flick explained: “[W]e needed to

       understand why this level of access was necessary to address the specific questions or issues they

       were looking at.” Id. Flick avers that SSA’s delay in providing Bobba with full access to SSA’s

       data systems “led to the escalation of tensions” over the weekend of February 15 and 16, 2025.

       Id. ¶ 42.

               According to Flick, Acting Commissioner King requested additional details from Russo on

       “why this level of access was necessary for the work [of] Mr. Bobba . . . .” Id. ¶ 44. But, she did

       not receive an answer. Id. Instead, on February 16, 2025, Commissioner King “received an email

       from the White House noting that the President had named Mr. Dudek as the Acting

       Commissioner,” although Flick understood that Dudek was on administrative leave. Id. ¶ 45.

               Shortly after Acting Commissioner King informed Flick that Dudek had been elevated to

       Acting Commissioner, Flick retired. Id. ¶ 46. Flick claims that, upon her departure, Dudek gave

       Bobba and “the DOGE team access to at least the EDW database, and possibly other databases.”

       Id. ¶ 47.

               According to Flick, EDW contains “extensive information about anyone with a social

       security number, including names, names of spouses and dependents, work history, financial and

       banking information, immigration or citizenship status and marital status.”        Id. ¶ 31.   The

       Numident file “contains information necessary for assigning and maintaining social security

       numbers.” Id. ¶ 32. The MBR and SSR records “contain detailed information about anyone who

       applies for, or receives, Title II or Title XVI benefits.” Id. ¶ 33. 12



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                 Title II and Title XVI presumably refer to the Social Security disability insurance
       program (Title II of the Social Security Act) and the Supplemental Security Income (SSI)
       program (Title XVI of the Act). See SOC. SEC. ADMIN., Disability Evaluation Under Social
       Security, https://perma.cc/DGN9-5DPB.

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               Full access, according to Flick, means different levels of permission, depending on the data

       system. Full access to the EDW, for example, would provide “read” access to most of SSA’s data,

       which would permit a user to copy and paste, export, screenshot, or otherwise compile data for

       analysis, but does not permit a user to change data. Id. ¶ 34. Full access to other SSA systems

       may also include “write” access, which would permit a user to change the data in the system. Id.

       ¶ 35.

               Notably, Flick avers that SSA “would not provide full access [to] all data systems even to

       [SSA’s] most skilled and highly trained experts.” Id. ¶ 37. She explains, id.: “The scope of each

       official’s access is job-dependent . . . .” Of import, she maintains that the request to give Bobba

       full access to SSA databases “without justifying the ‘need to know’ this information was contrary

       to SSA’s long-standing privacy protection policies and regulations . . . .” Id. ¶ 43. She asserts:

       “[N]one of these individuals could articulate why Mr. Bobba needed such expansive access.” Id.

               Flick is “deeply concerned” about DOGE’s access to SSA systems, given the potential for

       inappropriate disclosure, and in light of the “rushed” onboarding and training process for Russo

       and Bobba. Id. ¶ 48. Moreover, Flick states that she is “not confident that DOGE associates have

       the requisite knowledge and training to prevent sensitive information from being inadvertently

       transferred to bad actors.” Id. ¶ 49. For Flick, this “concern is elevated” because Bobba is

       accessing SSA systems in a location that is not “secure . . . .” Id. ¶ 43. Specifically, he was

       working from OPM offices, where he is “surrounded by employees and officials of other agencies

       and White House components who have . . . never been vetted by SSA or trained on SSA data,



              Plaintiffs allege that these particular records include “medical information about anyone”
       who applies for these benefits. ECF 17, ¶ 86(c). When the Court asked government counsel at
       the hearing if the SSR records contain detailed health information, he responded: “I don’t know
       the answer to that . . . .” ECF 45 at 24.

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       systems, or programs.” Id. ¶ 49; see also id. ¶ 43. And, she claims that, because of this “non-

       secure, off-site access, the protections built into SSA’s data systems may not work.” Id. ¶ 49. For

       example, Flick states that other individuals “could take pictures of the data, transfer it to other

       locations, and even feed it into AI programs.” Id. She adds, id.: “In such a chaotic environment,

       the risk of data leaking into the wrong hands is significant.”

              Although access to the EDW alone would not affect benefit payment systems, id. ¶ 50,

       Flick “witnessed a disregard for critical processes—like providing the ‘least privileged’ access

       based on a ‘need to know’—and lack of interest in understanding [SSA] systems and programs.”

       Id. When “combined with the significant loss of expertise as more and more agency personnel

       leave,” this gives rise to her apprehension regarding whether “SSA programs will continue to

       function and operate without disruption.” Id. She adds, id.:

              SSA information technology is made up of an incredibly complex web of systems
              that are extremely reliable in making Social Security and Supplemental Security
              Income payments. Some of the system[s] operate based on old programming
              languages that require specialized knowledge. Such systems are vulnerable to
              being broken by inadvertent user error if SSA’s longstanding development,
              separation of duties, and information security policies and procedures are not
              followed. That could result in benefits payments not being paid out or delays in
              payments. I understand that DOGE associates have been seeking access to the
              “source code” to SSA systems. If granted, I am not confident that such associates
              have the requisite understanding of SSA to avoid critical errors that could upend
              SSA systems.

              Moreover, Flick contends that, even if DOGE members have only “read” access to SSA

       systems, they can, and already have, “used SSA data to spread mis/disinformation about the

       amount of fraud in Social Security benefit programs.” Id. ¶ 51. She contends that “fraud is rare,

       and the agency has numerous measures in place to detect and correct fraud.” Id.

              Flick also submitted a Supplemental Declaration. ECF 39-1. She clarifies that several

       employees of the DOGE Team accessed SSA data systems prior to having signed, finalized detail



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       agreements from other agencies. Id.¶ 3. And, she claims that this “is not in keeping with agency

       practice because the agency does not consider a detailee to be an employee of SSA until a detail

       agreement is signed and finalized.” Id.

              In addition, Flick disputes defendants’ assertion that the DOGE Team cannot perform its

       work with anonymized data. She states, id. ¶ 4.

              Normally when analysts or auditors review agency data for possible payment
              issues, including for fraud, the review process would start with access to high-level,
              anonymized data based on the least amount of data the analyst or auditor would
              need to know. If a subset of records within that data are flagged as suspicious, the
              analyst or auditor would access more granular, non-anonymized data to just that
              subset of files. In my experience, the type of full, non-anonymized access of
              individual data on every person who has a social security number or receives
              benefit[s] from Social Security is unnecessary at the outset of any anti-fraud or
              other auditing project. While agency anti-fraud experts would have access to the
              types of data that Mr. Russo describes, they also have significant training and
              expertise in agency programs and how to read and understand the data from agency
              systems.

              Flick also explains that the “need to know” reason for full, non-anonymized access to SSA

       data systems articulated in this case are “far from sufficiently detailed to justify granting the level

       of access the DOGE Team now has.” She clarifies that thirty to forty Agency employees have

       access similar to the DOGE Team, out of “roughly 57,000 employees.” Id. ¶ 7. However, she

       contends that these thirty to forty employees are “highly skilled and highly trained.” Id. She

       states: “I did not observe any DOGE personnel receiving the ‘same level of training’ as other SSA

       employees.” Id.

              In addition to the Flick declarations, plaintiffs have submitted declarations from ten other

       individuals: (1) Ann Widger, the Director of Retirees at AFSCME (ECF 22-1); (2) Sue Conard, a

       retiree member of AFSCME (ECF 22-2); (3) “John Doe,” a retiree member of AFSCME (ECF 22-

       3); (4) Tamara Imperiale, a retiree member of AFSCME (ECF 22-4); (5) Charles “CK” Williams,

       a retiree member of AFSCME (ECF 22-5); (6) Richard J. Fiesta, the Executive Director of ARA

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       (ECF 22-6); 13 (7) Linda Somo, a member of Alliance (ECF 22-7); (8) Bernadette Aguirre, Director

       of the Retiree Division of AFT (ECF 22-8); (9) David Gray, a retired member of AFT (ECF 22-9);

       and (10) Kathleen Romig, the Director of Social Security and Disability Policy at the Center on

       Budget and Policy Priorities (ECF 39-2). 14

               Widger explains, ECF 22-1, ¶ 8: “AFSCME’s mission has long included work to ensure

       that its members have access to Social Security benefits . . . .” She avers that since DOGE was

       granted access to SSA systems, retiree members have flooded AFSCME with questions, concerns,

       and fear about the security of their data, their health information, and their benefits. Id. ¶¶ 17, 18,

       19, 27, 28, 29, 30. They are fearful that their private information will be compromised and/or that

       they will lose their benefits. Id. ¶ 17.

               According to Widger, SSA “has in its systems the private medical information of AFSCME

       members who are applying for or have applied for disability insurance benefits, including about

       medical conditions that may carry with them a social stigma.” Id. ¶ 10. She notes: “Medical

       records for one individual can exceed 1,000 pages.” Id. Further, she avers, id. ¶ 11: “Required

       medical information includes all prescription and non-prescription medicines the person is

       currently taking; all health care providers from whom the individual has sought treatment (doctor,

       hospital, clinic, psychiatrist, nurse practitioner, therapist, physical therapist or other medical



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                  I note that Fiesta was a declarant on behalf of the Alliance in similar litigation in the
       District of Columbia. See Alliance for Retired Americans v. Bessent, 25-CKK-0313, 2025 WL
       740401 (D.D.C. Mar. 7, 2025).
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                  Romig is the Director of Social Security and Disability Policy at the Center on Budget
       and Policy Priorities. She avers that on March 4, 2025, she attended a meeting held by the SSA at
       which Dudek spoke. ECF 39-3, ¶¶ 1, 2. According to Romig, the news article published by
       ProPublica describing what was said at the meeting, “is an accurate representation of that meeting.”
       Id. at 3–4. But, the Court does not rely on this news article.


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       professional) and the medical conditions that were treated and evaluated; all medical tests

       performed by the listed providers (with the enumerated list including HIV and psychological/IQ

       tests); and other personal health information.” By way of example, Widger explains that, for a

       “mental health disability claim,” information “could include notes from psychotherapists and

       counseling sessions.” Id. ¶ 12. Widger states, id. ¶ 13: “AFSCME members share this information

       with SSA because they are required to do so to obtain benefits, and they expect the agency to

       follow the law and keep that data safe and secure.” She adds, id. ¶ 12: “Information disclosed

       concerning health conditions like HIV or other STDs can result in stigma, social isolation, job loss,

       housing loss, and other harms.”

              In addition, Widger states: “Many AFSCME Retiree members live on limited incomes of

       Social Security, personal savings, and a modest pension. Many of our retirees are dependent on

       their direct deposits to get by in a month. If something were to happen with their data and those

       payments were compromised, it could mean the difference between being able to afford groceries

       or going without. We are advising our retiree members to run regular credit reports and to keep a

       close eye on their bank account activity.” Id. ¶ 24. Relatedly, Widger states, id. ¶ 16: “If DOGE

       is accessing this data for the purpose of ‘rooting out fraud,’ it may also mean that AFSCME

       members have essential benefits slashed incorrectly or inadvertently, as DOGE personnel are not

       equipped to understand the complex SSA systems.”

              Widger explains that in December 2024, Congress passed the Social Security Fairness Act

       (“SSFA”), “which fully repealed the Government Pension Offset and Windfall Elimination

       Provision.” Id. ¶ 25. The repeal, for which AFSCME advocated “extensively,” permits “more

       than 3.2 million retired public service workers and their spouses to receive additional Social

       Security Benefits.” Id. She claims that many AFSCME members are eligible for these benefits,



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       but are “concerned about DOGE’s access at SSA.” Id. ¶ 26. Those who are eligible will need to

       submit new paperwork to SSA, but they are hesitant to “provide new information to SSA” to obtain

       the benefits. Id. She states, id. ¶ 27: “AFSCME Retiree members have personally told us they are

       particularly anxious and stressed because, while outside entities have attempted to steal their

       identities in the past, they must now worry about threats from inside the SSA itself due to DOGE

       access.” She asserts, id. ¶ 19: “The volume of communications and the level of fear within those

       communications leads us to believe that a significant number of retirees, or soon-to-be retirees,

       who are members of AFSCME will be chilled from applying for much needed benefits out of fear

       of their data being compromised.”

              Further, Widger avers that she has personally been in contact with multiple retiree-

       members of AFSCME. Id. ¶¶ 28, 29, 31. For example, one eighty-year-old retiree told Widger

       that he was “frightened” about who has access to his medical records. Id. ¶ 28. Another retiree

       participates in the Social Security Disability Program (“SSDI”) and told Widger that she is

       “frightened about her medical information being accessible by those who are targeting SSDI for

       cuts.” Id. ¶ 29. Other retirees have contacted AFSCME and conveyed “their fear that DOGE

       access to their data will . . . exacerbate their exposure to fraud and identity theft.” Id. ¶ 30.

       AFSCME retirees are “also fearful of retaliation and reprisals based on their roles as union

       advocates for protecting Social Security and robust retirement benefits.” Id. ¶ 31. At least one of

       these retirees has contacted Widger and expressed his concern that his sensitive, personal data may

       be exposed in a way that could be used to attack and harass him because of his political views. Id.

              In sum, Widger states, id. ¶ 32: “AFSCME retirees depend on Social Security to provide

       for themselves and their families. The benefits they receive allow them to stay in their homes, buy

       groceries, and remain financially independent. Social Security allows them to age with dignity.



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       They are experiencing great distress over the possibility of their private data being used to put the

       program at risk of substantial cuts. They are worried about DOGE using their personal data to

       make the case for significant cuts to the program or train their [artificial intelligence] models for

       personal profit.”

              Richard J. Fiesta, the Executive Director of the Alliance, avers, ECF 22-6, ¶ 8: “ARA has

       members who receive Old-Age, Survivors, and Disability Insurance benefits from the [SSA] and

       from other programs that require SSA to collect or verify data, such as Medicare.” For these

       programs, Fiesta says, SSA “collects and maintains databases with sensitive personal and financial

       data about ARA’s members. This data includes information such as names, Social Security

       numbers, medical histories, dates and places of birth, home addresses, contact information, and

       bank account and financial information, including tax information.” Id. ¶ 9.

              Moreover, ARA members “have submitted sensitive medical information to SSA to receive

       disability benefits, including health records and doctors’ evaluations for physical and mental

       conditions. This information is both highly personal and, if made public, could cause harm to

       members whose medical conditions may carry stigma (for example, treatment for mental health

       issues or HIV/AIDS).” Id. ¶ 18. Fiesta explains that members of the Alliance “share this data with

       SSA because they understand that the agency is committed and legally bound to protect the

       security of their information.” Id. ¶ 10. But, he asserts that ARA members “did not consent to

       have their sensitive personal and financial data shared with DOGE, DOGE personnel (including

       Elon Musk), or any other unauthorized third parties or government ‘departments.’ They only

       consented to have their data used for the purposes disclosed by SSA, and the procedures governing

       the protection of that data, in the agency’s System of Record Notices.” Id. ¶ 12.




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              According to Fiesta, each year “millions of elderly Americans are the target of financial

       fraud and other scams”, because they are “particularly attractive targets for scammers.” Id. ¶ 7.

       This is so, according to Fiesta, because they are “often trusting and polite; might be less

       technologically adept; and are more likely to have financial savings, own a home, and have good

       credit.” Id. He asserts that “one recent FBI report found” that “scams targeting individuals sixty

       and older led to at least $3.4 billion in losses in 2023.” Id.

              ARA members, according to Fiesta, are concerned with “bad actors” using SSNs to file

       fraudulent claims for unemployment benefits or to file fake tax returns. Id. ¶ 13. Fiesta posits that

       DOGE’s “unfettered access” to SSA data “immediately increased the risk” that ARA “members’

       sensitive information will be stolen or misused, whether by DOGE personnel or criminal

       enterprises that gain access to the now unprotected data.” Id.

              Further, Fiesta states that the access to SSA data provided to DOGE personnel will alter

       the way “at least some ARA members interact with SSA . . . .” Id. ¶ 16. For example “some

       members will be less likely to submit sensitive information online out of fear that such information

       will be compromised, and will, in turn, be required to travel to local Social Security offices to deal

       with routine issues—a task that is being made even more burdensome as SSA continues to shutter

       such offices, requiring members to travel even further than before.” Id.

               In addition, Fiesta states that “thousands” of ARA members recently became eligible for

       Social Security benefits under the SSFA. Id. ¶ 17. To obtain these benefits, however, “members

       will now have to apply and submit personal and confidential information about themselves and

       their spouses to SSA.” Id. But, in light of DOGE’s access to “personal and sensitive information,”

       Fiesta claims that some members may choose not to apply. Id. And, according to Fiesta, ARA




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       members “fear that if DOGE personnel are granted more access to SSA’s systems, it may cause

       the interruption of timely payments, which [ARA] members rely on to live.” Id. ¶ 15.

               Bernadette Aguirre is the Director of the Retiree Division of AFT. ECF 22-8, ¶ 1. She

       states that AFT members participate in Social Security programs, such as OASDI and “other

       programs for which SSA collects and verifies data,” such as Medicare, Children’s Health Insurance

       Program, and Supplemental Nutrition Assistance Program. Id. ¶ 7. She notes that “sensitive

       information” pertaining to these programs, “including [SSNs], bank account numbers, details of

       personal finances, and personal information” are “contained in SSA record systems.” Id. ¶ 8.

       Aguirre states, id. ¶ 9: “AFT members share this information with SSA based on their

       understanding that the agency is legally obligated—and committed—to keeping their data secure.”

       Further, she posits, id. ¶ 11: “I am not aware of any AFT member who has requested or authorized

       DOGE or its representatives to access their personal data or who has consented to the use of this

       data for any reason other than for the purposes and through the procedures previously disclosed

       by SSA in its Systems of Record Notices.”

               Aguirre avers that she has “personally heard from retiree members who send data to SSA

       that they are concerned about DOGE’s access to the private personal and financial information

       they have provided to SSA.” Id. ¶ 12. She states: “AFT and its members are also deeply concerned

       about the possibility that DOGE, if able to further interfere with SSA data systems, may

       purposefully or even inadvertently disrupt the timely payment of SSA benefits.” Id. ¶ 15. And,

       many AFT members “rely on those benefits to survive, and even one missed check could upend

       their lives.” Id.

               Moreover, Aguirre raises concerns about an increased risk of identity theft and related

       harms. Id. ¶ 13. In particular, she states, id.: “The improper disclosure of [private, personal, and



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       financial information] to DOGE immediately increased the risk of access by external actors,

       doxing, identity theft, invasion of personal privacy, and financial crimes against AFT members.

       That risk deepens every day that DOGE has access to AFT members’ data. And feeding members’

       data into unauthorized or unprotected programs running artificial intelligence—as DOGE has done

       with data seized from other agencies—enhances these risks.”

              Individual members of all three plaintiff organizations have also expressed similar

       concerns with respect to DOGE’s access to the personal data maintained by SSA, and have

       articulated that they expected SSA to maintain the privacy of their personal data. See, e.g., ECF

       22-2 (Conard Declaration, retiree member of AFSCME), ¶ 10 (“I always expected that the personal

       data I have submitted, and continue to submit when required, to SSA would remain private and

       used only to determine whether I was eligible for benefits, and not to be used for any other purpose.

       I have never consented for DOGE, Elon Musk or any other third party to have access to

       my . . . confidential information.”); ECF 22-5 (Williams Declaration, AFSCME retiree member),

       ¶ 6 (same); ECF 23-3 (John Doe Declaration, retiree member of AFSCME), ¶ 6 (same); ECF 22-

       7 (Somo Declaration, retiree member of ARA), ¶ 9 (“When I shared my sensitive information with

       SSA, it was my understanding that it would be used for the calculation and receipt of government

       benefits and remain private.”).

              David Gray, a retired AFT member, recounts that when he applied for Social Security and

       Medicare, he provided various types of personal information to SSA, including his “name, bank

       account information, birth date, and Social Security number.” ECF 22-9, ¶¶ 5, 6. He avers, id. ¶

       6: “When I applied for these programs, I provided this information to an intake person at my local

       social security office. I was told that it was going to be extremely confidential—that only specific,




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       qualified people at SSA would have access to it. I shared this information to receive the benefits

       that I worked so hard for and expected my information to remain private.”

               Tamara Imperiale is a 60-year-old retiree member of AFSCME. ECF 22-4, ¶¶ 1, 2. She

       participates in the SSDI program., id. ¶ 4, and “depend[s] on it to live.” Id. ¶ 8. She explains that

       she was “forced to retire earlier than [she] would have wanted due to an injury [she] sustained

       while working . . . .” Id. ¶ 3. Imperiale avers, id. at 4: “I am now anxious and distressed about

       the access of my private data by DOGE, which the [SSA] stores and which I have submitted to

       SSA and continue to submit and update to receive SSDI benefits.” She asserts, id. ¶ 7: “It was my

       expectation that the personal information I submitted and continue to submit to SSA—including

       private health information about my disability—would be used only to determine whether I was

       eligible for benefits, and not disclosed for any other purpose.”

               Moreover, plaintiffs’ members do not want DOGE personnel to have access to their data.

       ECF 22-9 (Gray), ¶ 8 (“I do not want these people to have access to my data. It’s personal and

       private.”); ECF 22-2 (Conard), ¶¶ 7, 8 (stating that it is “very important” to her that her sensitive

       personal data remain private and that she is “worried about the access by DOGE . . . .”); ECF 22-

       4 (Imperiale), ¶ 5 (“As a retiree with a disability, it is very important to me that my data remain

       private.”).

               In addition, members of each plaintiff have expressed concern about the increased risk of

       identity theft. See, e.g., ECF 22-3 (John Doe), ¶ 8 (describing his concern that his data could end

       up in the hands of scammers); ECF 22-7 (Somo), ¶¶ 7, 8, 11 (outlining similar concerns); ECF 22-

       9 (Gray), ¶¶ 8, 9 (expressing similar concerns). Somo, an ARA member, explained, ECF 22-7,

       ¶ 7: ‘To receive Social Security and Medicare, my husband and I have both submitted extensive

       information to SSA. Put simply: SSA knows basically everything about us. They know our names.



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       They know our finances, including our bank account information. They know where we live.

       They know our [SSNs]. They know everything that a scammer would want to know, to do just

       about anything a scammer would want to do.” And, several members explained that they are

       already the target of many scams, given their older ages. See, e.g., id. ¶ 8 (“As someone over the

       age of seventy-five, I am constantly the target of scams.”).

              Plaintiffs’ members also express fear that DOGE access to SSA systems will interfere with

       their receipt of benefits. See, e.g., ECF 22-9 (Gray), ¶ 8 (“I worry that they will mess with my

       monthly benefits, which I rely on to live.”); ECF 22-2 (Conard), ¶ 9 (expressing concern that

       “individuals who lack expertise or experience in providing Social Security benefits” she receives

       will now “be in charge of determining [her] eligibility for benefits and safeguarding [her] private

       information.”); ECF 22-4 (Imperiale), ¶ 6 (“I am worried that unfettered access to my data by

       DOGE and Elon Musk will put my benefits at risk . . . .”).

              These members also describe the anxiety they are expreriencing as a result of DOGE’s

       access to their data. ECF 22-9 (Gray), ¶ 10 (“My anxiety is at an all-time high because of the

       threats to my personal information and benefits that come from DOGE access to sensitive

       information like my Social Security information. I will remain anxious until people from DOGE

       are stopped.”); ECF 23-3 (John Doe), ¶ 7 (expressing distress and anxiety about DOGE personnel

       having access to PII, including “current bank account information and [Doe’s] entire work and

       income history.”); ECF 22-4 (Imperiale), ¶ 8 (“I am experiencing great distress over the possibility

       of my private data being accessed by DOGE and potentially by other individuals . . . .”).

              Some of plaintiffs’ members have also expressed concern about providing information to

       the SSA to obtain SSFA benefits. For example, Williams is “hesitant to provide additional

       information” to the SSA to establish his eligibility under the SSFA because of DOGE’s access to



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       this data. See ECF 22-5, ¶ 7. And, Somo complains, ECF 22-7, ¶ 12: “Because of DOGE’s access

       to SSA databases, I am going to have to think more carefully about submitting my information to

       SSA. But at the end of the day, what choice do I have? My ability to live is dependent on supplying

       information to the government, but I am deeply distressed about the threats I face from the breach

       of my sensitive information. I am in a Catch-22.”

                                               2. Defendants 15

              With their Opposition, defendants have submitted the declarations of Michael Russo (ECF

       36-1) and Florence Felix-Lawson (ECF 36-2).

              Russo has been the Chief Information Officer of the Office of the Chief Information Officer

       at the SSA since February 3, 2025. ECF 36-1, ¶ 1. He is a “Non-Career Senior Executive reporting

       directly to SSA’s Acting Commissioner, Leland Dudek.” Id. Felix-Lawson has been the Deputy

       Commissioner of Human Resources at the SSA since November 17, 2024. ECF 36-2, ¶ 1. She is

       a “Career Senior Executive reporting directly to SSA’s Acting Commissioner, Leland Dudek.” Id.

              As the CIO, Russo is “responsible for oversight of grants of permissions [sic] to access

       SSA systems,” including to SSA’s DOGE Team. ECF 36-1, ¶ 2. Russo explains that, pursuant to

       E.O. 14,158, “there exists within SSA a ‘DOGE [T]eam’ responsible for ‘implementing the

       President’s DOGE agenda.’ Id. § 3(c).” Id. ¶ 4. He asserts that the “SSA DOGE Team currently

       consists of ten SSA employees: four SSA special government employees (Employees 1, 4, 6, and

       9) and six detailees to SSA from other government agencies and offices (Employees 2, 3, 5, 7, 8,




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                  As noted, defendants have not identified the names of the government employees who
       have been provided access to the SSA data at issue. In similar cases, however, the defendants have
       identified government employes by name. See, e.g., See Alliance for Retired Americans, 2025 WL
       740401, at *4–6; American Federation of Teachers et al., 2025 WL 582063, at *2–3.

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       and 10).” Id. ¶ 4. But, “[t]o protect the privacy of these individuals, and to avoid exposing them

       to threats and harassment,” Russo has not provided their names. Id.

               Russo contends that the “overall goal of the work performed by SSA’s DOGE Team is to

       detect fraud, waste and abuse in SSA programs and to provide recommendations for action to the

       Acting Commissioner of SSA, the SSA Office of the Inspector General, and the Executive Office

       of the President.” Id. ¶ 5. He also describes the particular data access granted to each employee,

       as well as the stated need for the data, discussed in more detail, infra.

               As the Deputy Commissioner of Human Resources, Felix-Lawson is “responsible for

       leading and overseeing human resource services to the agency, including but not limited to

       appointing and onboarding new personnel, including regular and special government employees

       and detailees.” ECF 36-2, ¶ 2. She repeats some of the information in the Russo Declaration.

       Compare, e.g., ECF 36-1, ¶¶ 4, 7 with ECF 36-2, ¶¶ 4, 7. 16 She also provides the dates when each

       DOGE Team member was brought onto the SSA DOGE Team, as well as additional details

       regarding their duties, training, and background investigations. I discuss this information in further

       detail, infra.

                                  IV.     Overview of the Statutory Framework

                                        A. Administrative Procedure Act

               The Administrative Procedure Act provides a cause of action against an “agency” or “an

       officer or employee thereof” to any “person . . . adversely affected or aggrieved by agency action

       within the meaning of a relevant statute.” 5 U.S.C. § 702. It waives the sovereign immunity of


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                  Russo asserts that Employee 1 was granted access to certain SSA data on February 12,
       2025. ECF 36-1, ¶ 7(a). Employee 1 is a SSA special government employee. Id. ¶ 7; ECF 36-2,
       ¶ 5. Yet, according to Felix-Lawson, Employee 1 was not appointed until February 13, 2025. ECF
       36-2, ¶ 5. Although the initial disclosure to Employee 1 consisted of anonymized data, it appears
       that the data was disclosed to Employee 1 before he/she was an SSA employee.

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       the United States for “relief other than money damages” in such an action. Id.; Medical Imaging

       & Technology Alliance v. Library of Congress, 103 F.4th 830, 836 (D.C. Cir. 2024).

              The APA provides for judicial review only for a “final agency action for which there is no

       adequate remedy in a court.” See 5 U.S.C. § 702; see also id. (“A person suffering legal wrong

       because of agency action, or adversely affected or aggrieved by agency action within the meaning

       of a relevant statute, is entitled to judicial review thereof.”); Abbott Labs. v. Gardner, 387 U.S.

       136, 140–41 (1967) (quoting 5 U.S.C. § 704); Ergon-W. Va., Inc. v. EPA, 896 F.3d 600, 609 (4th

       Cir. 2018); Roland v. U.S. Citizenship & Immigration Servs., 850 F.3d 625, 629 n.3 (4th Cir. 2017);

       Friends of Back Bay v. U.S. Army Corps of Eng'rs, 681 F.3d 581, 586 (4th Cir. 2012).

              The requirements under the APA are addressed in more detail, infra.

                                                 B. Privacy Act

              The Privacy Act of 1974 (the “Act”), 5 U.S.C. § 552a, “came into being in conjunction

       with 1974 legislation amending the Freedom of Information Act (FOIA).” Londrigan v. Fed.

       Bureau of Investigation, 670 F.2d 1164, 1169 (D.C. Cir. 1981). The Act “had its genesis in a

       growing awareness that governmental agencies were accumulating an ever-expanding stockpile of

       information about private individuals that was readily susceptible to both misuse and the

       perpetuation of inaccuracies that the citizen would never know of, let alone have an opportunity

       to rebut or correct.” Id. It “was designed to provide individuals with more control over the

       gathering, dissemination, and accuracy of agency information about themselves.” Greentree v.

       U.S. Customs Serv., 674 F.2d 74, 76 (D.C. Cir. 1982).           “The Act gives agencies detailed

       instructions for managing their records and provides for various sorts of civil relief to individuals

       aggrieved by failures on the Government’s part to comply with the requirements.” Doe v. Chao,

       540 U.S. 614, 618 (2004).



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              In passing the Privacy Act in 1974, Congress made several findings that are noteworthy.

       Congress proclaimed: “The right to privacy is a personal and fundamental right protected by the

       Constitution of the United States[.]” Privacy Act of 1974, Pub. L. No. 93-579, § 2(a)(4), 88 Stat.

       1896. Congress also found: “The privacy of an individual is directly affected by the collection,

       maintenance, use, and dissemination of personal information by federal agencies[.]” Id. § 2(a)(1).

       It also said: “The increasing use of computers and sophisticated information technology, while

       essential to the efficient operations of the government, has greatly magnified the harm to individual

       privacy that can occur from any collection, maintenance, use, or dissemination of personal

       information[.]” Id. § 2(a)(2); see Tankersley v. Almand, 837 F.3d 390, 395 (4th Cir. 2016) (same).

       And, Congress stated: “In order to protect the privacy of individuals identified in information

       systems maintained by federal agencies, it is necessary and proper for the Congress to regulate the

       collection, maintenance, use, and dissemination of information by such agencies.” Id. § 2(a)(5).

              The identified purposes of the Privacy Act were, inter alia, “to provide certain safeguards

       for an individual against an invasion of personal privacy by requiring federal agencies, except as

       otherwise provided by law, to— . . . (2) permit an individual to prevent records pertaining to him

       obtained by such agencies for a particular purpose from being used or made available for another

       purpose without his consent; . . . (4) collect, maintain, use, or disseminate any record of identifiable

       personal information in a manner that assures that such action is for a necessary and lawful

       purpose, that the information is current and accurate for its intended use, and that adequate

       safeguards are provided to prevent misuse of such information[.]” Id. §§ 2(b)(2), (b)(4).

              The Senate Report is also instructive. It states that the purpose of the law “is to promote

       governmental respect for the privacy of citizens by requiring all departments and agencies of the

       executive branch and their employees to observe certain constitutional rules in the



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       computerization, collection, management, use, and disclosure of personal information about

       individuals.” Senate Rep. No. 1183, 93d Cong., 2d Sess. (1974). The law was “designed to

       prevent the kind of illegal, unwise, overbroad, investigation and record surveillance of law-abiding

       citizens produced in recent years from actions of some over-zealous investigators, and the curiosity

       of some government administrators, or the wrongful disclosure and use, in some cases, of personal

       files held by Federal agencies.” Id.

              To that end, the Act establishes “certain minimum standards for handling and processing

       personal information maintained in the data banks and systems of the executive branch, for

       preserving the security of the computerized or manual system, and for safeguarding the

       confidentiality of the information.” Id. In particular, it requires “every department and agency to

       insure, by whatever steps they deem necessary” that, inter alia, (1) “they take certain

       administrative actions to keep account of the employees and people and organizations who have

       access to the system or file, and to keep account of the disclosures and uses made of the

       information”; and (2) “they establish rules of conduct with regard to the ethical and legal

       obligations in developing and operating a computerized or other data system and in handling

       personal data, and take action to instruct all employees of such duties[.]” Id.

              Under the Privacy Act, to the extent possible, agencies that collect information directly

       from individuals are to inform individuals of the purpose and authority for that collection. 5 U.S.C.

       § 552a(e)(2)–(3). The statute enacts additional requirements for agencies that maintain a “system

       of records,” or maintain the information they collect such that information can be retrieved “by the

       name of [an] individual or by some identifying number, symbol, or other identifying particular.”

       Id. § 552a(a)(5).




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              For example, agencies must continuously ensure that their systems of records are accurate

       and complete to the degree “necessary to assure fairness to the individual[s]” whose information

       has been recorded. 5 U.S.C. § 552a(e)(5). Individuals maintain the right to access and review all

       records “pertaining to” themselves in the agency’s system, id. § 552a(d)(1), and to request an

       amendment if they identify an error. Id. § 552a(d)(2). If a request to review relevant records or

       to correct a record is denied, the individual may bring suit in federal district court and obtain an

       injunction ordering the agency to comply. Id. §§ 552a(d)(3), (g)(1)(A)–(B), (g)(2)–(3). And, if

       the agency makes an adverse determination as to an individual because of an inaccuracy in its

       records, the Act allows the individual to sue for damages. Id. §§ 552a(g)(1)(C), (g)(2)(4).

              Relevant here, the Act prohibits federal agencies from sharing records about individuals,

       except under certain limited circumstances. It states, in part, 5 U.S.C. § 552a (italics added):

              (b) Conditions of disclosure.--No agency shall disclose any record which is
              contained in a system of records by any means of communication to any person, or
              to another agency, except pursuant to a written request by, or with the prior written
              consent of, the individual to whom the record pertains, unless disclosure of the
              record would be--
                 (1) to those officers and employees of the agency which maintains the record
                 who have a need for the record in the performance of their duties.

              The term “record” is broadly defined as “any item, collection, or grouping of information

       about an individual that is maintained by an agency, including, but not limited to, his education,

       financial transactions, medical history, and criminal or employment history and that contains his

       name, or the identifying number, symbol, or other identifying particular assigned to the individual,

       such as a finger or voice print or a photograph[.]” 5 U.S.C. § 552a(a)(4).

              The SSA regulations define “disclosure” as “making a record about an individual available

       to . . . another party.” 20 C.F.R. § 401.25. The Privacy Act allows disclosure for “a routine use.” 5

       U.S.C. § 552a(b)(3). A “routine use” is a use of a record “for a purpose which is compatible with



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       the purpose for which it was collected.” Id. § 552a(a)(7). And, each time an agency “establish[es]

       or revis[es]” a system of records, it must publish a System of Records Notice (“SORN”) in the

       Federal Register detailing, among other things, “each routine use of the records contained in the

       system, including the categories of users and the purpose of such use.” Id. § 552a(e)(4)(D).

               The Act also provides for private enforcement of violations of the provisions. See Univ. of

       California Student Ass’n v. Carter, No. CV 25-354 (RDM), __ F. Supp. 3d __, 2025 WL 542586,

       at *2 (D.D.C. Feb. 17, 2025). In particular, it provides a “comprehensive remedial scheme” for

       injuries arising from the inappropriate dissemination of private information. Wilson v. Libby, 535

       F.3d 697, 703 (D.C. Cir. 2008). Although individual government employees are not subject to civil

       suit for damages, an individual “may bring a civil action against the agency” for failure “to comply

       with any . . . provision of” the Act if the individual suffers “an adverse effect” due to that violation.

       5 U.S.C. § 552a(g)(1).

               Monetary damages are available only to individuals. See id. § 552a(g)(4); see also

       Sussman v. U.S. Marshals Serv., 494 F.3d 1106, 1122 (D.C. Cir. 2007). Prospective relief is

       reserved for Amendment or Access Actions. 5 U.S.C. § 552a(g)(2), (3).

               The Act also establishes criminal penalties for willful violations of its requirements. See 5

       U.S.C. § 552a(i). It is a federal crime for any agency officer or employee willfully to disclose a

       protected record “in any manner to any person or agency not entitled to receive it,” id. § 552a(i)(1),

       or to maintain a system of records “without meeting the notice requirements” provided in the

       Act, id. § 552a(i)(2). It is also a federal crime for any person to “request[ ] or obtain[ ] any record

       concerning an individual from an agency under false pretenses.” Id. § 552a(i)(3).




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                                          C. Internal Revenue Code

              Like the Privacy Act, the Internal Revenue Code (the “Code”) controls disclosure of

       individuals’ personal information, both within and outside the government.

              The Code provides that, as a “general rule,” tax “[r]eturns and return information shall be

       confidential.” 26 U.S.C. § 6103(a) (capitalization altered). Moreover, it states, id.:

              [E]xcept as authorized by [the Code] . . . no officer or employee of the United
              States, . . . [and] no other person . . . who has or had access to returns or return
              information under [various Code provisions providing for that access], shall
              disclose any return or return information obtained by him in any manner in
              connection with his service as such an officer or an employee or otherwise or under
              the provisions of this section.

              The Internal Revenue Code provides for private enforcement for any knowing or negligent

       inspection or disclosure of tax returns or return information. 26 U.S.C. § 7431(a). The Code

       permits affected taxpayers to bring an action against the United States for damages of $1,000 or

       more. Id. But, the United States is not liable for any inspection or disclosure that the taxpayer

       requests or that results from “a good faith, but erroneous, interpretation” of the Code’s

       confidentiality requirements. Id. § 7431(b).

              It is a felony for “any officer or employee of the United States . . . willfully to disclose to

       any person, except as authorized by [the Code], any return or return information.” Id. § 7213; see

       also 18 U.S.C. § 1905. And, any federal officer or employee convicted of such a violation “shall,

       in addition to any other punishment, be dismissed from office or discharged from

       employment.” 26 U.S.C. § 7213(a)(1).

                            D. Federal Information Security Modernization Act

              The Federal Information Security Modernization Act of 2014 is intended to “provide a

       comprehensive framework for ensuring the effectiveness of information security controls over

       information resources that support Federal operations and assets.” 44 U.S.C. § 3551(1). As

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       Congress recognized in FISMA, “the highly networked . . . Federal computing environment” faces

       significant “information security risks,” including the threat of “unauthorized access, use,

       disclosure, disruption, modification, or destruction of” government information.         44 U.S.C.

       §§ 3551, 3553; see also Kaspersky Lab, Inc. v. United States Dep't of Homeland Sec., 909 F.3d

       446, 457 (D.C. Cir. 2018).

              FISMA requires the SSA to develop, document, and implement an Agency-wide

       information security program. 44 U.S.C. § 3554(b). The SSA Commissioner is responsible for

       providing information security protections commensurate with the risk and magnitude of the harm

       resulting from the unauthorized access, use, disclosure, disruption, modification, or destruction of

       agency information and information systems. Id. § 3554(a)(1)(A). FISMA also requires that the

       Office of the Inspector General, or an independent external auditor as determined by the Inspector

       General, annually evaluate the SSA’s information security program and practices to determine

       their effectiveness. Id. §§ 3555(a)(1) and (b)(1).

                                                  V.        Standing

              The parties vigorously dispute whether plaintiffs have standing to pursue their claims. The

       matter of standing is a “threshold jurisdictional question.” Dreher v. Experian Info. Sols., Inc.,

       856 F.3d 337, 343 (4th Cir. 2017); see Garey v. James S. Farrin, P.C., 35 F.4th 917, 921 (4th Cir.

       2022). “The standing inquiry asks whether a plaintiff ha[s] the requisite stake in the outcome of a

       case . . . .” Deal v. Mercer Cty Bd. of Educ., 911 F.3d 183, 187 (4th Cir. 2018).

                                              A. Legal Standard

              It is a bedrock principle that Article III of the Constitution “confines the federal judicial

       power to the resolution of ‘Cases’ and ‘Controversies.’” TransUnion LLC v. Ramirez, 594 U.S.

       413, 423 (2021); see Murthy v. Missouri, 603 U.S. 43, 56 (2024); see also Fed. Election Comm’n



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       v. Cruz, 596 U.S. 289, 295 (2022) (“The Constitution limits federal courts to deciding ‘Cases’ and

       ‘Controversies.’”) (quoting Art. III, § 2); Carney v. Adams, 592 U.S. 53, 58 (2020) (recognizing

       that Article III requires “a genuine, live dispute between adverse parties . . .”); Clapper v. Amnesty

       Int’l USA, 568 U.S. 398, 408 (2013) (“Article III of the Constitution limits federal courts’

       jurisdiction to certain ‘Cases’ and ‘Controversies.’”); Lewis v. Cont’l Bank Corp., 494 U.S. 472,

       477 (1990) (It is fundamental that Article III of the Federal Constitution confines the federal courts

       to adjudicating “actual, ongoing cases or controversies.”); Opiotennione v. Bozzuto Mgmt. Co., __

       F.4th __, 2025 WL 678636, at *2 (4th Cir. Mar. 4, 2025) (“Article III of the constitution limits the

       judicial power of the United States to ‘Cases’ and ‘Controversies.’”); Laufer v. Naranda Hotels,

       LLC, 60 F.4th 156, 161 (4th Cir. 2023) (same).

              Indeed, “‘no principle is more fundamental to the judiciary’s proper role in our system of

       government than the constitutional limitation of federal-court jurisdiction to actual cases or

       controversies.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016) (quoting Raines v. Byrd, 521

       U.S. 811, 818 (1997)). “Continued adherence to the case-or-controversy requirement of Article

       III maintains the public’s confidence in an unelected but restrained Federal Judiciary . . . . For the

       federal courts to decide questions of law arising outside of cases and controversies would be

       inimical to the Constitution’s democratic character.”          Arizona Christian School Tuition

       Organization v. Winn, 563 U.S. 125, 133 (2011); see DaimlerChrysler Corp. v. Cuno, 547 U.S.

       332, 341 (2006) (“[T]he constitutional limitation of federal-court jurisdiction to actual cases or

       controversies” is “fundamental to the judiciary’s proper role in our system of government[.]”).

              A federal court may resolve only “a real controversy with real impact on real persons . . . .”

       American Legion v. American Humanist Assn., 588 U.S. 29, 87 (2019). Relevant here, “Federal

       courts can only review statutes and executive actions when necessary ‘to redress or prevent actual



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       or imminently threatened injury to persons caused by . . . official violation of law.’” Murthy, 603

       U.S. at 56 (citing Summers v. Earth Island Institute, 555 U.S. 488, 492 (2009)). In the absence of

       a case or controversy, “the courts have no business deciding [the case] . . . .” DaimlerChrysler

       Corp., 547 U.S. at 341. Therefore, “federal courts do not adjudicate hypothetical or abstract

       disputes.” TransUnion, 594 U.S. at 423. Nor do the courts “exercise general legal oversight” of

       other government branches, id., or render “advisory opinions.” Id. at 424. And, when there is no

       case or controversy, “the court’s subject matter jurisdiction ceases to exist . . . . ” S.C. Coastal

       Conservation League v. U.S. Army Corps. of Eng’rs, 789 F.3d 475, 482 (4th Cir. 2015); see

       Gardner v. GMAC, Inc., 796 F.3d 390, 395 (4th Cir. 2015) (same).

               A “case or controversy exists only when at least one plaintiff” establishes standing to sue.

       Murthy, 603 U.S. at 57 (citing Raines, 521 U.S. at 818). Thus, “the doctrine of standing [serves]

       as a means to implement” the case or controversy requirement. Laufer, 60 F.4th at 161; see

       TransUnion LLC, 594 U.S. at 423 (“For there to be a case or controversy under Article III, the

       plaintiff must have . . . standing.”); Spokeo, Inc., 578 U.S. at 338 (“Standing to sue is a doctrine

       rooted in the traditional understanding of a case or controversy.”); Raines, 521 U.S. at 818 (“One

       element of the case-or-controversy requirement” is that a plaintiff must establish standing to sue).

               To establish standing under Article III of the Constitution, a plaintiff must satisfy three

       well established elements: “(i) that he suffered an injury in fact that is concrete, particularized, and

       actual or imminent; (ii) that the injury was likely caused by the defendant; and (iii) that the injury

       would likely be redressed by judicial relief.” TransUnion LLC, 594 U.S. at 423 (citing Lujan v.

       Defenders of Wildlife, 504 U.S. 555, 560–561 (1992)); see Students for Fair Admissions, Inc. v.

       President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023); Cruz, 596 U.S. at 296; Susan B.

       Anthony List v. Driehaus, 573 U.S. 149, 168 (2014); Clapper, 568 U.S. at 409; Fernandez v.



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       RentGrow, Inc., 116 F.4th 288, 294 (4th Cir. 2024); Laufer, 60 F.4th at 161; Maryland Shall Issue,

       Inc. v. Hogan, 971 F.3d 199, 210 (4th Cir. 2020); Sierra Club v. U.S. Dep’t of the Interior, 899

       F.3d 260, 284 (4th Cir. 2018); Cahaly v. Larosa, 796 F.3d 399, 406 (4th Cir. 2015). Requiring a

       plaintiff to demonstrate these three elements “ensures that federal courts decide only the ‘rights of

       individuals,’ and that federal courts exercise ‘their proper function in a limited and separated

       government.’” TransUnion LLC, 594 U.S. at 423 (citations omitted).

               And, “a plaintiff must demonstrate standing separately for each form of relief sought.”

       Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000); see Trans

       Union LLC, 594 U.S. at 431 (Plaintiffs “must demonstrate standing for each claim that they press

       and for each form of relief that they seek (for example, injunctive relief and damages)”); Garey,

       35 F.4th at 922 (same); see also MSP Recovery Claims, Series LLC v. Lundbeck LLC, __ F. 4th

       __, 2025 WL 610305, at *5 (4th Cir. Feb. 26, 2025); Episcopal Church in S.C. v. Church Ins. Co.

       of Vt., 997 F.3d 149, 154 (4th Cir. 2021).

               In general, “standing in no way depends on the merits of the plaintiff’s contention that

       particular conduct is illegal.” Warth v. Seldin, 422 U.S. 490, 500 (1975); see Equity In Athletics,

       Inc. v. Dep’t of Educ., 639 F.3d 91, 99 (4th Cir. 2011) (“This court assumes the merits of a dispute

       will be resolved in favor of the party invoking our jurisdiction in assessing standing . . . .”). The

       Laufer Court said, 60 F.4th at 161: “A district court may limit its standing inquiry to the allegations

       of the complaint or, if there are any material factual disputes, it may conduct an evidentiary

       hearing.” 17



               17
                  At the pleading stage, to establish standing, a plaintiff must “‘clearly allege facts
       demonstrating’” an injury in fact. Opiotennione, 2025 WL 678636, at *2 (citation omitted). When
       standing is challenged on the pleadings, “a court ‘accept[s] as valid the merits of [the plaintiff’s]
       legal claims.’” Laufer, 60 F.4th at 161 (quoting Cruz, 596 U.S. at 298) (alterations in Laufer); see
       Deal, 911 F.3d at 187 (stating that the court accepts “‘as true all material allegations of the
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              Here, the plaintiffs are organizations, not individuals. An organization can assert two types

       of standing. See Students for Fair Admissions, Inc., 600 U.S. at 199; Warth, 422 U.S. at 511; S.

       Walk at Broadlands Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175,

       182 (4th Cir. 2013). First, an organization “may have standing in its own right to seek judicial

       relief from injury to itself and to vindicate whatever rights and immunities the association itself

       may enjoy.” Warth, 422 U.S. at 511. And, “in attempting to secure relief from injury to itself the

       association may assert the rights of its members, at least so long as the challenged infractions

       adversely affect its members’ associational ties.” Id. Plaintiffs do not claim this type of standing.

              It is the second kind of associational standing that has been asserted here. The Supreme

       Court has recognized that “there may be circumstances where it is necessary to grant a third party

       standing to assert the rights of another.” Kowalski v. Tesmer, 543 U.S. 125, 129-30 (2004). “[A]n

       association may have standing solely as the representative of its members.” Warth, 422 U.S. at

       511; see Hunt v. Wash. St. Apple Advert. Comm’n, 432 U.S. 333, 343 (1977) (“[A]n association

       has standing to bring suit on behalf of its members.”). 18




       complaint and construe[s] the complaint in favor of the complaining party.’”) (citation omitted);
       see Button v. Nat’l Bd. of Exam’rs in Optometry, Inc., 892 F.3d 613, 620 (4th Cir. 2018).
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                  In Students for Fair Admissions, Inc., 600 U.S. at 199, the Supreme Court referred to
       this form of standing as “organizational” standing. It seems, however, that this doctrine is typically
       called “associational” standing. See, e.g., United Food & Com. Workers Union Loc. 751 v. Brown
       Grp., Inc., 517 U.S. 544, 552 (1996); see also, e.g., Food & Drug Admin. v. Alliance for
       Hippocratic Med., 602 U.S. 367, 398–404 (2024) (Thomas, J., concurring) (repeatedly referring
       to the doctrine as “associational standing”); Thole v. U. S. Bank N.A, 590 U.S. 538, 565 (2020)
       (Sotomayor, J., dissenting) (referring to the doctrine as “associational standing”); see also People
       for Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W. Maryland, Inc., 843 F.
       App’x 493, 495 (4th Cir. 2021); Wright & Miller, Federal Practice and Procedure, Organizational
       and Associational Standing, § 8345 (2d ed.) (June 2024 update). Therefore, when referring to a
       suit filed by an organization on behalf of its members, I shall refer to the form of standing as
       “associational” standing.

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              To have so called “representational” or “associational” standing, an organization must

       demonstrate that (a) “‘its members would otherwise have standing to sue in their own right; (b)

       the interests it seeks to protect are germane to the organization’s purpose; and (c) neither the claim

       asserted nor the relief requested requires the participation of individual members in the lawsuit.’”

       Students for Fair Admissions, Inc., 600 U.S. at 199 (quoting Hunt, 432 U.S. at 343); see S. Walk

       at Broadlands Homeowner’s Ass’n, Inc., 713 F.3d at 184 (same); Equity In Athletics, Inc., 639

       F.3d at 99 (same). To show that its members would have standing, an organization “must ‘make

       specific allegations establishing that at least one identified member had suffered or would suffer

       harm.’” S. Walk at Broadlands Homeowner’s Ass’n, Inc., 713 F.3d at 184 (quoting Summers, 555

       U.S. at 498) (emphasis in S. Walk at Broadlands).

              Injury in fact is the “‘[f]irst and foremost’ of standing’s three elements.” Spokeo, Inc., 578

       U.S. at 338 (citing Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 103 (1998)). “[A]n

       injury in fact is ‘an invasion of a legally protected interest’ which is ‘concrete and particularized’

       and ‘actual or imminent, not conjectural or hypothetical.’” Opiotennione, 2025 WL 678636, at *2

       (quoting Lujan, 504 U.S. at 560) (internal quotation marks omitted); see also Monsanto Co. v.

       Geertson Seed Farms, 561 U.S. 139, 149 (2010) (requiring the plaintiff to allege a “concrete,

       particularized, and actual or imminent” injury). Therefore, under Article III, “a party invoking the

       jurisdiction of a federal court [must] seek relief for a personal, particularized injury.”

       Hollingsworth v. Perry, 570 U.S. 693, 715 (2013).

              “Concreteness and particularity are two different requirements that each must be met.”

       Opiotennione, 2025 WL 678636, at *2. “[A]n injury is ‘particularized’ if it ‘affect[s] the plaintiff

       in a personal and individual way.’” Id. (quoting Spokeo, Inc., 578 U.S. at 339) (second alteration

       in Opiotennione; internal quotation marks omitted). A concrete injury is one that is “‘real, and not



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       abstract.’” TransUnion LLC, 594 U.S. at 417 (citation omitted). “‘[F]inancial harm is a classic

       and paradigmatic form of injury in fact.’” Md. Shall Issue, Inc., 971 F.3d at 210) (citations

       omitted).

              But, of relevance here, “[v]arious intangible harms can also be concrete.” TransUnion,

       LLC, 594 U.S. at 425. The Supreme Court has said, id.: “Chief among them are injuries with a

       close relationship to harms traditionally recognized as providing a basis for lawsuits in American

       courts. Those include, for example, reputational harms, disclosure of private information, and

       intrusion upon seclusion.” (citing, inter alia, Davis v. Federal Election Comm’n, 554 U.S. 724,

       733 (2008) (disclosure of private information); Gadelhak v. AT&T Services, Inc., 950 F.3d 458,

       462 (7th Cir. 2020) (Barrett, J.) (intrusion upon seclusion)); see also Krakauer v. Dish Network,

       L.L.C., 925 F.3d 643, 653 (4th Cir. 2019) (“Intrusions upon personal privacy were recognized in

       tort law and redressable through private litigation.”).

              “Reputational harm can be a concrete injury, but only if the misleading information was

       brought to the attention of a third party who understood its defamatory significance.” Fernandez,

       116 F.4th at 292. And, “[t]he fact that an injury may be suffered by a large number of people does

       not of itself make that injury a nonjusticiable generalized grievance.” Spokeo, Inc., 578 U.S. at

       339 n.7.

              Of import here, the existence of an applicable statute that authorizes legal action under

       certain circumstances does not automatically create standing. “Congress’s determination that a

       cause of action exists does not displace [the] ‘irreducible constitutional minimum’ of standing.”

       Krakauer, 925 F.3d at 652 (citation omitted). To be sure, Congress is “well positioned to identify

       intangible harms that meet minimum Article III requirements,” so “its judgment is . . . instructive

       and important.” Id. at 341. Nevertheless, “plaintiffs cannot establish a cognizable injury simply



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       by pleading a statutory violation.” Garey, 35 F.4th at 921; see Raines, 521 U.S. at 820 n.3 (“It is

       settled that Congress cannot erase Article III’s standing requirements by statutorily granting the

       right to sue to a plaintiff who would not otherwise have standing.”). “Private litigation, even if

       authorized by statute to serve a range of public ends, must vindicate the plaintiffs’ interests, rather

       than serve solely [as] a vehicle for ensuring legal compliance.” Krakauer, 925 F.3d at 653. Thus,

       “Article III standing requires a concrete injury even in the context of a statutory violation.”

       Spokeo, Inc., 578 U.S. at 341; see TransUnion, 594 U.S. at 426.

              When plaintiffs proceed under a statutory cause of action, they can establish a cognizable

       injury by “identif[ying] a close historical or common-law analogue for their asserted injury,” for

       which courts have “traditionally” provided a remedy. TransUnion LLC, 594 U.S. at 424. In other

       words, “[c]entral to assessing concreteness is whether the asserted harm has a ‘close relationship’

       to a harm traditionally recognized as providing a basis for a lawsuit in American courts—such as

       physical harm, monetary harm, or various intangible harms . . . .” Id. at 417 (quoting Spokeo, Inc.,

       578 U. S. at 340–41). Although there need not be “an exact duplicate in American history and

       tradition,” a federal court is not entitled to “loosen Article III based on contemporary, evolving

       beliefs about what kinds of suits should be heard in federal courts.” TransUnion LLC, 594 U.S. at

       424–25.

              As discussed, an injury in fact must also be actual or imminent. The concepts of actual,

       ongoing injury or imminent injury are “disjunctive.” Deal, 911 F.3d at 189. Ongoing injuries are,

       “by definition, actual injuries for purposes of Article III standing.”          Id.   The imminence

       requirement is a “‘somewhat elastic concept.’” Clapper, 568 U.S. at 409 (citation omitted). Its

       “‘purpose’” is “‘to ensure that the alleged injury is not too speculative for Article III purposes—

       that the injury is certainly impending.’” Id. (citation omitted) (emphasis in Clapper).



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              A threatened injury can also satisfy Article III standing. Beck v. McDonald, 848 F.3d 262,

       271 (4th Cir. 2017); see South Carolina v. United States, 912 F.3d 720, 726 (4th Cir. 2019).

       However, the Supreme Court has “repeatedly reiterated that ‘threatened injury must be certainly

       impending to constitute injury in fact,’ and that ‘[a]llegations of possible future injury’ are not

       sufficient.” Clapper, 568 U.S. at 409 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990))

       (emphasis and second alteration in Clapper).

              The second component of standing concerns traceability. This means that the injury in fact

       must be “fairly traceable to the challenged conduct of the defendant.” Md. Shall Issue, 971 F.3d

       at 210. “For an injury to be traceable, ‘there must be a causal connection between the injury and

       the conduct complained of’ by the plaintiff.” Air Evac EMS, Inc. v. Cheatham, 910 F.3d 751, 760

       (4th Cir. 2018) (quoting Lujan, 504 U.S. at 560). However, “the defendant’s conduct need not be

       the last link in the causal chain . . . .’” Air Evac EMS, Inc., 910 F.3d at 760; see also Lexmark

       Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 n.6 (2014) (“Proximate causation

       is not a requirement of Article III standing . . . .”). “[W]here the plaintiff suffers an injury that is

       ‘produced by [the] determinative or coercive effect’ of the defendant’s conduct ‘upon the action

       of someone else,’” the traceability requirement is satisfied.          Lansdowne on the Potomac

       Homeowners Ass’n, Inc. v. OpenBand and Lansdowne, LLC, 713 F.3d 187, 197 (4th Cir. 2013)

       (quoting Bennett v. Spear, 520 U.S. 154, 169 (1997)).

              To satisfy the third element of standing, redressability, a plaintiff “‘must show that it is

       likely, as opposed to merely speculative, that the injury will be redressed by a favorable [judicial]

       decision.’” Deal, 911 F.3d at 189 (quoting Sierra Club, 899 F.3d at 284). The “very essence” of

       the redressability requirement is that “[r]elief that does not remedy the injury suffered cannot

       bootstrap a plaintiff into federal court.” Steel Co., 523 U.S. at 107. But, the “burden imposed by



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       this requirement is not onerous.” Deal, 911 F.3d at 189. For example, plaintiffs “‘need not show

       that a favorable decision will relieve [their] every injury.’” Id. (citation omitted). “Rather,

       plaintiffs ‘need only show that they personally would benefit in a tangible way from the court's

       intervention.’” Id. (quoting Sierra Club, 899 F.3d at 284).

              “To determine whether an injury is redressable, a court will consider the relationship

       between ‘the judicial relief requested’ and the ‘injury’ suffered.” California v. Texas, 593 U.S.

       659, 671 (2021) (citation omitted). Notably, the “second and third standing requirements—

       causation and redressability—are often ‘flip sides of the same coin.’” Food & Drug Admin. v. All.

       for Hippocratic Med., 602 U.S. 367, 380–81 (2024) (quoting Sprint Commc’ns Co. v. APCC

       Services, Inc., 554 U.S. 269, 288 (2008)). “If a defendant’s action causes an injury, enjoining the

       action or awarding damages for the action will typically redress that injury.” Food & Drug Admin.,

       602 U.S. at 380.

                                             B. The Contentions

              Plaintiffs posit, ECF 17, ¶ 89: “SSA has collected and stored extensive personal and

       financial information about Plaintiffs’ members, including their Social Security numbers, names

       and addresses, taxable income, and contributions to Social Security.” Moreover, “many” of their

       members “have highly sensitive medical information on file with SSA, including members whose

       medical records may contain information that carries a stigma.” Id. ¶ 90.

              According to plaintiffs, “SSA Defendants are required by law to protect the sensitive

       personal and financial information that they collect and maintain about individuals from

       unnecessary and unlawful disclosure.” Id. ¶ 92. In their view, “[t]he decision to grant DOGE

       personnel access to the extensive records that SSA maintains—and any future decisions to do so—




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       without obtaining or even requesting the consent of . . . Plaintiffs’ members, violates those

       requirements and upends the reliance these members had on their data being secure.” Id. ¶ 94.

              In addition, plaintiffs claim, id. ¶ 95: “Plaintiffs’ members—senior citizens—are also

       among the most targeted for and vulnerable to scams seeking or using their sensitive financial and

       medical information.” They assert, id. ¶ 97: “Defendants’ actions have . . . harmed Plaintiffs’

       members by depriving them of privacy protections guaranteed by federal law and by making their

       information available for, and subject to, investigation by DOGE and scammers. This harm is

       exacerbated by the attendant risk that this information, still being improperly disclosed, is more

       easily accessed and abused by malicious actors.”

              On the basis of these and other allegations, plaintiffs contend that their members have

       suffered an injury in fact because they have “three concrete, particularized, and actual or imminent

       injuries,” ECF 39 at 7: “(1) an invasion of privacy akin to intrusion upon seclusion, (2) exposure

       to an increased and non-speculative risk of identity theft, and (3) an increased likelihood of

       disruption in benefit payments.”

              As to the first alleged injury in fact, plaintiffs argue that their members “‘obvious[ly]’”

       have a legitimate expectation of privacy in the information SSA has collected about them, which

       includes “where they live, what benefits they receive, their medical histories, and their bank

       information.”     Id. at 8 (citation omitted; alteration in ECF 39).      And, in plaintiffs’ view,

       “Defendants’ unauthorized disclosure of Plaintiffs’ data is, as an objective matter, highly

       offensive.” Id.

              As to the second alleged injury in fact, plaintiffs argue, id.: “An agency’s ‘failure to

       adequately secure its databases’ creates the sort of ‘substantial risk’ that constitutes a ‘concrete,

       particularized, and actual injury’ for Article III standing.” (Quoting In re U.S. Off. Of Pers. Mgmt.



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       Data Sec. Breach Litig., 928 F.3d 42, 54–55 (D.C. Cir. 2019)). Plaintiffs highlight that SSA’s

       “record systems house among the most sensitive PII available” and the “sensitive nature of that

       data is what led Congress to protect against its misuse . . . .” ECF 39 at 10. Yet, plaintiffs posit,

       id.: “[T]he public record is replete with examples of DOGE personnel at other agencies being

       reckless with sensitive information.[]”      (Citation omitted).    Therefore, plaintiffs argue that

       defendants’ “actions ‘push the threatened injury of future identity theft beyond the speculative to

       the sufficiently imminent . . . .’” Id. (quoting Beck, 848 F.3d at 274).

              Plaintiffs also argue that their members are “injured via [the threat of] disruption of life-

       sustaining benefits payments.” Id. at 11 (emphasis omitted). According to plaintiffs, defendants’

       actions increase the likelihood of a disruption in the receipt of benefits on which their members

       rely “to live.” Id. They point out that Dudek has “recently admitted that he ‘doesn’t know’ whether

       DOGE’s use of SSA data systems means the agency ‘is going to break something’” and that DOGE

       personnel are ‘unfamiliar with the nuances of [the Agency].[]’” Id. (citations omitted; alteration in

       ECF 39). Moreover, SSA employees have stated that “SSA tech systems ‘seem to be crashing

       nearly every day, leading to more delays in serving beneficiaries.[]’” Id. (citation omitted). Thus,

       plaintiffs assert, id.: “This is exactly the type of injury that allows Plaintiffs to pursue ‘forward-

       looking, injunctive relief.’” (citation omitted).

              In addition, plaintiffs maintain that their individual members need not participate in the

       litigation. Id. at 12. As a general matter, plaintiffs argue that they seek injunctive relief under the

       APA and, therefore, “both the claim and relief generally do not require the participation of

       individual members.” Id. They assert: “[C]ourts have repeatedly permitted groups asserting

       associational standing to challenge Privacy Act violations.” Id. at 13 (citing cases).




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              Defendants insist that plaintiffs lack standing to pursue their claims. ECF 36 at 9. They

       posit, id. at 10: “The standing inquiry is especially rigorous when a plaintiff seeks to enjoin the

       executive branch . . . .”    (Citing Murthy, 603 U.S. at 76). 19 Accordingly, defendants urge the

       Court to “deny Plaintiffs’ Motion without further inquiry.” ECF 36 at 9.

              According to defendants, plaintiffs fail to satisfy “at least prongs one and three of the

       representational-standing inquiry.” ECF 36 at 11. They assert, id. at 12: “Plaintiffs’ theory of

       injury-in-fact is that their members have provided various forms of information to SSA with the

       expectation of confidentiality and privacy, and that Defendants’ actions in allowing certain USDS

       employees to access those records violates members’ reasonable expectations.” In defendants’

       view, “[t]hat theory fails” because a statutory violation, “by itself, is not a cognizable Article III

       injury.” Id. Moreover, defendants contend, id. at 13: “Access to information—if unaccompanied

       by disclosure of that information—is not a cognizable intangible harm.” (Citing cases). In this

       regard, defendants note, id.: “Plaintiffs do not contend that their members were victims of any

       disclosure of their SSA information to non-government actors.” They add, id. at 13 n.3: “Even if

       Plaintiffs were not required to show that their private information was disseminated to the public,

       the absence of any evidence that the information has been seen outside of SSA and a handful of

       USDS employees is fatal to their claim of Article III injury.”

              Further, defendants assert, id. at 13: “Were it enough for a plaintiff to establish standing

       simply by alleging that the holder of her personal information used it in a manner contrary to her

       subjective expectations, the limits the Supreme Court has carefully established to govern when

       disclosure of information constitutes injury-in-fact, including the requirement to identify a

       historical analogue, would be obliterated.” They state: “Because USDS’s mere access to SSA data


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                   A review of the citation does not reflect the government’s assertion.

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       is not a physical, monetary, or cognizable harm, [plaintiffs] cannot establish injury-in-fact for

       Article III standing.” Id. at 13–14.

              In addition, defendants argue that plaintiffs fail to establish the “crucial” causation element

       of standing. Id. at 14. They spend little time addressing the issue, but illustrate their point with

       reference to the identity theft concerns of plaintiffs’ members. Id. Claiming that plaintiffs have

       not shown “‘a nonspeculative increased risk of identity theft,’” defendants argue that plaintiffs

       have failed to demonstrate causation as to all claims. Id.

              As to the third prong of representational standing, defendants contend that the participation

       of individual members is necessary for the Privacy Act claims (Counts I and II). Id. In defendants’

       view, “a plaintiff cannot satisfy [this] prong of the representational-standing inquiry simply by

       stating that it seeks only injunctive relief.” Id. at 15. They point out that the “Privacy Act does

       not provide for injunctive relief for disclosure claims and requires specific disclosures with respect

       to specific persons; in other words, the violations themselves are individualized.” Id. Privacy Act

       claims, defendants say, “are specific and personal to individual persons.” Id. They posit:

       “Plaintiffs must show that neither the claims they brought nor the relief they have sought ‘requires

       the participation of individual members in the lawsuit.’” Id. (quoting S. Walk at Broadlands, 713

       F.3d at 184).

              In sum, defendants argue that “[b]ecause the Privacy Act requires ‘individualized

       determinations’ to establish violations, the participation of individual members is required—and

       Plaintiffs lack representational standing.” ECF 36 at 15.




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                                                    C. Analysis

                                           1. Interruption of Benefits

               I decline to spill ink on plaintiffs’ claim of standing based on a potential interruption of

       Social Security benefits. This is precisely the abstract, speculative, and hypothetical concern that

       does not pass muster under Article III.

                                                 2. Identity Theft

               The heightened concern of plaintiffs’ members regarding possible identity theft arising

       from a potential data breach exposing their personal information, all due to the unfettered access

       to PII provided by SSA to the DOGE Team, is insufficient to establish standing. This amount to

       a “one-step removed, anticipatory” concern, Murthy, 603 U.S. at 57, for which plaintiffs seek

       “forward-looking relief.” Id. at 58. But, “[a]n allegation of future injury may suffice [only] if the

       threatened injury is certainly impending, or there is a substantial risk that the harm will occur.”

       Susan B. Anthony List, 573 U.S. at 158 (internal quotation marks omitted); see also Murthy, 603

       U.S. at 58. Plaintiffs “must show a substantial risk that, in the near future,” they will suffer injury.

       Murthy, 603 U.S. at 44. The allegations here are worrisome, but they do not satisfy this

       requirement.

               I recognize that the case of New York v. Trump, 25-JAV-01144, 2025 WL 573771

       (S.D.N.Y. Feb. 21, 2025), reaches a different result. There, nineteen states filed suit against

       President Trump, the U.S. Department of Treasury, and Treasury Secretary Bessent, challenging

       access to financial and other information provided to members of the DOGE Team by the United

       States Department of Treasury.        Id. at *1.    The disbursements included funding to state

       governments for Medicaid, FEMA, education, and foster care programs. Id. at *2. And, payment

       files contained Social Security and bank account numbers as well as federal tax return information.



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       Id. at *7. The court granted a preliminary injunction that, inter alia, enjoined the Treasury

       Department from granting any DOGE affiliates access to any payment record or payment system

       containing personally identifiable information and/or confidential financial information of the

       payees. Id. at *27.

              Relevant here, the court found that the plaintiff-states had standing to sue. The court said:

       “Plaintiffs have adequately alleged both past harm in the unauthorized disclosure of the States’

       confidential financial information to the DOGE Team, and the risk of future harm, in the risk of

       exposure of their confidential information to officials of USDS/DOGE and to the public through

       potential hacking.” Id. at *12 (emphasis added). As to future harm, the court explained, id.:

       “Courts have routinely found that plaintiffs have standing to seek injunctive relief where

       inadequate cybersecurity measures put their confidential information at risk of disclosure.”

              The court reasoned that there “is a realistic danger that the rushed and ad hoc process that

       has been employed to date by the Treasury DOGE Team has increased the risk of exposure of the

       States’ information.” Id. In reaching this conclusion, the court noted that one member of the

       Treasury DOGE Team was mistakenly granted “‘read/write permissions instead of read-only’”

       permission. Id. (citation omitted). As the court put it, id.: “The critical sensitivity of the

       information contained in the [Bureau of the Fiscal Service] payment systems, which includes the

       PII and confidential information of both the States and millions of their residents, requires more

       than a band-aid approach to cybersecurity.”

              The hurried manner in which the Treasury DOGE Team was granted access to Treasury

       systems mirrors the rushed manner in which at least some members of the SSA DOGE Team were

       granted access to SSA systems. See ECF 22-10 (Flick Decl.), ¶¶ 15, 16, 23, 24, 27, 29, 40, 48

       (repeatedly referencing the “rushed nature” of the onboarding and training of Bobba and Russo).



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       For example, several members of the SSA DOGE Team were granted access to SSA systems

       before their background checks were completed or their inter-agency detail agreements were

       finalized. See ECF 36-2, ¶¶ 5, 11, 15. Flick also raised concerns regarding Bobba’s offsite access

       to SSA systems, which could increase the risk of the data falling into the hands of unauthorized

       persons. See ECF 22-10, ¶¶ 28, 43, 49.

               But, I am guided by Beck, 848 F.3d 262. There, the personal information of the plaintiffs

       was actually compromised because of a data breach. Even so, the Court said “the mere theft” of

       personal information, “without more, cannot confer Article III standing.” Id. at 275. It found no

       Article III injury from the “increased risk of future identity theft . . . .” Id. at 267. To obtain Article

       III standing on these grounds, the Court stated that plaintiffs’ allegations must go “beyond the

       speculative to the sufficiently imminent.” Id. at 274.

               The Supreme Court has “repeatedly reiterated” that “‘[a]llegations of possible future

       injury’ are not sufficient” and that a “‘threatened injury must be certainly impending to constitute

       injury in fact.’” Clapper, 568 U.S. at 409 (quoting Whitmore, 495 U.S. at 158) (emphasis and

       second alteration in Clapper).     At this juncture, I am not prepared to speculate that the actions at

       issue will result in a data breach, and that a breach will necessarily result in identity theft. This

       concern is not sufficient to satisfy the demands of Article III.

               However, this does not end the inquiry. Plaintiffs also claim that they have standing

       because their members’ injuries are similar to the common-law tort of intrusion upon seclusion.

       ECF 39 at 7. I turn to address this contention.

                                           3. Intrusion Upon Seclusion

               As noted, in TransUnion, 594 U.S. at 424, the Supreme Court clarified that plaintiffs

       challenging a statutory violation can establish standing by “identif[ying] a close historical or



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       common-law analogue for their asserted injury,” for which courts have “traditionally” provided a

       remedy. The Supreme Court and other courts have explicitly recognized that intrusion upon

       seclusion is an intangible harm “with a close relationship” to a harm “traditionally recognized as

       providing a basis for lawsuits in American courts.” TransUnion LLC, 594 U.S. at 425; see also

       Garey, 35 F.4th at 921; Gadelhak, 950 F.3d at 462 (Barrett, J.). And, in the context of related

       cases involving disclosure of PII by federal agencies, several courts have recently concluded that

       an injury akin to what plaintiffs allege here has a close relationship to the harm associated with the

       tort of intrusion upon seclusion. See Alliance for Retired Americans v. Bessent, 25-CKK-0313,

       2025 WL 740401, at *16 (D.D.C. Mar. 7, 2025); American Federation of Teachers, et al., v.

       Bessent, et al., 25-DLB-0430, 2025 WL 582063, at *6 (D. Md. Feb. 24, 2025); cf. New York v.

       Trump, 2025 WL 455406, at *12.

               “‘Intrusion upon seclusion is one of the torts under invasion of privacy.’” Neal v. United

       States, 599 F. Supp. 3d 270, 306 (D. Md. 2022) (quoting Demo v. Kirksey, PX-18-00716, 2018

       WL 5994995, at *3 (D. Md. Nov. 15, 2018)). The Restatement (Second) of Torts § 652B (1977)

       (October 2024 update) (“Restatement”) defines intrusion upon seclusion as follows: “One who

       intentionally intrudes, physically or otherwise, upon the solitude or seclusion of another or his

       private affairs or concerns, is subject to liability to the other for invasion of privacy, if the intrusion

       would be highly offensive to a reasonable person.” (Emphasis added); see Furman v. Sheppard,

       130 Md. App. 67, 73, 744 A.2d 583, 585 (2000) (Intrusion upon seclusion occurs where there is

       an “intentional intrusion upon the solitude or seclusion of another or his private affairs or concerns

       that would be highly offensive to a reasonable person.”); see also Lipscomb v. Aargon Agency,

       Inc., PWG-13-2751, 2014 WL 5782040, at *2 (D. Md. Nov. 5, 2014); Gamble v. Fradkin & Weber,

       P.A., 846 F. Supp. 2d 377, 383 (D. Md. 2012); Bailer v. Erie Ins. Exch., 344 Md. 515, 525–26,



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       687 A.2d 1375, 1380-81 (1997); Mitchell v. Balt. Sun Co., 164 Md. App. 497, 522, 883 A.2d 1008,

       1022 (2005).

              “Conduct that a particular plaintiff finds offensive, but that would not offend a reasonable

       person, cannot establish intrusion upon seclusion.” Neal, 599 F. Supp. 3d at 306; see also Whye

       v. Concentra Health Servs., Inc., ELH-12-3432, 2013 WL 5375167, at *14 (D. Md. Sept. 24,

       2013), aff’d, 583 Fed. App’x 159 (4th Cir. 2014). Rather, intrusion upon seclusion requires a

       “‘substantial’” intrusion, judged by an objective reasonableness standard; it is irrelevant whether

       a particular plaintiff subjectively found conduct to be highly offensive. Whye, 2013 WL 5375167,

       at *14 (quoting Restatement § 652B, cmt. d).

              “A legitimate expectation of privacy is the touchstone of the tort of intrusion upon

       seclusion.” Fletcher v. Price Chopper Foods of Trumann, Inc., 220 F.3d 871, 877 (8th Cir. 2000).

       And, “[a]n intrusion upon seclusion claim requires that the matter into which there was an intrusion

       is entitled to be private and is kept private by the plaintiff.” Barnhart v. Paisano Pubs., LLC, 457

       F. Supp. 2d 590, 593 (D. Md. 2006).

              The Restatement provides several useful illustrations pertaining to the tort of intrusion

       upon seclusion. For example, it explains that an intrusion upon seclusion may occur by an

       “investigation or examination into [the plaintiff’s] private concerns, as by opening his private and

       personal mail, searching his safe or his wallet, examining his private bank account, or compelling

       him by a forged court order to permit an inspection of his personal documents.” Restatement

       § 652B cmt. b. And, relevant here, the Restatement contemplates that inspection of certain private

       records can qualify as intrusion upon seclusion. See id. On the other hand, “there is no liability

       for the examination of a public record concerning the plaintiff, or of documents that the plaintiff

       is required to keep and make available for public inspection.” Id. cmt. c.



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               The government argues that the alleged injuries of plaintiffs’ members are not comparable

       to the harm associated with intrusion upon seclusion because their PII has been shared only with

       other government employees, and not the public. ECF 36 at 13. But, intrusion upon seclusion

       “does not depend upon any publicity given to the person whose interest is invaded or to his affairs.”

       Restatement § 652B cmt. a (1977). In other words, “[t]he intrusion itself makes the defendant

       subject to liability, even though there is no publication . . . .” Id. § 652B cmt. b.

               Moreover, the claim that plaintiffs’ members suffered no injury in fact because the

       protected information was disclosed only to government employees carries no water. The SSA

       alone has “roughly 57,000” employees. ECF 39-1, ¶ 7. And, more broadly, the federal government

       is the largest employer in the United States.            Federal Employers, U.S. DEP’T LABOR,

       https://perma.cc/RJ3F-XNXN. The harms associated with intrusion on seclusion do not dissipate

       merely because PII is accessed only by government employees who were not entitled to access the

       information. See, e.g., Parks v. U.S. IRS, 618 F.2d 677, 683 (10th Cir. 1980) (concluding that

       plaintiffs had standing to sue for a Privacy Act violation, although there was only an intra-agency

       disclosure, because “plaintiffs are the objects or the subjects of the disclosure and the allegation is

       that they suffered a personal invasion”). 20

               Defendants rely, inter alia, on the Supreme Court’s decision in TransUnion, LLC, 594 U.S.

       413, and the Fourth Circuit’s decision in O’Leary v. TrustedID, Inc., 60 F.4th 240 (4th Cir. 2023),

       to support their position. 21


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                  In the case of the government, this means, in theory, that plaintiffs would have no claim
       if the entire SSA workforce, consisting of thousands of people, obtained access to the PII.
               21
                  Many of the authorities cited by the government in support of its argument do not involve
       the tort of intrusion upon seclusion. See, e.g., ECF 36 at 12, 13 (citing Restatement (Second) of
       Torts § 652D (1977) (“Publicity Given to Private Life”); Hunstein v. Preferred Collection &
       Mgmt. Servs., Inc., 48 F.4th 1236, 1245 (11th Cir. 2022) (en banc) (same); Dreher v. Experian
       Info. Sols., Inc., 856 F.3d 337, 345 (4th Cir. 2017) (plaintiff proposed no common law analogue
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               In TransUnion, LLC, 594 U.S. 413, a class of 8,185 individuals filed suit against

       TransUnion, a credit reporting agency, seeking damages for violations of the Fair Credit Reporting

       Act, 15 U.S.C. § 1681 et seq. Id. at 417. TransUnion compiled and sold consumer reports,

       containing personal and financial information, to banks, landlords, and car dealerships “that

       request information about the creditworthiness of individual consumers.” Id. at 419. It also used

       a software product that compared names with individuals listed on the U.S. Treasury Department’s

       Office of Foreign Assets Control (“OFAC”). Id. In particular, OFAC maintains a list of

       “‘specially designated nationals’” believed to pose a threat to America’s national security, such as

       terrorists, drug traffickers, and other serious criminals. Id. Because it is generally unlawful to

       transact business with any person on the OFAC list, TransUnion created the “OFAC Name Screen

       Alert to help businesses avoid transacting with individuals on OFAC’s list.” Id.

               The system generated “many false positives,” however, as many “law-abiding Americans

       happen to share a first and last name” with someone on OFAC’s list. Id. at 420. The named

       plaintiff, Ramirez, was one of them. When he sought to buy a car at a dealership, his name was

       flagged as a “potential match” on the OFAC list. Id. As a result, the car dealership refused to sell

       the vehicle to him. Id. The plaintiffs filed suit, alleging that TransUnion “failed to use reasonable

       procedures to ensure the accuracy of their credit files, as maintained internally by TransUnion.”

       Id. at 417. 22




       for his alleged Fair Credit Reporting Act injury, and the Court could not find one; no discussion
       of intrusion upon seclusion)).
               22
                 Two other claims were lodged by all 8,185 class members. TransUnion, LLC, 594 U.S.
       at 418. In those claims, the plaintiffs alleged “formatting defects in certain mailings sent to them
       by TransUnion.” Id. However, only the named plaintiff, Ramirez, demonstrated that the alleged
       formatting errors caused him any concrete harm. Id. Therefore, the Court determined that he was
       the only class member with Article III standing to pursue the formatting defect claims. Id.
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               As to 1,853 members of the class, such as Ramirez, “TransUnion provided misleading

       credit reports to third-party businesses.” Id. at 417 But, the “internal credit files of the other 6,332

       class members were not provided to third-party businesses . . . .” Id. (emphasis in TransUnion).

               To determine whether the class members had standing to recover monetary damages, the

       Supreme Court assessed “whether the alleged injury to the plaintiff has a ‘close relationship’ to a

       harm ‘traditionally’ recognized as providing a basis for a lawsuit in American courts.” Id. at 424

       (quoting Spokeo, Inc., 578 U.S. at 341 (2016)). The Court had “no trouble” concluding that the

       1,853 class members whose credit reports were published to third parties containing OFAC alerts

       that misleadingly labeled them as potential terrorists, drug traffickers, or serious criminals

       “suffered a concrete harm that qualifies as an injury in fact.” Id. at 432. The Court reasoned that

       the publication to a third party of a credit report bearing a misleading OFAC alert shared a “‘close

       relationship’” to the harm associated with the tort of defamation. Id. However, because the credit

       reports of the remaining 6,332 class members were never disseminated to third parties, they did

       not suffer concrete harm for purposes of Article III. Id. at 433.

               The Court explained that “[p]ublication is ‘essential to liability’ in a suit for defamation.”

       Id. at 434 (citation omitted). As the Court put it, id.: “[T]here is ‘no historical or common-law

       analog where the mere existence of inaccurate information, absent dissemination, amounts to

       concrete injury.’” (Citation omitted). Thus, “[t]he mere presence of an inaccuracy in an internal

       credit file, if it is not disclosed to a third party, causes no concrete harm.” Id.

               The class members advanced an additional contention based on “risk of future harm.” Id.

       at 435 (emphasis in TransUnion). They argued, id.: “[T]he existence of misleading OFAC alerts

       in their internal credit files exposed them to a material risk that the information would be

       disseminated in the future to third parties and thereby cause them harm.” The Court rejected that



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       argument as well. Nevertheless, it said, id.: “[A] person exposed to a risk of future harm may

       pursue forward-looking, injunctive relief to prevent the harm from occurring, at least so long as

       the risk of harm is sufficiently imminent and substantial.” (Emphasis added). The plaintiffs did

       not seek injunctive relief, however. And, they did not “factually establish a sufficient risk of future

       harm to support Article III standing.” Id. at 437–38. Accordingly, the Court concluded that these

       class members did not have standing.

              The class members also argued for the first time before the Supreme Court that TransUnion

       “published” their information internally. Id. at 434 n.6. The Court stated that the “new argument”

       was “forfeited” but in any event was unavailing. It reasoned, id.: “Many American courts did not

       traditionally recognize intra-company disclosures as actionable publications for purposes of the

       tort of defamation.” Id. Although the government relies on this quote, ECF 36 at 13, the Court’s

       statement pertained to the tort of defamation, not intrusion upon seclusion.

              Of significance, TransUnion recognizes that, for purposes of standing, a concrete harm can

       be intangible. TransUnion, 594 U.S. at 425. And, it mentioned intrusion upon seclusion as a

       traditionally recognized harm. Id. But, the alleged harm in TransUnion was reputational harm,

       akin to the tort of defamation. And, for class members for whom there was no dissemination of

       information, there was no harm. The harm did not concern privacy interests stemming from

       sensitive PII, such as medical records and tax return information.

              In O’Leary, 60 F.4th 240, the Fourth Circuit considered whether the plaintiff, Brady

       O’Leary, had standing to bring suit under South Carolina’s Financial Identity Fraud and Identity

       Theft Protection Act, S.C. Code Ann. § 37-20-180 (“SC Act”). Id. at 241. The SC Act prohibited

       “‘requir[ing] a consumer to use his social security number or a portion of it containing six digits

       or more to access an Internet web site, unless a password or unique personal identification number



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       or other authentication device is also required to access the Internet web site.’” Id. (citation

       omitted; alteration in O’Leary).

              Equifax, a nonparty to the case, was subject to a data breach. Id. Equifax engaged its

       subsidiary, defendant TrustedID, Inc., “to use TrustedID’s website to inform customers whether

       they were impacted by the data breach.” Id. The plaintiff visited TrustedID’s website to learn

       whether his data had been compromised. Id. The website required O’Leary to enter his six-digit

       SSN, but it did not use “any other safety precautions.” Id. After entering his SSN, O’Leary was

       informed that he was not impacted by Equifax’s data breach. Id. But, he alleged that TrustedID

       “shared the six digits of his SSN with Equifax.” Id.

              O’Leary filed suit against TrustedID in state court, “alleging that TrustedID’s practice of

       requiring six digits of consumers’ SSNs violated the [SC] Act and South Carolina’s common-law

       right to privacy.” Id. at 241. The case was removed to federal court under the Class Action

       Fairness Act, 28 U.S.C. § 1332(d)(2). Id. Thereafter, the plaintiff amended his complaint, adding

       a negligence claim. Id. TrustedID moved to dismiss, pursuant to Fed. R. Civ. P. 12(b)(6). Id.

       While that motion was pending, the plaintiff filed a motion to “Determine Subject Matter

       Jurisdiction Or, in the Alternative, to Remand.” Id. at 242. He took no position as to whether he

       had standing, but the defendant argued that the plaintiff had sufficiently alleged standing. Id.

              At the hearing, TrustedID referred to the alleged injury as “‘an invasion of privacy or

       intrusion upon seclusion.’” Id. (citation omitted). And, O’Leary “said he was injured when

       TrustedID ‘intentionally [took] personal identifying information and monetiz[ed] it in some way.’”

       Id. (citation omitted; alterations in O’Leary). The district court determined that O’Leary had

       alleged “‘an intangible concrete harm in the manner of an invasion of privacy,’ which the court

       said was ‘enough to give [it] subject-matter jurisdiction at this early stage of the case.’” Id.



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       (citations omitted; alteration and emphasis in O’Leary). Accordingly, the district court determined

       that the plaintiff had standing. But, it dismissed his claims pursuant to Fed. R. Civ. P. 12(b)(6).

       Id. The plaintiff appealed only the district court’s decision to dismiss the case for failure to state

       a claim. Id.

               On appeal, the Fourth Circuit concluded that the plaintiff “alleged only a bare statutory

       violation and no Article III injury.” Id. The Court explained, id. at 243: “The intangible harm of

       enduring a statutory violation, standing alone, typically won’t suffice under Article III—unless

       there’s separate harm (or a materially increased risk of another harm) associated with the

       violation.”    Extrapolating, inter alia, from cases involving the Fair and Accurate Credit

       Transactions Act (“FACTA”), 15 U.S.C. § 1681 et seq., as well as data breach cases, the Fourth

       Circuit said, id. at 244: “Article III excludes plaintiffs who rely on an abstract statutory privacy

       injury unless it came with a nonspeculative increased risk of identity theft.” But, O’Leary had not

       alleged, “even in a speculative or conclusory fashion,” that “entering six digits of his SSN on

       TrustedID’s website has somehow raised his risk of identity theft.” Id. In sum, the Court

       determined that “O’Leary relies entirely on a mere procedural violation of a statute, which Article

       III rejects.” Id. at 245.

               The Court also concluded that O’Leary had not alleged “an injury with a ‘close

       relationship’ to a traditional or common-law analog”, because “he appears to rely on some abstract

       privacy interest in his SSN itself.” Id. (citation omitted). It considered two traditional analogs for

       intangible harms that confer standing: intrusion upon seclusion and disclosure of private

       information. Id. at 245–46.

               The Court defined intrusion upon seclusion as a cause of action “‘against defendants who

       invade[ ] the private solitude of another.’” Id. at 245 n.2 (quoting Gadelhak, 950 F.3d at 462). It



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       acknowledged that the Supreme Court in TransUnion “mention[ed] intrusion upon seclusion as a

       traditionally recognized harm that provides a basis for lawsuits in federal court.” O’Leary, 60

       F.4th at 245 (citing TransUnion, 594 U.S. at 425). It noted that TransUnion cited “as an example

       then-Judge Barrett’s holding in Gadelhak that receiving unwanted text messages (which violated

       the Telephone Consumer Protection Act of 1991) could be a concrete injury in fact, as it closely

       relates to intrusion upon seclusion.” Id. at 245 (citing Gadelhak, 950 F.3d at 462). And, the Fourth

       Circuit acknowledged that it, too, had recognized that “violations involving unwanted calls under

       the Telephone Consumer Protection Act are concrete injuries in fact, based on federal courts’

       traditional protection of ‘privacy interests in the home.’” O’Leary, 60 F.4th at 245 (quoting

       Krakauer, 925 F.3d at 653).

              However, the Court concluded that O’Leary’s alleged injury did not bear a close

       relationship to intrusion upon seclusion. O’Leary, 60 F.4th at 245. Specifically, O’Leary alleged

       that he “chose to hand over his partial SSN ‘[i]n exchange for’ finding out whether he was

       impacted by Equifax’s data breach.” Id. (citation omitted; alteration in O’Leary). And, the Fourth

       Circuit said, id.: “It’s the unwanted intrusion into the home that marks intrusion upon seclusion,

       and O’Leary hasn’t pleaded anything that closely relates to that.” (Emphasis added).

              With respect to disclosure of private information, the Court recognized that it “can be

       another traditional analog for intangible harms that confer standing[.]” Id. at 246 (citing Davis,

       554 U.S. 733). However, neither party had advanced that argument. Id. at 246. The parties’

       silence on this theory, the Court said, was “likely for good reason.” O’Leary, 60 F.4th at 246.

              The Court reviewed Davis, noting that it “held that a self-financed political candidate had

       standing to challenge a statute that would require him to disclose to the government when he spent

       more than $350,000 in personal funds on his campaign,” because it “implicated the candidate’s



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       privacy of association guaranteed by the First Amendment.” Id. (citing Davis, 554 U.S. at 733,

       744). But, the Court determined that O’Leary’s “associational rights” were not impacted. It said,

       60 F.4th at 246: “And he (voluntarily) disclosed his partial SSN to TrustedID, not to the

       government.” In conclusion, the Court said, id.: “O’Leary hasn’t adequately pled that he was

       injured by the alleged statutory violation at all—much less in a way that closely relates to a

       traditional analog for a federal lawsuit.”

              Defendants point to the O’Leary Court’s determination that the tort of intrusion upon

       seclusion is inapplicable because it is the “unwanted intrusion into the home that marks intrusion

       upon seclusion.” O’Leary, 60 F.4th at 245. But, as indicated, the Court also defined intrusion

       upon seclusion as a cause of action “‘against defendants who invade[ ] the private solitude of

       another.’” Id. at 245 n.2 (quoting Gadelhak, 950 F.3d at 462). In turn, Gadelhak cited the

       Restatement, which does not limit intrusion upon seclusion to the home.

              Gadelhak is instructive. There, in an opinion for the Seventh Circuit authored by then

       Judge Barrett, the court concluded that “unwanted text messages can constitute a concrete injury-

       in-fact for Article III purposes.” 950 F.3d at 463. In reaching that conclusion, the Gadelhak Court

       observed, id. at 462: “The common law has long recognized actions at law against defendants

       who invaded the private solitude of another by committing the tort of ‘intrusion upon seclusion.’”

       The court reasoned that “irritating intrusions,” such as persistent telephone calls and unwanted text

       messages, “pose the same kind of harm that common law courts recognize . . . .” Id. at 462–63

       (emphasis in original). Of import here, the unwanted text messages did not involve the home.

       Nevertheless, Judge Barrett wrote, id. at 462: “The harm posed by unwanted text messages is

       analogous to that type of intrusive invasion of privacy”, i.e., intrusion on seclusion.




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              In any event, O’Leary is factually distinguishable. Moreover, the government overlooks

       other Fourth Circuit cases that lend support to the conclusion that invasion of privacy (including

       the form known as intrusion upon seclusion) is a proper analog here.

              In Garey, 35 F.4th 917, the Fourth Circuit considered whether plaintiffs had standing to

       sue for an alleged violation of the Driver’s Privacy Protection Act (“DPPA”), 18 U.S.C. § 2721 et

       seq. The statute provides a private cause of action against “‘[a] person who knowingly obtains,

       discloses or uses personal information, from a motor vehicle record,’ for an impermissible

       purpose.” Id. at 920 (citing 18 U.S.C. § 2724(a)). The defendants, personal injury lawyers,

       obtained motor vehicle accident reports from North Carolina law enforcement agencies or “private

       data brokers,” id. at 919, which contained names and home addresses of the drivers. Id. at 919–

       20. The defendants used the personal information in the reports “to mail unsolicited attorney

       advertising materials to the drivers involved in those crashes.” Id. at 920; see also id. at 919.

              The Garey Court determined that plaintiffs’ allegation that their “privacy [was] invaded by

       Defendants’ knowingly obtaining his or her name and address from a motor vehicle record for an

       impermissible purpose in violation of law” constituted a “legally cognizable privacy injury.” Id.

       at 922. It reasoned that the alleged harm was “closely related to the invasion of privacy, which

       has long provided a basis for recovery at common law.” Id. at 921. Therefore, the Fourth Circuit

       concluded that the DPPA’s private right of action satisfied Article III. Id. at 922. 23



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                  The Garey Court also determined that the group of plaintiffs seeking injunctive relief
       did not have standing because there was no evidence they were subject to imminent or certainly
       impending harm. Garey, 35 F.4th at 923. The Court observed that a plaintiff can meet “‘the
       injury-in-fact requirement for prospective relief’ either by demonstrating ‘a sufficiently imminent
       injury in fact’ or by demonstrating ‘an ongoing injury’. . . .” Id. at 922 (quoting, inter alia, Deal,
       911 F.3d at 189). The Court agreed with the district court that plaintiffs did not show that they
       were “‘subject to any imminent harm.’” Id. at 922. Specifically, because the plaintiffs “narrowed
       their case” to the unlawful “obtaining” of protected information, rather than using or disclosing,
       and the “obtaining of [plaintiffs’] personal information is a fait accompli,” there was no “ongoing
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              In reaching its conclusion, the Garey Court cited Krakauer, 925 F.3d 643. Krakauer

       involved the Telephone Consumer Protection Act of 1991 (“TCPA”), 47 U.S.C. § 227, which,

       among other things, prohibits telephone calls to residential phone numbers on the national “Do-

       Not-Call” registry. Id. at 648. The TCPA provides a private right of action for violations of the

       statute. Id. at 649. The plaintiffs filed a class action lawsuit, alleging that the defendant’s sales

       representatives “routinely flouted” the TCPA Id. at 648. The Fourth Circuit concluded that the

       private right of action “plainly satisfies the demands of Article III.” Id. at 653. It said, id.: “Our

       legal traditions . . . have long protected privacy interest in the home.” But, more broadly, the Court

       also said, citing the Restatement: “Intrusions upon personal privacy were recognized in tort law

       and redressable through private litigation.” Id.

              Moreover, in the context of related cases involving agency disclosures of confidential

       information to DOGE Teams, at least three federal courts have recently found standing based on

       the analogs of intrusion upon seclusion or public disclosure of private information.

              In Alliance for Retired Americans, 2025 WL 740401, Judge Kollar-Kotelly, of the United

       States District Court for the District Court of Columbia, found that three plaintiff-organizations

       had standing to sue the Department of Treasury and Treasury Secretary Scott Bessent, among other

       defendants, on behalf of their members. There, DOGE personnel were provided access to systems

       of records maintained by the Department of Treasury that contained sensitive and personal

       information. such as routing and bank account numbers, as well as information about individual

       credit and debit card numbers. Id. at *5–8, *16.



       or imminent injury.” Id. at 923. The Court added that the “mere possibility” of a “future
       ‘obtaining’ violation cannot support injunctive relief. Id.; see City of Los Angeles v. Lyons, 461
       U.S. 95, 103 (1983) (stating that “past wrongs do not in themselves amount to that real and
       immediate threat of injury” needed for prospective relief). Here, plaintiffs have alleged an on-
       going injury, which distinguishes the instant case from Garey. See ECF 17, ¶¶ 2, 94, 97.
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               Notably, the court rejected the argument that the plaintiffs lacked standing because the

       members’ information was shared only within the government, and not to the public. The court

       acknowledged that a “lack of public exposure supports an argument that the harm that Plaintiffs

       describe is not analogous to the reputational harm caused by defamation.” Id. at *15. But, it

       explained that a defendant can be liable for intrusion upon seclusion without any publication. Id.

       at *16. And, the court concluded that the alleged injury of plaintiffs’ members—the same one

       alleged by plaintiffs here—“bears a close relationship to the harm essential to an intrusion upon

       seclusion at common law.” Id.

               In particular, the court found that the plaintiffs’ members had a reasonable expectation of

       privacy in the records at issue because, inter alia, it is “entirely reasonable for [plaintiffs’]

       members to rely on the explicit statutory protections provided by the Privacy Act and the Internal

       Revenue Code.” Id. Further, she found that the intrusion at issue would be highly offensive to a

       reasonable person, pointing, among other things, to “the sensitivity of the information at issue.”

       Id. at *17.

               In American Federation of Teachers et al., 2025 WL 582063, Judge Boardman of this

       Court reached the same conclusion. In particular, Judge Boardman concluded that the plaintiffs,

       five organizations and six individuals, had standing to sue the Department of Education, among

       other defendants, because the alleged harm—DOGE affiliates’ unauthorized access to sensitive

       PII of the plaintiffs or their members—resembled the tort of intrusion upon seclusion. Id. at *6.

       The information included, inter alia, “bank account numbers; Social Security numbers; dates of

       birth; physical and email addresses; disability status; income and asset information; marital status;

       demographic information . . . .” Id.




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              Judge Boardman concluded that the “unauthorized disclosure of this massive amount of

       personal information can be considered an ‘unwanted intrusion into the home that marks intrusion

       upon seclusion.’” Id. (quoting O’Leary, 60 F.4th at 246). And, she rejected the argument that the

       plaintiffs did not have standing because the information was only provided to government

       employees. American Federation of Teachers et al., 2025 WL 582063, at *6. In doing so, she

       distinguished the tort of intrusion upon seclusion from the tort of public disclosure of private

       information. Id. She also relied on the purpose of the Privacy Act, which, as noted earlier, includes

       “‘prevent[ing] the kind of illegal, unwise, overbroad, investigation and record surveillance of law

       abiding citizens produced in recent years from actions of some overzealous investigators, and the

       curiosity of some government administrators, or the wrongful disclosure and use, in some cases,

       of personal files held by Federal agencies.’” Id. (quoting Doe v. DiGenova, 779 F.2d 74, 84 (D.C.

       Cir. 1985)) (alteration in American Federation of Teachers).

              As discussed earlier, in New York v. Trump, 2025 WL 573771, the court granted the

       requests of nineteen states for a preliminary injunction which, inter alia, enjoined the Treasury

       Department from granting any DOGE affiliates access to any of its payment systems. Id. at *27.

       Relying on the Second Circuit’s decision in Bohank v. Marsh & McLennan Companies, Inc., 79

       F.4th 276 (2d Cir. 2023), the court found that the plaintiff-states had standing to sue. Specifically,

       the court reasoned that the plaintiffs adequately alleged “past harm in the unauthorized disclosure

       of [their] confidential financial information to the DOGE Team . . . .” New York v. Trump, 2025

       WL 573771, at *12. The court analogized the case to Bohank, in which the Second Circuit

       concluded that “‘exposure of [the plaintiff’s] private PII to unauthorized third parties’ bore a ‘close

       relationship to a well-established common-law analog: public disclosure of private facts.’” Id. at

       *11 (quoting Bohnak, 79 F.4th at 285).



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              Applying the principles gleaned from the cases discussed above to the allegations here, I

       conclude that the wholesale access to SSA records that the Agency has provided to the DOGE

       Team is sufficiently analogous to the tort of intrusion upon seclusion. There is an expectation of

       privacy with respect to the PII. And, the unrestricted access to PII that SSA provided to the DOGE

       Team, without specified need, and/or without adequate training, detail agreements, and/or

       background investigations of all DOGE Team members, discussed infra, would be highly

       offensive to an objectively reasonable person.

              To be sure, plaintiffs cannot establish a cognizable injury in fact merely by pleading a

       statutory violation of the Privacy Act. But, the Supreme Court has made clear that the judgment

       of Congress remains “instructive and important.” Spokeo, Inc., 578 U.S. at 341; see TransUnion

       LLC, 594 U.S. at 425 (“Courts must afford due respect to Congress’s decision to impose a statutory

       prohibition or obligation on a defendant, and to grant a plaintiff a cause of action to sue over the

       defendant’s violation of that statutory prohibition or obligation.”). By enacting the Privacy Act,

       the Social Security Act, FISMA, and the Internal Revenue Code, Congress has recognized, in

       general, that improper access to or disclosure of personally identifiable information—even to

       government employees—poses a harm to legitimate privacy interests.

              Upon review of the tort of intrusion on seclusion, it is clear that plaintiffs’ members have

       expressed that they expected their data, maintained by SSA, to remain private. See, e.g., ECF 22-

       2 (Conard), ¶ 10 (“I always expected that the personal data I have submitted, and continue to

       submit when required, to SSA would remain private and used only to determine whether I was

       eligible for benefits, and not to be used for any other purpose.”); ECF 22-5 (Williams), ¶ 6 (same);

       ECF 22-3 (Doe), ¶ 6 (same); ECF 22-4 (Imperiale), ¶ 5 (“As a retiree with a disability, it is very




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       important to me that my data remain private.”); ECF 22-9 (Gray), ¶¶ 6, 8 (expectation that data

       would remain “confidential”, and data is “personal and private.”).

              Moreover, the expectation of privacy as to this information is objectively reasonable. “The

       question of what kinds of conduct will be regarded as a ‘highly offensive’ intrusion is largely a

       matter of social conventions and expectations.” J. Thomas McCarthy, The Rights of Publicity and

       Privacy § 5.1(A)(2) (1993). In enacting the Privacy Act, concerning the government’s collection

       of personal information, Congress recognized that the “right to privacy is a personal and

       fundamental right . . . .” Pub. L. No. 93-579, § 2(a)(4), 88 Stat. 1896.

              The expectation of privacy shared by plaintiffs’ members is objectively reasonable. It is

       almost self-evident that, in our society, PII, such as SSNs, medical information, and certain

       financial records, are regarded as private, sensitive, and confidential information. 24 Indeed, in

       some jurisdictions the disclosure of “medical records amounts to a per se intrusion into seclusion

       if the records contain sensitive materials.” Sabrowski v. Albani-Bayeux, Inc., 124 F. App’x 159,

       161 (4th Cir. 2005) (citing Toomer v. Garrett, 574 S.E.2d 76 (N.C. Ct. App. 2002)). The enactment

       of the Health Insurance Portability and Accountability Act (“HIPPA”), 29 U.S.C. § 1181 et seq.,



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                  Just as the Court was about to submit this Memorandum Opinion for filing, the news
       reported that the SSNs of some 200 people were included in the release of files concerning the
       death of President John F. Kennedy. See William Wan, et al., Social Security Numbers and Other
       Private Information Unmasked in JFK Files, WASH. POST (Mar. 19, 2025),
       https://perma.cc/C4VG-PY9F. The reaction to the disclosure is telling, and underscores the
       expectation of privacy associated with SSNs. “It’s absolutely outrageous,” said former Trump
       campaign lawyer Joseph diGenova, whose information was disclosed. Id. Mary Ellen Callahan,
       former Chief Privacy Officer at the Department of Homeland Security, aptly stated, id.: “Social
       Security is literally the keys to the kingdom to everybody. It’s absolutely a Privacy Act violation.”

               Here, the access to private information includes SSNs, but also other personal data.
       Although the access was made to the DOGE Team, and not (yet) disseminated publicly, the
       reaction to the disclosure of SSNs in regard to the Kennedy files supports the conclusion here that
       there is an expectation of privacy with respect to SSNs.

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       is a reflection of societal views as to the sanctity of medical information. HIPPA “is the primary

       federal law which was passed to ensure an individual’s right to privacy over medical records.”

       United States v. Elliott, 676 F. Supp. 2d. 431, 436 (2009). Although HIPPA does not apply to the

       government, see 45 C.F.R. §§ 160.102, 164.104, the statute speaks to the expectation of privacy

       in medical records that is engrained in our culture.

              The evidentiary “psychotherapist-patient privilege” also illustrates the importance of

       confidentiality that our society attaches to health matters. The privilege is “‘rooted in the

       imperative need for confidence and trust’” between a physician and patient in regard to discussions

       concerning health issues. Jaffee v. Redmond, 518 U.S. 1, 10 (1996); see also id. at 12 (noting that

       “all 50 States and the District of Columbia have enacted into law some form of psychotherapist

       privilege.”). Some of those kinds of discussions are likely contained in the wide swath of

       information collected by SSA in certain circumstances. See ECF 17 (Widger Decl.), ¶ 12 (medical

       records can include “notes from psychotherapist and counseling sessions”).

              The information that SSA holds, such as birth and marriage records, SSNs, tax and earnings

       records, and health records are typically found in equivalents to “private and personal mail,” a

       “wallet,” a “safe,” or at home. Restatement § 652B cmt. b. Unauthorized or improper access is a

       “highly offensive” intrusion. See Randolph v. ING Life Ins. & Annuity Co., 973 A.2d 702, 710

       (D.C. 2009) (stating that “conduct giving rise to unauthorized viewing of personal information

       such as a plaintiff’s Social Security number and other identifying information can constitute an

       intrusion that is highly offensive to any reasonable person”); Toomer, 574 S.E.2d at 90 (“The

       unauthorized examination of the contents of one’s personnel file, especially where it includes

       sensitive information such as medical diagnoses and financial information, like the unauthorized

       opening and perusal of one’s mail, would be highly offensive to a reasonable person.”).



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               Therefore, I am satisfied that the harm alleged here is akin to the tort of intrusion upon

       seclusion. See TransUnion LLC, 594 U.S. at 424–25 (recognizing that there need not be “an exact

       duplicate in American history and tradition”). It follows that the invasion of privacy harm alleged

       by plaintiffs satisfies the injury in fact requirement of Article III.

                                 4. Other Elements of Associational Standing

               In addition to injury in fact, the remaining requirements of the first element of associational

       standing—whether the individual members would have standing to sue in their own right—are

       also met here. Defendants’ actions have caused injury to plaintiffs’ members, and the members’

       injuries would be redressable by judicial relief. See Lujan, 504 U.S. at 561; see also Food & Drug

       Admin.. 602 U.S. at 380 (“If a defendant’s action causes an injury, enjoining the action or awarding

       damages for the action will typically redress that injury.”); Massachusetts v. EPA, 549 U.S. 497,

       525 (2007) (“[A] plaintiff satisfies the redressability requirement when he shows that a favorable

       decision will relieve a discrete injury to himself. He need not show that a favorable decision will

       relieve his every injury.”) (cleaned up; emphasis in original). Defendants do not argue otherwise. 25

               As discussed, the second element of associational standing requires that the interests the

       organization “‘seeks to protect are germane to the organization’s purpose.’” Students For Fair

       Admissions, Inc., 600 U.S. at 199 (citation omitted).              Plaintiffs posit that among their

       “organizational goals is ensuring that their members have access to and are able to benefit from

       well run programs by SSA, making the privacy interests it seeks to protect via this lawsuit germane

       to its purpose.” ECF 21-1 at 21 n.32. Defendants do not dispute this element.




               25
                 Defendants dispute causation in the context of the alleged injury in fact of an increased
       risk of identity theft. ECF 36 at 14. Because I do not reach that issue, I need not address
       defendants’ argument.
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              All three plaintiff-organizations seek to ensure protection of their members to Social

       Security benefits.      ECF 22-1 (Widger Decl.), ¶¶ 7, 8; ECF 22-6 (Fiesta Decl.),

       ¶ 3; ECF 22-8 (Aguirre Decl.), ¶¶ 3, 5. Each plaintiff has members for whom SSA holds personal,

       sensitive information, such as bank account numbers, medical information, tax information, and

       home addresses. ECF 22-1 (Widger Decl.), ¶¶ 10–13; ECF 22-6 (Fiesta Decl.), ¶ 9; ECF 22-8

       (Aguirre Decl.), ¶ 8. And, in view of the access provided to the DOGE Team, plaintiffs’ members

       are now subject to an ongoing invasion of privacy, which has made at least some members anxious

       and distressed, see, e.g., ECF 22-3 (Doe Decl.),¶ 7; ECF 22-4 (Imperiale Decl.), ¶ 8; ECF 22-7

       (Somo Decl.), ¶¶ 11, 13; ECF 22-9 (Gray Decl.), ¶ 10, and concerned about pursuing benefits

       under the SSFA. See ECF 22-1 (Widger Decl.), ¶ 26; ECF 22-6 (Fiesta Decl.), ¶ 17; see also ECF

       22-5 (Williams Decl.), ¶ 7; ECF 22-7 (Somo Decl.), ¶ 12. I am satisfied that the interests plaintiffs

       seek to protect are “‘germane’” to plaintiffs’ organizational purposes.

              The third element of associational standing requires that “‘neither the claim asserted nor

       the relief requested requires the participation of individual members in the lawsuit.’” Students for

       Fair Admissions, Inc., 600 U.S. at 199 (citation omitted). “‘[I]ndividual participation’ is not

       normally necessary when an association seeks prospective or injunctive relief for its

       members . . . .” United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544,

       546 (1996) (quoting Hunt, 432 U.S. at 343).

              Defendants assert that the participation of plaintiffs’ individual members is necessary for

       Counts I and II, which implicate the Privacy Act. ECF 36 at 14. This argument is founded on two

       primary grounds, id. at 15: (1) the Privacy Act does not provide for injunctive relief for disclosure

       claims; and (2) Privacy Act claims are “specific and personal to individual persons.”




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               Plaintiffs seek declaratory and injunctive relief. In Warth, 422 U.S. at 515, the Court

       distinguished associational standing when “a declaration, injunction, or some other form of

       prospective relief” is sought, and associational standing when “an association seeks relief in

       damages for alleged injuries to its members.” As to the latter, “whatever injury may have been

       suffered is peculiar to the individual member concerned, and both the fact and extent of injury

       would require individualized proof.” Id. at 515–16. But, as to the former, individual participation

       is ordinarily not necessary because “it can reasonably be supposed that the remedy, if granted, will

       inure to the benefit of those members of the association actually injured.” Id. at 515.

               Defendants are correct that the Privacy Act does not provide for injunctive relief for

       disclosure claims. See 5 U.S.C. § 552a(g). However, in Doe v. Chao, 435 F.3d 492, 504 n.17 (4th

       Cir. 2006), the Fourth Circuit indicated in dicta that, pursuant to the APA, a plaintiff may pursue

       injunctive relief for a disclosure claim under the Privacy Act. And in dicta, the Supreme Court

       has alluded to the same conclusion. Doe v. Chao, 540 U.S. at 619 n.1 (“The Privacy Act says

       nothing about standards of proof governing equitable relief that may be open to victims of adverse

       determinations or effects, although it may be that this inattention is explained by the general

       provisions for equitable relief within the [APA] . . . .”).

               As to defendants’ second argument, this prong of the “associational standing test is best

       seen as focusing on . . . matters of administrative convenience and efficiency, not on elements of

       a case or controversy within the meaning of the Constitution.” United Food & Com. Workers

       Union Loc. 751, 517 U.S. at 557. As a matter of judicial economy, lawsuits filed by each of

       plaintiffs’ members would be more burdensome on the Court than adjudicating the one case filed

       by plaintiffs on behalf of their members.




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               Again, this case involves sweeping access to PII, and the challenged conduct pertains to

       most if not all of plaintiffs’ members, representing masses of people. If plaintiffs’ members were

       to bring suit on their own behalf, the courts would be flooded. And, the challenged conduct would

       generally implicate the same facts, the same defendants, and the same data systems that were made

       available to DOGE personnel. Because plaintiffs do not seek monetary damages with respect to

       their Privacy Act claims, the participation of individual members is not necessary to resolve this

       case.

               Notably, the government has not identified a case where a court concluded that a plaintiff-

       organization did not have associational standing to assert a Privacy Act claim on the ground that

       participation of individual members was necessary. But, plaintiffs have identified several cases in

       which judges have concluded that a plaintiff-organization had standing to bring a Privacy Act

       claim on behalf of its members. ECF 39 at 14 (citing, inter alia, Democratic Party of Virginia v.

       Brink, 599 F. Supp. 3d 346, 356 (E.D. Va. 2022); Nat’l Ass’n of Letter Carriers, AFL-CIO v. U.S.

       Postal Serv., 604 F. Supp. 2d 665, 671–72 (S.D.N.Y. 2009)).

               In sum, I conclude that plaintiffs have standing to pursue their claims. 26

                                                  VI.     APA Claims 27

               Plaintiffs primarily pursue claims under the APA. See Counts I, III, IV, V. They contend

       that SSA’s conduct is unlawful, arbitrary, and capricious because SSA is “sharing the public’s data

       without even acknowledging the seismic shift in agency policy.” ECF 21-1 at 26.




               26
                 I express no opinion as to whether plaintiffs have standing to pursue their Appointments
       Clause claim. That issue has not been raised by either side.
               27
                    I incorporate here the statutory overview set forth earlier.

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              Defendants counter that plaintiffs’ APA claims fail for three main reasons: (1) plaintiffs

       fail to identify a final agency action subject to judicial review, (2) plaintiffs have no right to

       interfere with the day-to-day operations of the Agency, and (3) plaintiffs have an adequate remedy

       at law available to them under the Privacy Act if, in fact, a violation has occurred.

                                       A. Judicial Review of APA Claims

              Section 702 of the APA provides, in part: “A person suffering legal wrong because of

       agency action, or adversely affected or aggrieved by agency action within the meaning of a relevant

       statute, is entitled to judicial review thereof.” 5 U.S.C. § 702; see also id. § 794 (permitting review

       of “Agency action made reviewable by statute and final agency action for which there is no other

       adequate remedy in a court”).

              “The APA establishes a ‘basic presumption of judicial review’ of agency action.” Lovo v.

       Miller, 107 F.4th 199, 205 (4th Cir. 2024) (quoting Lincoln v. Virgil, 508 U.S. 182, 190 (1993)

       (internal quotation marks and citation omitted)); see Weyerhaeuser Co. v. U.S. Fish & Wildlife

       Serv., 586 U.S. 9, 22 (2018) (“The Administrative Procedure Act creates a basic presumption of

       judicial review [for] one ‘suffering legal wrong because of agency action.’”) (citation and some

       internal quotations omitted; alteration in Weyerhaeuser); see also Casa de Maryland v. U.S. Dep't

       of Homeland Sec., 924 F.3d 684, 697 (4th Cir. 2019); Speed Mining, Inc. v. Fed Mine Safety &

       Health Review Comm'n, 528 F.3d 310, 316 (4th Cir. 2008). The presumption of judicial review

       “may be rebutted only if the relevant statute precludes review, 5 U.S.C. § 701(a)(1), or if the action

       is ‘committed to agency discretion by law,’ § 701(a)(2).” Weyerhaeuser Co., 586 U.S. at 23; see

       Gonzalez v. Cuccinelli, 985 F.3d 357, 366 (4th Cir. 2021). The latter exception is read “quite

       narrowly.” Weyerhaeuser Co., 586 U.S. at 23; accord Citizens to Pres. Overton Park, Inc. v.

       Volpe, 401 U.S. 402, 410 (1971), abrogated by Califano v. Sanders, 430 U.S. 99 (1977). This



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       applies “in those rare instances where ‘statutes are drawn in such broad terms that in a given case

       there is no law to apply.’” Id. (quoting Lincoln, 508 U.S. at 191); see also Heckler v. Chaney, 470

       U.S. 821, 830 (1985) (judicial review is unavailable if the statute provides “no judicially

       manageable standards . . . for judging how and when an agency should exercise its discretion”);

       see also Speed Mining, Inc., 528 F.3d at 317.

              “The APA provides that a reviewing court is bound to ‘hold unlawful and set aside agency

       action’ for certain specified reasons, including whenever the challenged act is ‘arbitrary,

       capricious, an abuse of discretion, or otherwise not in accordance with law.’” Friends of Back

       Bay, 681 F.3d at 586–87 (quoting 5 U.S.C. § 706(2)(A)); see United States v. Bean, 537 U.S. 71,

       77 (2002).    Review under the APA is highly deferential, and the agency action enjoys a

       presumption of validity. Ohio Valley Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177, 192 (4th

       Cir. 2009) (citing Natural Res. Def. Council, Inc. v. EPA, 16 F.3d 1395, 1400 (4th Cir. 1993)).

              Notably, “the power of . . . agencies is circumscribed by the authority granted,” and courts

       are “entrusted” with “protect[ing] justiciable individual rights against administrative action fairly

       beyond the granted powers.” Stark v. Wickard, 321 U.S. 288, 309–10 (1944). In other words,

       “Agencies must operate within the legal authority conferred by Congress, and when those limits

       are transgressed, an individual may seek recourse in the Article III courts.” Medical Imaging &

       Technoloy Alliance, 103 F.4th at 838.

               As the D.C. Circuit has said, “Congress’s ‘historic practice’ of providing for judicial

       review of administrative action reflects the importance of an independent check on the exercise of

       executive power.” Med. Imaging & Tech. All., 103 F.4th at 839 (quoting Bowen v. Michigan Acad.

       of Fam. Physicians, 476 U.S. 667, 670–73 (1986)). Unless Congress makes a decision to withhold




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       judicial review, “courts have the power and the duty to review agency action for conformity with

       the law.” Med. Imaging & Tech. All., 103 F.4th at 839.

              The Fourth Circuit has set forth limitations on judicial review. The Court has said:

       “Review is available only when acts are discrete in character, required by law, and bear on a party’s

       rights and obligations. The result is a scheme allowing courts to review only those acts that are

       specific enough to avoid entangling the judiciary in programmatic oversight, clear enough to avoid

       substituting judicial judgments for those of the executive branch, and substantial enough to prevent

       an incursion into internal agency management.” City of New York v. U.S. Dep’t of Defense, 913

       F.3d 423, 432 (4th Cir. 2019) (citing Norton v. Southern Wilderness Alliance (“SUWA”), 542 U.S.

       55, 64–65 (2004)). “In determining whether a ‘meaningful standard’ for reviewing agency

       discretion exists, courts consider the particular language and overall structure of the statute in

       question, as well as ‘the nature of the administrative action at issue.’” Speed Mining, Inc., 528

       F.3d at 317 (internal citations omitted) (quoting 470 U.S. at 830 and Drake v. FAA, 291 F.3d 59,

       70 (D.C. Cir. 2002)).

                                            B. Final Agency Action

              Under the APA, the federal government waives sovereign immunity for a suit brought by

       “‘a person suffering legal wrong because of agency action’” who seeks to obtain relief “‘other than

       money damages.’ 5 U.S.C. § 702.” City of New York, 913 F.3d at 430. “The term ‘action’ as used

       in the APA is a term of art that does not include all conduct” of the government. Vill. Of Bald

       Head Island v. U.S. Army Corps. Of Eng’rs, 714 F.3d 186, 193 (4th Cir. 2013). The APA defines

       “agency action” to include “the whole or a part of an agency rule, order, license, sanction, relief,

       or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(B). As Judge Bredar recently

       noted, the term “‘agency action’ is a capacious term, ‘cover[ing] comprehensively every manner



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       in which an agency may exercise its power.’” Maryland, et al. v. United States Dep’t of

       Agriculture, et al., JKB-25-0748, 2025 WL 800216, at *11 (D. Md. Mar. 13, 2025) (quoting

       Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 478 (2001)) (alteration in United States Dep’t of

       Agriculture).

              The APA limits judicial review to “final agency action for which there is no other adequate

       remedy in a court.” 5 U.S.C. § 704; see Lovo, 107 F.4th at 205; City of New York, 913 F.3d at

       430–31; NAACP v. Bureau of the Census, 945 F.3d 183, 189 (4th Cir. 2019); Clear Sky Car Wash

       LLC v. City of Chesapeake, 743 F.3d 438, 445 (4th Cir. 2014); Golden & Zimmerman LLC v.

       Domenech, 599 F.3d 426, 432–33 (4th Cir. 2010). 28           Indeed, a court lacks subject matter

       jurisdiction if the plaintiff challenges an “agency action” that is not “fit for review.” City of New

       York, 913 F.3d at 430.

              Under Bennett v. Spear, 520 U.S. 154 (1997), an agency action is final if it (1) “mark[s]

       the consummation of the agency’s decisionmaking process” and (2) is an action “by which rights

       or obligations have been determined, or from which legal consequences will flow.” Id. at 177-78;

       see Biden v. Texas, 597 U.S. 785, 808 (2022). Notably, courts take a “‘pragmatic’ approach . . .

       to finality.” U.S. Army Corps of Engineers v. Hawkes Co., 578 U.S. 590, 599 (2016) (quoting

       Abbott Labs., 387 U.S. at 149); see Her Majesty the Queen in Right of Ontario v. U.S. E.P.A., 912

       F.2d 1525, 1531 (D.C. Cir. 1990) (noting that the finality requirement is applied in a “‘flexible and

       pragmatic way’”).




              28
                  The requirement of final agency action applies to plaintiffs’ APA claims, but not to their
       ultra vires claim or Privacy Act claim in Count II. For example, Judge Bredar noted in Maryland,
       et al. v. United States Dep’t of Agriculture, et al., 2025 WL 800216, at *11 n.4, that “the right of
       action for an ultra vires claim flows from the federal courts’ equity jurisdiction, not from the
       APA.”

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              The finality requirement ensures that judicial intervention does not deny an agency the

       “opportunity to correct its own mistakes and to apply its expertise.” Federal Trade Comm’n. v.

       Standard Oil Co. of California, 449 U.S. 232, 242 (1980); see also Univ. of Medicine & Dentistry

       of New Jersey v. Corrigan, 347 F.3d 57, 69 (3d Cir. 2003). It also avoids “piecemeal review,”

       which is “inefficient” and might prove to be “unnecessary” upon the agency’s completion of its

       process. Standard Oil Co. of California, 449 U.S. at 242. Notably, the APA does not allow a

       court to review an agency’s “day-to-day operations.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871,

       899 (1990).

              The scope of judicial review is limited in “two important respects.” City of New York, 913

       F.3d at 431. First, the plaintiff must “identify specific and discrete governmental conduct, rather

       than launch a ‘broad programmatic attack’ on the government’s operations.” Id. at 431 (quoting

       SUWA, 542 U.S. at 64). The Fourth Circuit has explained, City of New York, 913 F.3d at 431:

       “This distinction between discrete acts, which are reviewable, and programmatic challenges,

       which are not, is vital to the APA’s conception of the separation of powers. Courts are well-suited

       to reviewing specific agency decisions, such as rulemakings, orders, or denials. [Courts] are

       woefully ill-suited, however, to adjudicate generalized grievances asking us to improve an

       agency’s performance or operations.”

              Second, “the definition of ‘agency action’ is limited to those governmental acts that

       determin[e] rights and obligations.’” Id. (quoting Clear Sky Car Wash LLC, 743 F.3d at 445

       (alteration in City of New York). The Fourth Circuit has explained, City of New York, 913 F.3d at

       431: “This limitation ensures that judicial review does not reach into the internal workings of the

       government, and is instead properly directed at the effect that agency conduct has on private

       parties.” In order to satisfy the requirement, “a party must demonstrate that the challenged act had



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       ‘an immediate and practical impact,’ Golden & Zimmerman LLC v. Domenech, 599 F.3d 426, 433

       (4th Cir. 2010), or ‘alter[ed] the legal regime’ in which it operates.” Id. (citing Bennett, 520 U.S.

       at 178).

              “The core question is whether the agency has completed its decisionmaking process, and

       whether the result of that process is one that will directly affect the parties.” Franklin v.

       Massachusetts, 505 U.S. 788, 797 (1992) (plurality opinion); see Flue-Cured Tobacco

       Cooperative Stabilization Corp. v. EPA, 313 F.3d 852, 858 (4th Cir. 2002) (“[T]he critical issue is

       whether the [agency’s action] gives rise to legal consequences, rights, or obligations.”).

              To satisfy the consummation element, the challenged agency action need not be reduced

       to writing. See, e.g., Her Majesty the Queen in Right of Ontario, 912 F.2d at 1531 (noting that

       “the absence of a formal statement of the agency’s position . . . is not dispositive); R.I.L-R v.

       Johnson, 80 F. Supp. 3d 164, 184 (D.D.C. 2015) (“Agency action, however, need not be in writing

       to be final and judicially reviewable.”). Indeed, a “contrary rule would allow an agency to shield

       its decisions from judicial review simply by refusing to put those decisions in writing.’” R.I.L-R,

       80 F. Supp. 3d at 184 (citation omitted). And, agency action has legal consequences if it “alters

       the legal regime[.]” Bennett, 520 U.S. at 178; see Hawkes, 578 U.S. at 598–99; Nat’l Res. Def.

       Council v. EPA, 643 F.3d 311, 320 (D.C. Cir. 2011).

                                              C. The Contentions

              Plaintiffs maintain that they “clearly challenge the decision of ‘SSA and its acting officials’

       to ‘open[] [SSA] data systems to unauthorized personnel from [DOGE] in violation of applicable

       laws and with disregard for the privacy interests’ of millions of Americans.” ECF 39 at 13 (quoting

       ECF 17, ¶¶ 2, 86, 101, 114, 122). In their view, the decision of the SSA Defendants to “approve

       DOGE’s request for access to certain agency record systems and the PII on those data systems”



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       constitutes an “agency action” because it is a “final disposition,” both “discrete” and

       “circumscribed.” ECF 39 at 14 (citing SUWA, 542 U.S. at 62). Moreover, plaintiffs insist that

       they do not challenge the day-to-day operations of the SSA, including “the fact of SSA’s

       onboarding of Mr. Bobba or other DOGE associates.” ECF 39 at 14.

              Defendants argue that no final agency action is implicated here. ECF 36 at 16. Instead,

       defendants characterize the access provided by SSA to the DOGE Team as “precisely the day-to-

       day operations the Supreme Court in Lujan advised not to sweep into the APA’s ambit.” Id. at 19.

              According to defendants, their “declarations demonstrate [that] no new finalized policy has

       been implemented—or existing policy definitively changed—as SSA continues to onboard

       employees where needed in a workaday application of previous standards.” Id. at 20.29 Further,

       defendants argue that plaintiffs have failed to “demonstrate how providing a new employee with

       system access necessary to his or her function ‘consummat[es]’ the hiring agency’s decision-

       making process in such a way that legal consequences flow to Plaintiffs.” ECF 36 at 20. 30

              The defense also asserts, id. at 17: “It is unclear, for example, whether the alleged wrongful

       action is the provision of access to Mr. Bobba, the provision of access to Mr. Bobba and to other



              29
                  Defendants are inconsistent regarding the number of employees who have signed the
       Acknowledgement of SSA Information Security and Privacy Awareness Training. Defendants’
       brief states the number is nine, see ECF 36 at 6, while the Felix-Lawson Declaration states that ten
       employees have signed it. ECF 36-2, ¶ 13. Felix-Lawson also “outlines how each individual
       associated with SSA’s DOGE team has been onboarded with SSA” and also that her office “is
       working to ensure all onboarding requirements are met.” Id. ¶¶ 3, 17; see also ECF 39 at 14 n.11.
              30
                 Defendants’ citation to Sierra Club v. E.P.A., 955 F.3d 56, 63 (D.C. Cir. 2020), is
       misplaced. See ECF 36 at 20. There, the court found that there was no final agency action where
       the agency’s action ““impose[d] no obligations, prohibitions or restrictions on regulated entities,”
       and “[did] not subject them to new penalties or enforcement risks.” Sierra Club, 955 F.3d at 63.
       But, the court was evaluating whether agency guidance statements constituted final agency
       actions. Id. (“When deciding whether guidance statements meet prong two, this Court has
       considered factors including . . .”).

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       employees, or the advent of a new—or change to an existing—formal agency policy regarding

       access to agency informational systems, or sharing of data from those systems.” And, they explain

       that without clear identification, “it is impossible to examine such alleged action under the APA’s

       standards or to craft meaningful preliminary relief.” Id.

              Defendants add, id. at 19: “Agencies make thousands of such decisions every day,

       whenever they decide to open an e-mail account for an employee, to staff an employee on a

       particular matter, or that an employee has the relevant training to access systems or participate in

       certain programs. A court could not review such decisions without bringing within the scope of

       the APA virtually every aspect of an agency’s relationship with its employees, a result the “final

       agency action” limitation of the APA is designed to prevent.”

              Moreover, defendants argue that the actions identified by plaintiffs “are both tentative and

       interlocutory in nature,” and not final, as required. ECF 36 at 19. They claim that plaintiffs “have

       not identified: (1) whether additional government employees will be involved in implementing

       the DOGE Agenda at SSA; (2) what the status of those employees will be (i.e. detailees from

       USDS, direct hires at SSA, or detailees from other agencies); and (3) what systems they will have

       access to.” Id.

                                                  D. Analysis

              In my view, the government misses the mark in claiming that no final agency action is

       implicated here and, in effect, that it is merely business as usual at SSA. Contrary to SSA’s well

       entrenched policy and practice, Dudek made the unprecedented decision to provide the DOGE

       Team with non-anonymized access to virtually all SSA records. And, when he did so, some of the

       DOGE Team members were not yet entitled to access, because they either were not properly

       detailed to SSA, or had not been vetted or adequately trained, or necessary work documents were



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        not signed. Moreover, there was no demonstrated need for access to such a massive quantity of

        PII. At best, there was only a vague and conclusory assertion that access to the entirety of SSA’s

        systems of records was needed to root out fraud.

               SSA’s decision to provide such access upended the longstanding policy and practice that

        had governed SSA with respect to access to PII. The Agency’s wholesale provision of access to

        the PII of millions of Americans, under the circumstances alleged here, is a sea change that falls

        within the ambit of a final agency action.

               Venetian Casino Resort, L.L.C. v. E.E.O.C., 530 F.3d 925 (D.C. Cir. 2008), is instructive.

        There, the employer, the operator of a casino, sought an injunction to bar the Equal Employment

        Opportunity Commission (“EEOC”) from releasing without notice confidential documents that the

        employer provided during various EEOC investigations. The EEOC claimed that the employer’s

        claims were not cognizable under the APA because the EEOC’s disclosure policy as to the

        confidential information was not a final agency action and because the matter of disclosure is

        committed to the discretion of the agency and thus not reviewable. Id. at 931.

               As the court explained, the employer was challenging the agency decision to adopt a policy

        of disclosing confidential information without notice. Id. The D.C. Circuit concluded: “Adopting

        a policy of permitting employees to disclose confidential information without notice is surely a

        ‘consummation of the agency’s decisionmaking process,’ and ‘one by which [the submitter's]

        rights [and the agency's] obligations have been determined.’” Id. at 931. 31 Nothing in Venetian

        was specific to third-party access to the information. The same logic applies here.



               31
                  The court had previously determined that the plaintiff had standing because it had
        demonstrated “a substantial probability that the alleged disclosure policy will harm its concrete
        and particularized interest in retaining the confidentiality of protected information.” Venetian
        Casino Resort, L.L.C. v. E.E.O.C., 409 F.3d 359, 367 (D.C. Cir. 2005).

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               As Russo avers: “In the case of DOGE team data access, data access to the DOGE team

        was first approved by SSA’s Acting Commissioner [Dudek].” ECF 36-1 (“Russo Decl.”), ¶ 6.

        And, he concedes that on February 12, 2025 and February 20, 2025, access to personally

        identifiable information was granted with respect to SSA’s MBR, SSR, Numident, and Treasury

        Payment Files. Id. ¶ 7. Thus, the access concerned virtually all data and records systems

        maintained by SSA, despite a longstanding policy and practice at SSA of guarding the

        confidentiality and privacy of PII, except as needed.

               Flick’s detailed Declaration, which is unrefuted, bolsters the conclusion that the access that

        SSA provided constitutes a dramatic change in policy at SSA. She attests that “[t]he importance

        of privacy is engrained in every SSA employee from day one” and, “[a]long with accurate and

        timely payment of benefits, attention to privacy is one of SSA’s most fundamental duties.” ECF

        22-10, ¶ 4. To that end, employees are required to sign documents every year acknowledging their

        duty to protect PII and are also required to attend annual information security training. Id. ¶ 6.

               Critically, the DOGE Team received far broader access than what is automatically afforded

        when SSA records are reviewed “for potential fraud, waste, and abuse by oversight agencies . . . or

        auditors. . . .” ECF 22-10, ¶ 26. Flick avers that typically, “when analysts or auditors review

        agency data for possible payment issues, including for fraud, the review process would start with

        access to high-level, anonymized data based on the least amount of data the analyst or auditor

        would need to know.” ECF 39-1, ¶ 4. Then, if a subset of the data are “flagged as suspicious, the

        analyst or auditor would access more granular, non-anonymized data to just that subset of files.”

        Id. She also insists that “the type of full, non-anonymized access of individual data on every

        person who has a social security number or receives benefit from Social Security is unnecessary

        at the outset of any anti-fraud or other auditing project.” Id.



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               Indeed, Flick avers that SSA “would not provide full access to all data systems even to our

        most skilled and highly trained experts.” ECF 22-10, ¶ 37. Rather, she asserts that the scope of

        access requires a “‘need to know.’” Id. ¶ 43. She explains that the “need to know” reason for full,

        non-anonymized access to SSA data systems articulated in this case are “far from sufficiently

        detailed to justify granting the level of access the DOGE Team now has.” ECF 39-2, ¶ 5.

               More than just the scope of the access, it is clear that the SSA has made a change to what

        requirements need to be met by employees to obtain such broad access. Flick provides several

        examples of occurrences that reflect that Dudek’s decision to authorize the DOGE Team to obtain

        access to the SSA data systems is at odds with SSA’s earlier policy and practices. According to

        Flick, the onboarding process for one of the DOGE Team employees was “contrary to standard

        practice,” ECF 22-10, ¶ 16, and the speed at which access to systems was provided was

        “unprecedented.” Id. ¶ 15.

               Flick makes clear, and the timeline included in declarations submitted by defendants,

        discussed infra, confirms, that several employees of the DOGE Team accessed SSA data systems

        prior to having signed finalized detail agreements from other agencies. ECF 39-2, ¶ 3. According

        to Flick, this “is not in keeping with agency practice because the agency does not consider a

        detailee to be an employee of SSA until a detail agreement is signed and finalized.” Id. And,

        defendants’ declarations demonstrate that, currently, some of the background investigations for

        some DOGE Team members are still pending. Yet, they were provided access to PII in the SSA

        data systems. See ECF 36-2, ¶ 15. 32


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                  The declarations of Russo and Felix-Lawson glaringly fail to specify dates when the
        DOGE Team members completed “Privacy Training” or “Ethics Training,” or when they signed
        “Acknowledgement of SSA Information Security and Privacy Awareness Training.” See ECF 36-
        1, ¶ 21; ECF 36-2, ¶ 13. This raises the specter that the requirements had not been met when
        access was provided.

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               Although not cited by the parties, SSA’s policy of respecting privacy is consistent with

        federal regulations governing the Social Security Administration, which admonish SSA employees

        to be mindful of their responsibilities under the Privacy Act. The Employee Standards of Conduct

        for SSA state, 20 C.F.R. Pt. 401, App. A(a):

               All SSA employees are required to be aware of their responsibilities under the
               Privacy Act of 1974, 5 U.S.C. 552a. . . . Instruction on the requirements of the Act
               and regulation shall be provided to all new employees of SSA. In addition,
               supervisors shall be responsible for assuring that employees who are working with
               systems of records or who undertake new duties which require the use of systems
               of records are informed of their responsibilities. Supervisors shall also be
               responsible for assuring that all employees who work with such systems of records
               are periodically reminded of the requirements of the Privacy Act and are advised
               of any new provisions or interpretations of the Act.

               SSA’s regulations also provide that “Systems Employees shall: (a) Be informed with

        respect to their responsibilities under the Privacy Act; . . . [and] (c) Disclose records within SSA

        only to an employee who has a legitimate need to know the record in the course of his or her official

        duties.” 20 C.F.R. Pt. 401, App. A(d)(1) (emphasis added).

               Dudek’s decision to provide the DOGE Team with access to all SSA record systems, and

        to do so without signed detail agreements, adequate training, completed background

        investigations, and/or executed work forms for all DOGE Team members, and without actual

        “need,” “is surely a ‘consummation of the agency’s decisionmaking process,’ and ‘one by which

        [the submitter’s] rights [and the agency’s] obligations have been determined.’” Venetian Casino

        Resort, L.L.C., 530 F.3d at 931. In granting the DOGE Team access to records in the manner

        alleged, SSA veered far from principles that have been the mainstay of the Agency. The decision

        to do so qualifies as a final agency action.




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                                        E. No Other Adequate Remedy

               Plaintiffs assert that “nothing absent an injunction will prevent Defendants’ ongoing

        disclosure of and access to the data in question.” ECF 21-1 at 23. But, both plaintiffs and

        defendants agree that the Privacy Act does not provide for injunctive relief for disclosure claims.

        See ECF 21-1 at 23 (plaintiffs); ECF 36 at 15 (defendants).

               Defendants argue that the APA provides for judicial review only in circumstances where

        there is no other adequate remedy. See ECF 36 at 22. But, defendants contend that “the Privacy

        Act provides a ‘comprehensive remedial scheme’ for injuries arising out of the inappropriate

        dissemination of private information about individuals.” Id. (quoting Wilson, 535 F.3d at 703).

        Therefore, they contend that plaintiffs “cannot use the APA to circumvent the Privacy Act’s

        carefully drawn limitations on the types of relief they can seek.” ECF 36 at 22.

               Review under the APA is limited to “final agency action for which there is no other

        adequate remedy in a court.” 5 U.S.C. § 704. And, the statute “makes it clear that Congress did

        not intend the general grant of review in the APA to duplicate existing procedures for review of

        agency action.” Bowen v. Massachusetts, 487 U.S. 879, 903 (1988). Plaintiffs “may advance an

        APA claim as well as another type of claim only if the APA claim does not duplicate ‘existing

        procedures for review of an agency action.’” Cent. Platte Nat. Res. Dist. v. U.S. Dep't of Agric.,

        643 F.3d 1142, 1148 (8th Cir. 2011) (citing Radack v. U.S. Dep’t of Justice, 402 F.Supp.2d 99,

        104 (D.D.C. 2005)).

               Courts have stated that an adequate alternative remedy “does not need to provide relief

        ‘identical’ to that available to a party under the APA—it must merely be of the ‘same genre.’”

        Westcott v. McHugh, 39 F. Supp. 3d 21, 33 (D.D.C. 2014) (quoting Garcia v. Vilsack, 563 F.3d

        519, 522 (D.C. Cir. 2009)); see also El Rio Santa Cruz Neighborhood Health Ctr., Inc. v. U.S.



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        Dep’t of Health & Hum. Servs., 396 F.3d 1265, 1272 (D.C. Cir. 2005). Where courts have held

        that a plaintiff could not also bring an APA claim to obtain relief for an agency’s alleged Privacy

        Act violation, it has been where the Privacy Act provided the kind of relief plaintiff sought. See,

        e.g., Westcott, 39 F. Supp. 3d 21 (no APA claim because Privacy Act permits removal or revision

        of memorandum of reprimand contained in official military records); Poss v. Kern, No. 23-CV-

        2199 (DLF), 2024 WL 4286088, at *6 (D.D.C. Sept. 25, 2024) (no APA claim when seeking

        “removal and deletion of the allegedly defamatory report from DOD's database”); Haleem v. U.S.

        Dep’t of Def., No. CV 23-1471 (JEB), 2024 WL 230289, at *14 (D.D.C. Jan. 22, 2024) (“The

        Privacy Act and FOIA thus provide adequate remedies to compel responses to his requests and the

        production of withheld records, meaning Plaintiff cannot premise an APA claim on Defendants’

        alleged failure to respond to such requests or produce such records.”); Harrison v. BOP, 248 F.

        Supp. 3d 172, 182 (D.D.C. 2017) (finding no APA claim because Privacy Act provided relief when

        agency failed to provide requested records); Wilson v. McHugh, 842 F. Supp. 2d 310, 320 (D.D.C.

        2012) (finding no APA claim because Privacy Act applied when agency refused to withdraw a

        press release).

               The injunctive relief sought by plaintiffs here is not available under the Privacy Act. And,

        the Supreme Court has stated: “The Privacy Act says nothing about standards of proof governing

        equitable relief that may be open to victims of adverse determinations or effects, although it may

        be that this inattention is explained by the general provisions for equitable relief within the

        Administrative Procedure Act (APA), 5 U.S.C. § 706.” Doe v. Chao, 540 U.S. at 619 n.1.

               I conclude that plaintiffs are not barred from seeking relief under the APA.




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                                          VII.    Temporary Restraining Order

                  Plaintiffs seek a TRO to enjoin DOGE’s access to SSA’s data systems. The purpose of a

        TRO is to “preserve the status quo only until a preliminary injunction hearing can be

        held.” Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 422 (4th Cir. 1999) (quotation

        omitted). A TRO is “an extraordinary remedy that may only be awarded upon a clear showing

        that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

        (2008).

                  Alternatively, plaintiffs seek a stay under 5 U.S.C. § 705. Pursuant to 5 U.S.C. § 705, a

        reviewing court may stay “agency action” pending judicial review “to prevent irreparable injury.”

        The standards for granting a TRO, a preliminary injunction, and a § 705 stay are essentially the

        same. Casa de Maryland, Inc. v. Wolf, 486 F. Supp. 3d 928, 949–50 (D. Md. 2020) (citing cases);

        Maags Auditorium v. Prince George’s Cty., Md., 4 F. Supp. 3d 752, 760 n.1 (D. Md. 2014) (“The

        standard for a temporary restraining order is the same as a preliminary injunction.”), aff’d, 681 F.

        App’x 256 (4th Cir. 2017).

                  The party seeking a TRO must demonstrate that: (1) he is likely to succeed on the merits;

        (2) he is likely to suffer irreparable harm in the absence of preliminary relief; (3) the balance of

        equities tips in his favor; and (4) an injunction is in the public interest. Winter, 555 U.S. at 20; see

        Frazier v. Prince George’s Cty., Md., 86 F. 4th 537, 543 (4th Cir. 2023) (same). The plaintiff

        must satisfy each requirement as articulated. Real Truth About Obama, Inc. v. Fed. Election

        Comm’n, 575 F.3d 342, 347 (4th Cir. 2009).

                  To meet the first requirement, the plaintiffs must “clearly demonstrate that [they] will likely

        succeed on the merits,” rather than present a mere “grave or serious question for litigation.” Real

        Truth About Obama, Inc., 575 F.3d at 346–47. But, plaintiffs “need not establish a ‘certainty of



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        success.’” Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017) (quoting Pashby v. Delia,

        709 F.3d 307, 321 (4th Cir. 2013)).

                Simply “providing sufficient factual allegations to meet the [Fed. R. Civ. P.] 12(b)(6)

        standard of Twombly and Iqbal” does not meet the rigorous standard required for a TRO. Allstate

        Ins. Co. v. Warns, CCB-11-1846, 2012 WL 681792, at *14 (D. Md. Feb. 29, 2012). However, the

        court need only find that a plaintiff is likely to succeed on one of his claims in order for this factor

        to weigh in favor of a TRO. PFLAG, Inc. v. Trump, ___ F. Supp. 3d. ___, BAH-25-337, 2025 WL

        510050, at *12 (D. Md. Feb. 14, 2025); Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, __

        F. Supp. 3d. ___, No. 25-239 (LLA), 2025 WL 368852, at *9 (D.D.C. Feb. 3, 2025); Profiles, Inc.

        v. Bank of Am. Corp., 453 F. Supp. 3d 742, 747 (D. Md. 2020).

                “To establish irreparable harm, the movant must make a ‘clear showing’ that it will suffer

        harm that is ‘neither remote nor speculative, but actual and imminent.’” Mountain Valley Pipeline,

        LLC v. 6.56 Acres of Land, Owned by Sandra Townes Powell, 915 F.3d 197, 216 (4th Cir. 2019)

        (quoting Direx Israel, Ltd. v. Breakthrough Medical Group, 952 F.2d 802, 812 (4th Cir. 1991)). In

        other words, the plaintiffs must show that harm is not just a mere possibility, but that harm is truly

        irreparable and cannot be remedied at a later time with money damages. “[T]he harm must be

        irreparable, meaning that it ‘cannot be fully rectified by the final judgment after trial.’” Mountain

        Valley Pipeline, LLC, 915 F.3d at 216 (quoting Stuller, Inc. v. Steak N Shake Enters., 695 F.3d

        676, 680 (7th Cir. 2012)).

                Irreparable harm “is suffered when monetary damages are difficult to ascertain or are

        inadequate.” Multi–Channel TV Cable Co. v. Charlottesville Quality Cable Operating Co., 22

        F.3d 546, 551 (4th Cir. 1994) (quoting Danielson v. Loc. 275, Laborers Int'l Union of N. Am.,

        AFL-CIO, 479 F.2d 1033, 1037 (2d Cir. 1973)). A plaintiff may also establish irreparable harm



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        when its costs are unrecoverable due to the government’s sovereign immunity. See Wages &

        White Lion Invs., L.L.C. v. U.S. Food & Drug Admin., 16 F.4th 1130, 1142 (5th Cir. 2021); City

        of New York, 913 F.3d at 430; see also Portée v. Morath, No. 1:23-CV-551-RP, 683 F.Supp.3d

        628, 636 (W.D. Tex. July 21, 2023) (“[C]laims for money damages against state entities and

        officials are generally barred by sovereign immunity, which makes Portée's harm irreparable for

        purposes of seeking preliminary injunctive relief.”); Texas v. U.S. Dep’t of Homeland Sec., 700 F.

        Supp. 3d 539, 546 (W.D. Tex. 2023).

                “‘There is generally no public interest in the perpetuation of unlawful agency action.’”

        Louisiana v. Biden, 55 F.4th 1017, 1035 (5th Cir. 2022) (quoting Texas v. Biden, 10 F.4th 538,

        560 (5th Cir. 2021)). To the extent an agency’s acts facilitate rather than prevent unlawful conduct,

        such acts implicate the “substantial public interest ‘in having governmental agencies abide by the

        federal laws that govern their existence and operations.’” Texas v. United States, 40 F.4th 205,

        229 (5th Cir. 2022) (quoting League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir.

        2016)). Indeed, “the ‘public undoubtedly has an interest in seeing its governmental institutions

        follow the law. . . .’” Roe v. Dep’t of Defense, 947 F.3d 207, 230–31 (4th Cir. 2020) (quoting

        district court).

                When a TRO will “adversely affect a public interest . . . the court may . . . withhold relief

        until a final determination of the rights of the parties, though the postponement may be burdensome

        to the plaintiff.” Weinberger v. Romero–Barcelo, 456 U.S. 305, 312–13 (1982). In fact,

        “courts . . . should pay particular regard for the public consequences in employing th[is]

        extraordinary remedy.” Id. at 312.

                In addition to the public interest determination, the balance of equities must tip in favor of

        the movants in order for a TRO to be granted. Winter, 555 U.S. at 20. Courts must weigh any



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        potential harm to the nonmoving party, and also any potential harm to the public if relief is

        granted. Continental Group Inc. v. Amoco Chems. Corp., 614 F.2d 351, 356–57 (3d Cir. 1980).

               These final two factors—balance of the equities and weighing the public interest—“merge

        when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). But, a

        court “may not collapse this inquiry with the first Winter factor.” Maryland, et al. v. United States

        Dep’t of Agriculture, et al., 2025 WL 800216; see USA Farm Lab, Inc. v. Micone, 2025 WL

        586339, at *4 (4th Cir. Feb. 24, 2025) (explaining that it is “circular reasoning” to argue that a

        government “program is against the public interest because it is unlawful” and that such argument

        “is nothing more than a restatement of their likelihood of success argument”).

               “Crafting a preliminary injunction [or TRO] is an exercise of discretion and judgment,

        often dependent as much on the equities of a given case as the substance of the legal issues it

        presents.” Trump v. Int’l Refugee Assistance Project, 582 U.S. 571, 579 (2017); see Roe, 947 F.3d

        at 231. But, a court should “‘mold its decree to meet the exigencies of the particular case.’” Roe,

        947 F.3d at 231 (citation omitted). Moreover, a court must ensure that the TRO is “‘no more

        burdensome to the defendant than necessary to provide complete relief to the plaintiffs.’” Madsen

        v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (discussion preliminary injunction)

        (citation omitted).

               Under Fed. R. Civ. P. 65(b)(2), a TRO expires after fourteen days. But, it may be extended

        for a “like period” for good cause. Id.




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                                      A. Likelihood of Success on the Merits

                                                    1. Privacy Act

                                                 a. Zone of Interests

                In order to bring a statutory claim, plaintiffs must satisfy the zone of interest

        test. Specifically, plaintiffs must demonstrate that the “‘interest sought to be protected by the

        complainant is arguably within the zone of interests to be protected or regulated by the statute or

        constitutional guarantee in question.’” Bennett, 520 U.S. at 163 (quoting Ass’n of Data Processing

        Serv. Organizations, Inc. v. Camp, 397 U.S. 150, 153 (1970)). In other words, the zone-of-interests

        test asks “whether the statute grants the plaintiff the cause of action that he asserts.” Bank of Am.

        Corp. v. Miami, 581 U.S. 189, 196–97 (2017); see Lexmark Int'l, Inc., 572 U.S. at 127 (“Whether

        a plaintiff comes within the zone of interests” turns on “whether a legislatively conferred cause of

        action encompasses a particular plaintiff’s claim”) (internal quotation marks omitted)). However,

        when the plaintiff asserts a cause of action under the APA, the inquiry focuses on the relevant zone

        of interest defined by the substantive statute, not the APA. See Block v. Cmty. Nutrition Inst., 467

        U.S. 340, 345–48 (1984); Am. Inst. of Certified Pub. Accountants v. IRS, 746 F. App’x. 1, 7 (D.C.

        Cir. 2018) (collecting cases); Mendoza v. Perez, 754 F.3d 1002, 1017 (D.C. Cir. 2014).

                The “zone-of-interests limitation” applies to “all statutorily created causes of action.”

        Lexmark Int’l, Inc., 572 U.S. at 129. However, unlike standing and ripeness, the test is not

        jurisdictional because “‘the absence of a valid . . . cause of action does not implicate . . . the court’s

        statutory or constitutional power to adjudicate the case.’” Id. at 128 (quoting Verizon Md. Inc. v.

        Pub. Serv. Comm'n of Md., 535 U.S. 635, 642–43 (2002)). Moreover, the zone-of-interests test

        “is not meant to be especially demanding.” Match-E-Be-Nash-She-Wish Band of Pottawatomi

        Indians v. Patchak, 567 U.S. 209, 225 (2012) (quoting Clarke v. Sec. Industry Ass'n, 479 U.S. 388,



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        399 (1987)). The Supreme Court has explained that it “always conspicuously” includes the word

        “‘arguably’ in the test to indicate that the benefit of any doubt goes to the plaintiff.” Patchak, 567

        U.S. at 225. In other words, the “test forecloses suit only when a plaintiff’s ‘interests are so

        marginally related to or inconsistent with the purposes implicit in the statute that it cannot

        reasonably be assumed that Congress intended to permit the suit.’” Id. (citation omitted).

               As discussed, the Privacy Act only protects information regarding individuals, which the

        statute defines as “a citizen of the United States or an alien lawfully admitted for permanent

        residence.” 5 U.S.C. § 552a(a)(2); see also New York et al. v. Trump, 2025 WL 573771, at *15.

        And, plaintiffs’ members “are no doubt individuals whose information is protected by the Privacy

        Act from unlawful disclosure.” Id. at *16. In my view, the claims fall within the zone of interests.

                                            b. Access to SSA Records

               The Privacy Act limits disclosure of records. See 5 U.S.C. § 552a. The defendants suggest

        that mere access does not constitute disclosure of them.

               The Privacy Act does not define the word “disclosure.” But, SSA has done so in its

        regulations. “[D]isclosure” is defined as “making a record about an individual available to or

        releasing it to another party.” 20 C.F.R. § 401.25. And, the Office of Management and Budget

        Guidelines state: “A disclosure may be either the transfer of a record or the granting of access to

        a record.” Off. of Mgmt. & Bdgt., Exec. Off. of Pres., Guidelines, 40 Fed. Reg. 28948, 28953

        (July 9, 1975). OPM defines “disclosure” to “mean[] providing personal review of a record, or a

        copy thereof, to someone other than the data subject or the data subject's authorized representative,

        parent, or legal guardian.” 5 C.F.R. § 297.102.

               Other courts have generally interpreted “disclosure” “‘liberally to include not only the

        physical disclosure of the records, but also the accessing of private records.’”           American



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        Federation of Teachers et al., 2025 WL 582063, at *9 n.8 (citing Wilkerson v. Shinseki, 606 F.3d

        1256, 1268 (10th Cir. 2010)); see Tolbert-Smith v. Chu, 714 F. Supp. 2d 37, 43 (D.D.C. 2010)

        (construing “disclosure” to include “plac[ing] records . . . on a server accessible by other federal

        employees and members of the public”); cf. Wilborn v. Dep’t of Health & Human Servs., 49 F.3d

        597, 600–01 (9th Cir. 1995) (“[T]he Privacy Act, if it is to be given any force and effect, must be

        interpreted in a way that does not ‘go[] against the spirit’ of the Act” (quoting MacPherson v. IRS,

        803 F.2d 479, 481 (9th Cir. 1986)), abrogated on other grounds by Doe v. Chao, 540 U.S. 614.

        But, even when courts that have interpreted the term to require “more than mere transmission of

        records” they “have suggested that disclosure occurs when ‘information has been exposed in a way

        that would facilitate easy, imminent access.’” American Federation of Teachers et al., 2025 WL

        582063, at *9 n.8 (citing In re Sci. Applications Int’l Corp. (SAIC) Backup Tape Data Theft Litig.,

        45 F. Supp. 3d 14, 29 (D.D.C. 2014)).

                                              c. DOGE is an Agency

                 In their Reply, plaintiffs raise the question of whether DOGE is an agency. Plaintiffs state:

        “DOGE was established (1) by an Executive Order, (2) in the Executive Office of the President

        (‘EOP’), and (3) separate from the few EOP components courts have deemed agencies.” ECF 39

        at 17.

                 During the hearing, defendants took the position that DOGE is not an agency. 33 This is

        curious. If DOGE is not an agency, then its employees cannot be detailed from DOGE to the SSA

        under the Economy Act. This is because the Economy Act only grants an agency the authority to



                 33
                  Defendants claimed that because the plaintiffs raised the matter of DOGE’s status for the
        first time in the Reply, defendants had not had the opportunity to address this question in their
        briefing. This makes no sense. If defendants wanted to assert that DOGE is not an agency, they
        could have (and should have) raised it in their Opposition.

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        detail a federal employee to another agency. ECF 39 at 17 (quoting 31 U.S.C. § 1535(a)); see also

        id. at 18. It follows that the DOGE Team would have no right of access to SSA records.

                   Other courts have recently concluded, in well reasoned opinions, that USDS (i.e., DOGE)

        is an agency. An answer to this question is not dispositive here. But, I will address the issue

        briefly.

                   In a case evaluating whether USDS is an agency subject to FOIA, the district court

        considered whether “the entity in question ‘wielded substantial authority independently of the

        President.’” CREW, 2025 WL 752367, at *10 (quoting Citizens for Resp. & Ethics in Wash. v.

        Off. of Admin., 566 F.3d 219, 222 (D.C. Cir. 2009)) (citation omitted). 34 Judge Cooper observed

        that “the relevant executive orders appear to endow USDS with substantial authority independent

        of the President,” and recent statements by President Trump and Mr. Musk, as well as news reports,

        “suggest that the President and USDS leadership view the department as wielding decision-making

        authority to make cuts across the federal government.” CREW, 2025 WL 752367 at *11. The

        court “conclude[d] that in practice, USDS is likely exercising substantial independent authority

        much greater than other EOP components held to be covered by FOIA.” Id. 35

                   In American Fed'n of Lab. & Cong. of Indus. Organizations v. Dep't of Lab., No. CV 25-

        0339 (JDB), 2025 WL 542825, at *3 (D.D.C. Feb. 14, 2025), the government took the view that

        USDS falls within the Economy Act’s definition of agency. Borrowing from FOIA’s definition

        of an agency, Judge Bates concluded that USDS “wield[s] substantial authority independently of



                   34
                  The plaintiffs rested their argument on the contention that DOGE is not agency but did
        not contest the issue of whether the employees had a “need” for these records.
                   35
                  The court recognized that “much, though by no means all, of the evidence supporting its
        preliminary conclusion that USDS is wielding substantial independent authority derives from
        media reports” but noted that USDS did not contest “any of the factual allegations suggesting its
        substantial independent authority” in briefing or at oral argument. Id. at 12.
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        the President.” Id. (quoting Elec. Priv. Info. Ctr. v. Presidential Advisory Comm'n on Election

        Integrity, 266 F. Supp. 3d 297, 315 (D.D.C. 2017)). The court noted that “it is apparent that USDS

        is coordinating teams across multiple agencies with the goal of reworking and reconfiguring

        agency data, technology, and spending.” American Fed'n of Lab. & Cong. of Indus. Organizations,

        2025 WL 542825, at *3. Curiously, defendants’ counsel took the position at the TRO hearing that

        USDS is an agency under the Economy Act but not under FOIA, the Privacy Act, or the APA.

        This, according to the court, rendered it “a Goldilocks entity: not an agency when it is burdensome

        but an agency when it is convenient.” Id.

               I agree with Judge Bates and Judge Cooper. Guided by case law, and without the benefit

        of briefing on the issue, I am satisfied, for the purposes of this opinion, that DOGE is an agency

        with the meaning of the Privacy Act. Were I to rule otherwise, I would be compelled to conclude

        that disclosure of SSA records to the DOGE Team constituted a violation of the Privacy Act,

        because members of the DOGE Team could not qualify as employees of an agency detailed to

        SSA.

                                                d. Authorization

               Relevant here, the Privacy Act prohibits agencies from disclosing any records contained in

        systems of records, unless an exception applies. 5 U.S.C. § 552a(b). Defendants assert that 5

        U.S.C. § 552a(b)(1) applies here. They claim that the members of the DOGE Team are employees

        of the SSA and that the plaintiffs’ records were not disseminated outside SSA.

               The Executive Order directs the heads of each federal agency to “establish within their

        respective agencies a DOGE Team of at least four employees” within 30 days. See Alliance for

        Retired Americans v. Bessent, 2025 WL 740401, at *4 (citing Exec. Order No. 14,158 § 3(c)).

        These employees may include “Special Government Employees.” Id. As relevant here, a Special



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        Government Employee is a temporary “officer or employee” who is “retained, designated,

        appointed, or employed to perform, with or without compensation . . . temporary duties either on

        a full-time or intermittent basis” for a limited period of time. 18 U.S.C. § 202(a). 36

               Currently, defendants claim there are ten members of the DOGE Team working at SSA.

        Defendants concede that seven of the ten employees have and have had access to personally

        identifiable information contained in SSA data systems. ECF 36 at 7.

               Specifically, Employee 1 is a software engineer, appointed as an expert, and a special

        government employee under 5 U.S.C. § 3109 and 5 C.F.R. Part 304. ECF 36-2, ¶ 5. His duties

        purportedly relate to improper payments and SSA’s Death Master File, or records maintained by

        SSA on deceased individuals. Id. Felix-Lawson states: “SSA is currently working with the Small

        Business Administration (SBA) to effectuate an interagency agreement for Employee 1 to be

        detailed temporarily to SBA.” Id. Although Employee 1’s background investigation is still

        pending, id. ¶ 15, Russo states that Employee 1 has access to PII from MBR, SSR, Numident, and

        Treasury payment files showing SSA payments. ECF 36-1, ¶ 7. In other words, Employee 1 has

        access to SSA records even though his detail agreement and background investigation are

        incomplete.

               Employee 2 is a Senior Advisor ((Program Specialist AD-0301-00) and serves as the

        DOGE Team lead. ECF 36-2, ¶ 8. His interagency detailing agreement from NASA is not yet

        finalized and his background investigation is still pending. Id.; see also id. ¶ 15. Although

        Employee 2 has had no access to “any SSA programmatic data or systems,” he has accessed SSA

        personnel data provided to him by Human Resources. ECF 36-1 (Russo Decl.), ¶ 13. He is



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                 Special Government Employees are exempt from some of the ethics rules that apply to
        most federal employees. See 18 U.S.C. §§ 203, 205, 207–209.

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        responsible for consulting on the SSA’s workforce plans, including but not limited to

        reorganization and hiring. Id. As with Employee 1, his access to PII was premature.

               Employee 3 is a Schedule C Policy Advisor, detailed from the Department of Labor to

        SSA. ECF 36-2, ¶ 6. His duties relate to improper payments and SSA’s Death Master File. Id.

        His background investigation is complete. Id. ¶ 15. Like Employee 1, he has access to PII from

        MBR, SSR, Numident, and Treasury payment files showing SSA payments. ECF 36-1, ¶ 8. He

        also has access to the National Directory of New Hire Data, maintained on SSA’s network for

        Office of Child Support Services. Id. ¶ 15.

               Employee 4 was appointed as an expert, special government employee. ECF 36-2, ¶ 11.

        His duties currently relate to improper payments and death data. Id. His background investigation

        is still pending. Id. ¶ 15. However, he has not yet been granted access to SSA data or PII or access

        to systems containing such information. ECF 36-1, ¶ 16.

               Employee 5 is an engineer detailed from the United States DOGE Service to SSA. ECF

        36-2, ¶ 7. He is subject to an Interagency Agreement with U.S. Digital Service (now U.S. DOGE

        Service), which authorizes his work to include, but does not limit work to, increasing efficiency

        and the modernization of SSA IT infrastructure and systems, detecting waste, fraud, and abuse.

        Id. His background investigation is complete. Id. ¶ 15. Like Employees 1 and 3, he has access to

        PII from MBR, SSR, Numident, and Treasury payment files showing SSA payments. ECF 36-1,

        ¶ 9. He has also apparently been granted access to “several other databases but never accessed the

        data in them.” Id.

               Employee 6 was appointed as an expert, and is a special government employee. ECF 36-

        2, ¶ 11. His duties currently relate to improper payments and death data. Id. His background




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        investigation is still pending. Id. ¶ 15. But, he has not been granted access to SSA data or PII or

        access to systems containing such information. ECF 36-1, ¶ 16.

               Employee 7 is described as a detailee from Department of Labor (“DOL”) to SSA, but the

        detailing agreement is not yet finalized. ECF 36-2, ¶ 11. His duties relate to improper payments.

        Id. And, despite the fact that his background investigation is still pending, id. ¶ 15, he was granted

        access to “SSA Systems.” ECF 36-1, ¶ 14. According to Russo, Employee 7 has so far only

        accessed Numident. He was apparently granted access because “his work involves analysis of

        improper payments relating to death records maintained in the Numident.” Id. However, “[a]ll

        other access initially granted has since been revoked pending review of further data access needs.”

        Id. 37 Like Employee 3, he also has access to the National Directory of New Hire Data, maintained

        on SSA’s network for Office of Child Support Services. Id. ¶ 15.

               Employee 8 is an engineer, detailed from OPM to SSA, whose duties relate to improper

        payments and death data. ECF 36-2, ¶ 10. His background investigation is complete. Id. ¶ 15.

        And, like Employees 1, 3, and 5, he has access to PII from MBR, SSR, Numident, and Treasury

        payment files showing SSA payments. ECF 36-1, ¶ 12.

               Employee 9 was appointed as an expert, and is a special government employee. ECF 36-

        2, ¶ 11. His duties relate to improper payments and death data. Id. Although his background

        investigation is still pending, id. ¶ 15, Employee 9 has access to PII from MBR, SSR, Numident,

        and Treasury payment files showing SSA payments. ECF 36-1, ¶ 11. In other words, access to

        the records appears premature.


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                   On March 5, 2025, the SSA “began onboarding” Employee 7, although the detail
        agreement from the DOL is pending. ECF 36-2, ¶ 12. On March 11, 2025, in the midst of the
        briefing for the Motion, Employee 7 “was granted access to SSA systems.” ECF 36-1, ¶ 14. But,
        by the time the defendants’ brief was filed on March 12, 2025 at 4:03 p.m., Employee 7’s access
        had been revoked, pending review of further data access needs. Id.

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               Employee 10 is a software engineer, detailed from the Office of the Administrator at the

        General Services Administration to SSA. ECF 36-2, ¶ 9. His duties include “supporting the

        leadership team with the assessment and enhancement of internal processes and operational

        procedures” by “focusing on identifying inefficiencies and areas for improvement and ensuring

        that the administrative and programmatic functions align with the best practices for effectiveness

        and accountability.” Id. His background investigation is complete. Id. ¶ 15. And, like Employees

        1, 3, 5, 8, and 9, he has access to PII from MBR, SSR, Numident, and Treasury payment files

        showing SSA payments. ECF 36-1, ¶ 10.

               As noted, defendants claim that the members of the DOGE Team are employees of the

        SSA and that the plaintiffs’ records were not disseminated outside SSA. But, based on the current

        record, it does not seem that this is true for all employees identified by defendants. Employees 1

        and 9, for example, do not have finalized detail agreements, nor are their respective background

        investigations complete. Yet, both were granted access to PII in the SSA data systems. And, the

        background investigation for Employee 9 has not been completed. Yet, this employee also has the

        same access.

               During the hearing, the Court asked counsel for the government if the “detail agreement[s]

        were effectuated before the access was provided.” ECF 45 at 20. Counsel sidestepped the

        question, answering: “All of the detail arrangements are complete.” Counsel did not say they were

        complete before access was provided, however. Id. The Court rephrased, asking if the agreements

        were complete when “the disclosures were first made or access provided.” Id. Counsel for the

        government responded that he “believe[d]” that was the case but would need to follow

        up. Id. Thus, it is unclear whether all members of the DOGE Team were SSA employees at the

        time access was granted.



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                                                     e. Need

               Under the Privacy Act, access to the records is permitted to Agency employees only when

        there is “a need for the record in the performance of their duties.” 5 U.S.C. § 552a(b)(1). The

        critical question here is whether the access to records that SSA provided to the DOGE Team

        violated the Privacy Act because of a lack of “need” for the data.

               The issue of need is perhaps the central issue in the case. Defendants maintain that those

        employees who have access to virtually all SSA data “need” the information to perform their work.

        As discussed, infra, the statute does not define the term “need.” And, neither side has provided

        the Court with any helpful discussion concerning this statutory requirement in the Privacy Act.

               Other than recent cases involving access by DOGE affiliates to the PII in the records of

        other government agencies, the Court can find no precedent with similar facts interpreting the

        “need” requirement. But, Judge Boardman recently concluded in a case with facts similar to those

        here that “the alleged unauthorized disclosure of millions of records . . . appear[ed] to be

        unlawful.” American Federation of Teachers et al., 2025 WL 582063, at *11.

               Cases interpreting the “need” requirement typically consider need as “need to know” and

        ask “whether the official examined the record in connection with the performance of duties

        assigned to him and whether he had to do so in order to perform those duties properly.” Doe v.

        U.S. Dep’t of Justice, 660 F. Supp. 2d 31, 44–46 (D.D.C. 2009). Interestingly, these cases typically

        involve the disclosure of records concerning a single person or a small number of people, and not

        access to a massive quantity of records for untold millions of people. See, e.g., deLeon v. Wilkie,

        No. CV 19-1250 (JEB), 2020 WL 210089, at *8 (D.D.C. Jan. 14, 2020) (finding “need to know”

        exception was met in disclosure of single plaintiff’s personnel records); Walia v. Napolitano, 986

        F. Supp. 2d 169, 186–87 (E.D.N.Y. 2013), on reconsideration in part (Feb. 4, 2014) (finding “need



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        to know” exception was not met in disclosure of single plaintiff’s personnel records);

        Middlebrooks v. Mabus, No. 1:11CV46 LMB/TCB, 2011 WL 4478686, at *5 (E.D. Va. Sept. 23,

        2011) (finding that “internal disclosures of plaintiff’s record to key senior agency personnel were

        permissible”); Viotti v. U.S. Air Force, 902 F.Supp. 1331, 1337 (D. Colo. 1995) (holding that

        disclosure of information about acting head of political science department to “political science

        department staff” not improper “as a matter of law” under need to know exception).

               As noted, the term “need” is not defined in the Privacy Act. This implicates principles of

        statutory construction, which the parties have not addressed.

               Generally, “[w]hen faced with a statutory provision, ‘the starting point for any issue

        of statutory interpretation . . . is the language of the statute itself.’” Redeemed Christian Church

        of God (Victory Temple) Bowie, Md. v. Prince George’s Cty., Md., 17 F.4th 497, 508 (4th Cir.

        2021) (quoting D.B. v. Cardall, 826 F.3d 721, 734 (4th Cir. 2016)) (alteration in

        original); see Groff v. Dejoy, 600 U.S. 447, 468 (2023) (stating that “statutory interpretation must

        ‘begi[n] with,’ and ultimately heed, what a statute actually says”) (citation omitted) (alteration

        in Groff); Murphy v. Smith, 583 U.S. 220, 223 (2018) (“As always, we start with the specific

        statutory language in dispute.”); Pharmaceutical Coalition for Patient Access v. United States, 126

        F. 4th 947, 953 (4th Cir. 2025) (“Statutory interpretation begins with the text of the

        statute.”); Williams v. Carvajal, 63 F.4th 279, 285 (4th Cir. 2023) (“As always, an issue

        of statutory interpretation begins with the text.”); Navy Fed. Credit Union v. LTD Fin. Servs., LP,

        972 F.3d 344, 356 (4th Cir. 2020) (“‘As in all statutory construction cases,’ we start with the plain

        text of the provision.”) (quoting Marx v. General Revenue Corp., 568 U.S. 371, 376 (2013)); see

        also McAdams v. Robinson, 26 F.4th 149, 156 (4th Cir. 2022); United States v. Bryant, 949 F.3d




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        168, 174–75 (4th Cir. 2020); Othi v. Holder, 734 F.3d 259, 265 (4th Cir. 2013); Ignacio v. United

        States, 674 F.3d 252, 254 (4th Cir. 2012).

                A statute “means what it says.” Simmons v. Himmelreich, 578 U.S. 621 (2016); see United

        States v. Cohen, 63 F.4th 250, 253 (4th Cir. 2023). “‘[A]bsent ambiguity or a clearly expressed

        legislative intent to the contrary,’” courts apply the “plain meaning” of the statute. United States

        v. Abdelshafi, 592 F.3d 602, 607 (4th Cir. 2010) (quoting United States v. Bell, 5 F.3d 64, 68 (4th

        Cir. 1993)); see United States v. George, 946 F.3d 643, 645 (4th Cir. 2020) (“When interpreting a

        statute, courts must ‘first and foremost strive to implement congressional intent by examining the

        plain language of the statute.’”) (quoting Abdelshafi, 592 F.3d at 607). A court determines a

        statute's plain meaning by referencing the “ordinary meaning [of the words] at the time of the

        statute's enactment.” United States v. Simmons, 247 F.3d 118, 122 (4th Cir. 2001); see

        also HollyFrontier Cheyenne Refining, LLC v. Renewable Fuels Ass’n, 594 U.S. 382, 388 (2021);

        Wisconsin Cent. Ltd v. United States, 585 U.S. 274, 277 (2018). Courts may “not resort to

        legislative history to cloud a statutory text that is clear.” Ratzlaf v. United States, 510 U.S. 135,

        147–48 (1994); see Raplee v. United States, 842 F.3d 328, 332 (4th Cir. 2016) (“If the meaning of

        the text is plain . . . that meaning controls.”).

                Moreover, “‘the words of a statute must be read in their context and with a view to their

        place in the overall statutory scheme.’” West Virginia v. EPA, 597 U.S. 697, 721 (2022); see

        Gundy v. United States, 588 U.S. 128, 141 (2019) (quoting Nat’l Ass’n of Home Builders v. Defs.

        of Wildlife, 551 U.S. 644, 666 (2007)); see also United States v. Hansen, 599 U.S. 762, 775

        (2023) (“When words have several plausible definitions, context differentiates among

        them.”); King v. Burwell, 576 U.S. 473, 486 (2015); Pharmaceutical Coalition for Patient Access,

        126 F. 4th at 953. Critically, however, “the text and structure” of the statute is not analyzed in “a



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        vacuum. . . . Rather, [a court] must interpret the statute with reference to its history and purpose as

        well.” Bryant, 949 F.3d at 174–75 (4th Cir. 2020) (citing Abramski v. United States, 573 U.S. 169,

        179 (2014) and Gundy, 588 U.S. at 141).

               Terms in a statute that are not defined are “‘interpreted” in accordance with “their ordinary,

        contemporary, common meaning.’” Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227

        (2014) (citation omitted); see Holly Frontier Cheyenne Refining, LLC, 594 U.S. at 388; George,

        946 F.3d at 645; see also Tankersley, 837 F.3d at 395 (“Where Congress has not defined a term,

        we are “bound to give the word its ordinary meaning unless the context suggests otherwise.”)

        (citation omitted). Need would seem to be a word that even a child would grasp. But, courts may

        “consult dictionaries” to decipher a term’s ordinary or plain meaning. In re Constr. Supervision

        Servs., Inc., 753 F.3d 124, 128 (4th Cir. 2014); see also Navy Fed. Credit Union, 972 F.3d at 356;

        Blakely v. Wards, 738 F.3d 607, 611 (4th Cir. 2013).

               Relying on the Privacy Act, defendants assert that the employees on the DOGE Team “have

        a need for the records to which they have access in the performance of their duties.” ECF 36 at

        24. They state: “As an overarching matter, the DOGE Team exists under Executive Order 14,158

        to modernize technology and to ‘maximize efficiency and productivity.’” Id. (quoting Exec. Order

        14,158 § 4). In addition, the DOGE Team at the SSA is “charged with ‘detect[ing] fraud, waste

        and abuse in SSA programs,’ and with ‘provid[ing] recommendations for action to the Acting

        Commissioner of SSA, the SSA Office of the Inspector General, and the Executive Office of the

        President.’” ECF 36 at 24 (quoting ECF 36-1, Russo Decl., ¶ 5).

               In considering the meaning of “need,” the parties did not reference the legislative history

        of the Act. But, it is informative. See, e.g., Bryant, 949 F.3d at 174–75. It shows that one of the

        identified purposes of the Privacy Act was “to provide certain safeguards for an individual against



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        an invasion of personal privacy by requiring federal agencies, except as otherwise provided by

        law, to— . . . (4) collect, maintain, use, or disseminate any record of identifiable personal

        information in a manner that assures that such action is for a necessary and lawful purpose, that

        the information is current and accurate for its intended use, and that adequate safeguards are

        provided to prevent misuse of such information[.]” Privacy Act of 1974, Pub. L. No. 93-579, §

        2(b)(4), 88 Stat. 1896. And, Congress found that, “[i]n order to protect the privacy of individuals

        identified in information systems maintained by federal agencies, it is necessary and proper for the

        Congress to regulate the collection, maintenance, use, and dissemination of information by such

        agencies.” Id. § 2(a)(5).

               The Senate Report is also instructive. It states that the law was “designed to prevent the

        kind of illegal, unwise, overbroad, investigation and record surveillance of law-abiding citizens

        produced in recent years from actions of some over-zealous investigators, and the curiosity of

        some government administrators, or the wrongful disclosure and use, in some cases, of personal

        files held by Federal agencies.” Senate Rep. No. 1183, 93d Cong., 2d Sess. (1974). Relevant here,

        the bill established “certain minimum standards for handling and processing personal information

        maintained in the data banks and systems of the executive branch, for preserving the security of

        the computerized or manual system, and for safeguarding the confidentiality of the

        information.” Id. To this end, it required “every department and agency to insure, by whatever

        steps they deem necessary” that, inter alia, (1) “they take certain administrative actions to keep

        account of the employees and people and organizations who have access to the system or file, and

        to keep account of the disclosures and uses made of the information”; and (2) “they establish rules

        of conduct with regard to the ethical and legal obligations in developing and operating a




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        computerized or other data system and in handling personal data, and take action to instruct all

        employees of such duties[.]” Id.

                 Because the word “need” is not defined, I may also consult the dictionary, even though the

        word “need” is part of everyday parlance. In dictionaries, “need” can be defined as “a requirement,

        necessary duty, or obligation, or a lack of something wanted or deemed necessary,” “urgent want,

        as of something requisite,” or “a condition marked by the lack of something requisite.” RANDOM

        HOUSE COLLEGE DICTIONARY at 890 (rev. ed.1980); see also Need, American Heritage Dictionary,

        https://perma.cc/M32F-ZVM2 (defining “need” as “[s]omething required or wanted; a requisite”

        and “[n]ecessity; obligation”).

                 However, it seems clear that, in context, and under Social Security Administration

        regulation 20 C.F.R. Pt. 401, App. A, discussed earlier, the term “need” actually refers to “need to

        know.” See American Federation of Teachers, et al., 2025 WL 582063, at *10. According to

        Black’s Law Dictionary, “need-to-know basis” is defined as follows:            “A justification for

        restricting access to information to only those with a clear and approved reason for requiring

        access—used as a means of protecting confidential information that affects a range of interests,

        from national security to trade secrets to the attorney-client privilege.” Need-to-know basis,

        Black’s Law Dictionary, at 1194 (12th ed. 2024).

                 At the Motion hearing, the Court repeatedly questioned government counsel to explain the

        “need” for the breadth of access to SSA records that was provided to the DOGE Team. Counsel

        offered no meaningful explanation as to why the DOGE Team was in “need” of unprecedented,

        unfettered access to virtually SSA’s entire data systems in order to accomplish the goals of

        modernizing technology, maximizing efficiency and productivity, and detecting fraud, waste, and

        abuse.



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                For example, the Court asked counsel for the government: “[W]hat was the mission and

        what was the need? What was the purpose in providing access to all of this information?” ECF

        45 at 23. The Court again pressed about why the DOGE Team would “need” the scope of

        information at issue here. Id. at 24, 38. And, toward the end of the hearing, the Court once again

        gave the government the opportunity to explain the “need for all of those records.” Id. at 84.

                Besides cursory, circular statements about members of the DOGE Team in need of all SSA

        data because of their work to identify fraudulent or improper payments, counsel provided no

        explanation as to why or how the particular records correlated to the performance of job duties.

        See, e.g., id. at 21–22 (“The goal is to review . . . the Social Security Administration’s records to

        see if there are improper or fraudulent payments. Naturally if one is looking for improper or

        fraudulent payments, one looks at the data to see if any such payments are made.”); id. at 23 (“[If]

        one is looking for fraudulent or improper payments that may or may not be going out by the Social

        Security Administration, one would need to look at the records, the beneficiary data, the payment

        data in order to do an assessment of that and to recommend potential changes.”); id. at 24 (“I can

        tell you that they are looking for instances of improper or fraudulent payments and that it is natural

        that one would look at the data in that system to see if they’ve been substantiated . . . .”); id. at 39

        (“These particular people are working at the agency in order to carry out the sort of broad policy

        prescription contained in the Executive Order. They are also looking at improper payments and

        potential waste or improper or fraudulent payments. . . .”); id. at 85 (“[I]f you wanted to decide

        whether or not [a claim for benefits] was improper or not, you would need to look at the records

        to see if the payment was properly made or if it was fraudulent.”).

                Defendants have not submitted declarations from the hired experts on the DOGE Team

        explaining why such unrestricted and unfettered access is necessary. They have not provided a



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        particularized explanation of how or why virtually the entire data base of SSA is needed to conduct

        the investigation, or why redacted or anonymized records, at least initially, would be inadequate.

        The silence on this issue is deafening.

               In my view, plaintiffs have shown a likelihood of success on the merits as to their claim

        that the access to records provided by SSA to the DOGE Team does not fall within the need-to-

        know exception to the Privacy Act. Therefore, the access violates both the Privacy Act and the

        APA.

                                                     f. Routine Use

               Defendants maintain that, to the extent employees of the DOGE Team cannot be

        considered employees of the SSA, the access they have obtained is not improper under the Privacy

        Act because it “fits within the routine use exception.” ECF 36 at 25 (citing 5 U.S.C. § 552a(b)(3)).

        The defendants’ attempt to plug the events here into the routine use exception of the Privacy Act,

        5 U.S.C. § 552a(b)(3), is unavailing. It amounts to the proverbial effort to fit a square peg into a

        round hole.

               In 5 U.S.C. § 552a(b)(3) it states:

               (b) Conditions of disclosure.—No agency shall disclose any record which is
               contained in a system of records by any means of communication to any person, or
               to another agency, except pursuant to a written request by, or with the prior written
               consent of, the individual to whom the record pertains, unless disclosure of the
               record would be—
                                                    * * *

               (3) for a routine use as defined in subsection (a)(7) of this section and described
               under subsection (e)(4)(D) of this section; . . . .

               In turn, 5 U.S.C. § 552a(a)(7) states:

                       (7) the term “routine use” means, with respect to the disclosure of a record,
               the use of such record for a purpose which is compatible with the purpose for which
               it was collected; . . . .



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               Relevant here, the statute also requires the agency to “publish in the Federal Register . . . a

        notice . . . which notice shall include . . . (D) each routine use of the records contained in the

        system, including the categories of users and the purpose of such use.” 5 U.S.C. § 552a(e)(4)(D).

        To justify the information shared with the DOGE Team, defendants point to SSA Privacy Act

        systems of records notices “(“SORN”), corresponding to each data system to which access has

        been granted. ECF 36 at 25. These SORNs contain the following “routine use,” which defendants

        argue applies to the facts here: “‘To student volunteers, individuals working under a personal

        services contract, and other workers who technically do not have the status of Federal employees,

        when they are performing work for us, as authorized by law, and they need access to personally

        identifiable information (PII) in our records in order to perform their assigned agency functions.’”

        Id. But, defendants do not explain how this routine use applies here.

               Members of the DOGE Team with access to these systems are not “student volunteers,”

        nor are they “individuals working under a personal services contract.” As employees of DOGE,

        these individuals would be considered federal employees or contractors, even if they are not

        employees of SSA. Thus, they are not “other workers who technically do not have the status of

        Federal employees.”

               Even assuming these individuals fit into one of the categories outlined in the SORN, and

        there is no evidence to demonstrate that they do, the SORN still requires that these individuals

        “need access to personally identifiable information (PII) . . . in order to perform their assigned

        agency functions” (emphasis added). As discussed earlier, no such need has been proffered to

        justify the wholesale access of a vast quantity of PII belonging to millions of people.




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                For these reasons, plaintiffs are likely to succeed on their claim that SSA’s provision to the

        DOGE Team of access to SSA systems is “not in accordance with” the Privacy Act, and therefore

        in violation of the APA. See 5 U.S.C. § 706(2).

                                             2. Arbitrary and Capricious

                The APA requires courts to “hold unlawful and set aside agency action, findings, and

        conclusions” that are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

        with law.” 5 U.S.C. § 706(2)(A). “The scope of review under the ‘arbitrary and capricious’

        standard is narrow and a court is not to substitute its judgment for that of the agency.” Motor

        Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

                But, the agency must “articulate a satisfactory explanation for its action including a

        ‘rational connection between the facts found and the choice made.’” Id. (quoting Burlington Truck

        Lines v. United States, 371 U.S. 156, 168 (1962)). Agency action is generally considered arbitrary

        or capricious if the agency “has relied on factors which Congress has not intended it to consider,

        entirely failed to consider an important aspect of the problem, offered an explanation for its

        decision that runs counter to the evidence before the agency, or is so implausible that it could not

        be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n

        of the U.S., Inc., 463 U.S. at 43.

                As discussed, defendants have not provided the Court with a reasonable explanation for

        why the DOGE Team needs access to the wide swath of data maintained in SSA systems in order

        to root out fraud and abuse. And, as detailed by Flick, SSA has practices in place for audits or

        other searches for alleged fraud or abuse. Instead, defendants disregarded protocols for proper

        hiring, onboarding, training, and access limitations, and, in a rushed fashion, provided access to a




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        massive amount of sensitive, confidential data to members of the DOGE Team, without any

        articulated explanation for the need to do so.

               Defendants clearly understand why guarding privacy, rather than waiting for harm to occur,

        is important. After all, that is precisely the reason why they have withheld even the names of the

        members of the SSA DOGE Team. But, defendants have not shown the same level of care with

        the far more sensitive, confidential data of millions of Americans who entrusted their government

        with their personal and private information. The trust appears to have been violated, without any

        articulated need. Plaintiffs are likely to succeed on a claim that the conduct at issue was

        unreasonable and capricious. Plaintiffs have therefore shown a likelihood of success on their

        arbitrary and capricious claim.

                                              B. Irreparable Harm

               Plaintiffs contend that their members “are irreparably harmed by DOGE’s ongoing, illegal

        access to their sensitive information.” ECF 21-1 at 29 (emphasis omitted). In their view, that

        “harm will continue until DOGE is blocked from SSA systems, forced to destroy any data it or its

        associates retain, and prohibited from re-entering SSA systems moving forward.” Id.

               For example, plaintiffs contend that some of their members receive disability benefits.

        ECF 21-1 at 30 (citing ECF 22-1, Widger Declaration, ¶ 10); ECF 22-4, Imperiale Declaration,

        ¶ 4); ECF 22-6, Fiesta Declaration, ¶ 18)). According to plaintiffs, to receive these benefits,

        “members must submit extensive medical information, including details about the prescription and

        non-prescription medicines the applicant takes; lists of their healthcare providers and the medical

        conditions for which they were evaluated and treated, including mental health conditions; and

        other sensitive medical information.” ECF 21-1 at 30 (citing ECF 22-1, ¶ 11). Plaintiffs argue,

        ECF 21-1 at 30 (quoting ECF 22-1, ¶ 12): “Some of this information, including concerning ‘health



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        conditions like HIV or other STDs, can result in stigma, social isolation, job loss, housing loss,

        and other harms.’”

               “The disclosure of this information to DOGE,” plaintiffs say, “is an actual, ongoing harm

        to Plaintiffs’ members, who did not consent to DOGE accessing their sensitive information and

        who face injury in the form of a privacy violation each day the department retains that access.”

        ECF 21-1 at 30. According to plaintiffs, their members “are irreparably harmed by DOGE’s

        ongoing, illegal access to their sensitive information.” Id. at 29 (emphasis omitted). In their view,

        that “harm will continue until DOGE is blocked from SSA systems, forced to destroy any data it

        or its associates retain, and prohibited from re-entering SSA systems moving forward.” Id. And,

        citing Judge Boardman’s decision in American Federation of Teachers et al., 2025 WL 582063,

        at *14, plaintiffs assert: “[T]hat harm cannot be rectified by money damages down the road.” ECF

        21-1 at 30.

               Defendants argue that plaintiffs have not established that they will suffer irreparable harm

        for the same reasons defendants argue that plaintiffs do not have standing—their claimed injury

        “is not concrete”. See ECF 36 at 31. Defendants also allege that plaintiffs’ argument fails because

        they “have an adequate alternative remedy to the emergency relief they seek: a private right of

        action under the Privacy Act.” Id. at 32 (citing 5 U.S.C. § 552a(g)(4)).

               The government cites two recent cases from the D.C. District Court denying a TRO or a

        preliminary injunction because the plaintiffs in each case did not establish irreparable harm. ECF

        36 at 31 (citing Carter, 2025 WL 542586, at *5; Alliance for Retired Americans, 2025 WL 740401,

        at *20–24). But, defendants do not explain that the D.C. Circuit appears to maintain a higher bar

        for injunctive relief in these types of cases, as explained by Judge Kollar-Kotelly in Alliance for

        Retired Americans, 2025 WL 740401. She stated that in the D.C. Circuit, plaintiffs’ asserted injury



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        “‘must be both certain and great’” to support a preliminary injunction. Id. (quoting Wis. Gas Co.

        v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)).

               And, in the context of disclosure of private information, courts in the D.C. Circuit “have

        consistently ‘declined to find irreparable injury . . . where the challenged disclosure is not public’

        but instead is to a small number of ‘individuals obligated to keep [the information] confidential.’”

        Alliance for Retired Americans, 2025 WL 740401, at *21 (quoting Carter, 2025 WL 542586, at

        *5) (alteration in Alliance) (cleaned up). This is because, she noted, the court could order adequate

        corrective relief after the fact. See Alliance for Retired Americans, 2025 WL 74040, at *21. For

        example, she explained that the court “could order the small number of individuals who received

        the information to return or destroy it,” and the possibility that adequate relief would later be

        available weighed against a finding of irreparable harm. See id.

               Defendants also cite Electronic Privacy Information Center v. U.S. Office of Personnel

        Management., No. 1:25-CV-255 (RDA/WBP), 2025 WL 580596 (E.D. Va. Feb. 21, 2025), in

        support of their argument. That case involved the accessing of data systems containing “Social

        Security numbers, dates of birth, salaries, home addresses, and job descriptions of all civil

        government workers, along with any disciplinary actions they have faced.”              However, the

        extensive data housed within the SSA’s systems is not limited to government workers. See id. at

        *2. Moreover, Judge Alston emphasized that plaintiffs’ arguments about “heightened risk of

        exposure or exfiltration by hostile actors”; future “misuse” of private data “by arbitrarily stopping

        payments through access to [the Treasury Department’s] system”; and risk of “future identity theft

        because OPM’s network is regularly subject to hacking attempts,” which plaintiffs claimed were

        “more likely to be successful as a result of Defendants’ actions,” were “unpersuasive” and “too

        speculative.” Id. at *6–7. But, what is critical here is the irreparable harm associated with



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        defendants’ ongoing, unprecedented, unfettered access to the income history, tax return data, and

        medical information of millions of Americans.

                In a case involving the disclosure of records by the Departments of Education, Treasury,

        and OPM, Judge Boardman determined that plaintiffs had “made a clear showing that they are

        likely to suffer irreparable harm without injunctive relief.” American Federation of Teachers et

        al., 2025 WL 582063, at *13. She explained, id.: “DOGE affiliates have been granted access to

        systems of record that contain some of the plaintiffs’ most sensitive data—Social Security

        numbers, dates of birth, home addresses, income and assets, citizenship status, and disability

        status—and their access to this trove of personal information is ongoing. There is no reason to

        believe their access to this information will end anytime soon because the government believes

        their access is appropriate.” Here, several individuals affiliated with DOGE have been granted

        access to additional, arguably even more sensitive data, including medical information. And,

        because defendants believe this access is necessary for these employees, there is no reason to think

        it will end anytime soon. See ECF 36 at 20.

                Plaintiffs’ members do not know if their information has been viewed or documented by

        any of these employees, nor how many times it has been viewed or will continue to be viewed in

        the coming hours, days, weeks, or months. But, plaintiffs know their sensitive, personally

        identifiable information is accessible to the DOGE Team on a daily basis, with no proper

        justification.

                Money damages cannot rectify this invasion of privacy of plaintiffs’ members. See, e.g.,

        Norman-Bloodsaw v. Lawrence Berkeley Lab'y, 135 F.3d 1260, 1275 (9th Cir. 1998) (finding “the

        retention of [the plaintiff's] undisputedly intimate medical information [without consent] . . . would

        constitute a continuing ‘irreparable injury’ for purposes of equitable relief”); In re Meta Pixel



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        Healthcare Litig., 647 F. Supp. 3d 778, 802 (N.D. Cal. 2022) (“The invasion of privacy triggered

        by the Pixel's allegedly ongoing disclosure of plaintiffs’ medical information is precisely the kind

        of intangible injury that cannot be remedied by damages.”); Hirschfeld v. Stone, 193 F.R.D. 175,

        187 (S.D.N.Y. 2000) (Disclosure of data including psychiatric and medical treatment and

        diagnoses “is the quintessential type of irreparable harm that cannot be compensated or undone by

        money damages.”); Haw. Psychiatric Soc. v. Ariyoshi, 481 F. Supp. 1028, 1038 (D. Haw. 1979)

        (finding irreparable injury because “[t]he disclosure of the highly personal information contained

        in a psychiatrist's files to government personnel is itself a harm that is both substantial and

        irreversible”).

                              C. Balance of the Equities and the Public Interest

                As noted, the third and fourth elements, which address whether the balance of the equities

        tip in the movant’s favor and whether the injunction is in the public interest, merge “when the

        Government is the opposing party.” Nken, 556 U.S. at 435.

                Plaintiffs posit, ECF 21-1 at 33: “The government cannot suffer harm from an injunction

        that merely ends an unlawful action because ‘[the government] is in no way harmed by issuance

        of a preliminary injunction which prevents the [government] from enforcing restrictions likely to

        be found unconstitutional’ or which ‘merely ends an unlawful practice.’” (Quoting Leaders of a

        Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021)). In other words,

        plaintiffs argue that “‘there is a substantial public interest in having governmental agencies abide

        by federal laws’” and, “‘[i]f anything, the system is improved by such an injunction.’” ECF 21-1

        (quoting HIAS, Inc. v. Trump, 415 F. Supp. 3d 669, 686 (D. Md. 2020) and then Centro Tepeyac

        v. Montgomery Cnty., 722 F.3d 184, 191 (4th Cir. 2013)).




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                In sum, plaintiffs contend, ECF 21-1 at 33: “Defendants’ actions violate numerous federal

        laws and will cause increasing harm to Plaintiffs’ 7.7 million members as long as they are allowed

        to continue. Those members, along with countless similarly situated Americans, would benefit

        from the Court’s grant of the relief requested herein.”

                According to defendants, ECF 36 at 32: “Plaintiffs’ argument for why the equities and the

        public interest fall in their favor largely collapse into the merits.” In defendants’ view, even if

        plaintiffs are correct that defendants’ practices are unlawful, “considering only likelihood of

        success is insufficient to justify injunctive relief.” Id. at 33 (citing Winter, 555 U.S. at 22). In any

        event, defendants argue that the proposed TRO would “harm” the public interest “by limiting the

        President’s ability to effectuate the policy choices the American people elected him to pursue by

        limiting his advisors and other employees’ ability to access information necessary to inform that

        policy.” ECF 36 at 33. Defendants add that the proposed TRO “would also frustrate the

        President’s ability to identify fraud, waste, and abuse throughout the federal government.” Id.

                Logically, “[t]here is generally no public interest in the perpetuation of unlawful agency

        action.” League of Women Voters of United States, 838 F.3d at 12. On the other hand, there is a

        substantial public interest “in having governmental agencies abide by the federal laws that govern

        their existence and operations.” Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994); see Roe,

        947 F.3d at 230–31. Nonetheless, the Fourth Circuit has recently stated that it is improper to

        collapse “the first Winter factor—likelihood of success on the merits—with the merged balance of

        equities and public interest factor.” USA Farm Lab., Inc., 2025 WL 586339, at *4. Likelihood of

        success on the merits alone does not suffice. Id.

                Nevertheless, as addressed earlier, there is a strong public interest in maintaining the

        confidentiality of PII, such as medical records and financial information. Indeed, society expects



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        as much. Defendants admit that the SSA granted DOGE personnel broad access to millions of

        Americans’ sensitive PII. This intrusion into the personal affairs of millions of Americans—absent

        an adequate explanation for the need to do so—is not in the public interest. To be sure, rooting

        out possible fraud, waste, and mismanagement in the SSA is in the public interest. But, that does

        not mean that the government can flout the law to do so. The President’s advisors and employees

        are not exempt from the statutes Congress enacted to protect American citizens from overbroad

        and unnecessary access to their PII.

                                                  VIII. Conclusion

               The American public may well applaud and support the Trump Administration’s mission

        to root out fraud, waste, and bloat from federal agencies, including SSA, to the extent it exists.

        But, by what means and methods?

               The DOGE Team is essentially engaged in a fishing expedition at SSA, in search of a fraud

        epidemic, based on little more than suspicion. It has launched a search for the proverbial needle

        in the haystack, without any concrete knowledge that the needle is actually in the haystack.

               To facilitate the expedition, SSA provided members of the SSA DOGE Team with

        unbridled access to the personal and private data of millions of Americans, including but not

        limited to Social Security numbers, medical records, mental health records, hospitalization records,

        drivers’ license numbers, bank and credit card information, tax information, income history, work

        history, birth and marriage certificates, and home and work addresses.

               Yet, defendants, with so called experts on the DOGE Team, never identified or articulated

        even a single reason for which the DOGE Team needs unlimited access to SSA’s entire record

        systems, thereby exposing personal, confidential, sensitive, and private information that millions

        of Americans entrusted to their government. Indeed, the government has not even attempted to



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        explain why a more tailored, measured, titrated approach is not suitable to the task. Instead, the

        government simply repeats its incantation of a need to modernize the system and uncover fraud.

        Its method of doing so is tantamount to hitting a fly with a sledgehammer.

               In my view, plaintiffs are likely to succeed on their claim that such action is arbitrary and

        capricious, and in violation of the Privacy Act and the APA. Plaintiffs have also demonstrated

        that their members will suffer irreparable harm in the absence of a TRO, the equities tip in their

        favor, and the TRO serves the public interest.

               For the foregoing reasons, plaintiffs’ Motion (ECF 21) is granted.            A Temporary

        Restraining Order shall issue.

                                                    IX. Bond

               Fed. R. Civ. P. 65(c) states, in relevant part: “The court may issue a . . . temporary

        restraining order only if the movant gives security in an amount that the court considers proper to

        pay the costs and damages sustained by any party found to have been wrongfully enjoined or

        restrained.” The purpose of this Rule is “to provide a mechanism for reimbursing an enjoined

        party for harm it suffers as a result of an improvidently issued injunction or restraining order.”

        Hoechst Diafoil Co., 174 F.3d at 421. A district court has discretion in setting the bond amount.

        See id. at 421 n.3; Maryland Dep’t of Hum. Res. v. U.S. Dep’t of Agric., 976 F.2d 1462, 1483 (4th

        Cir. 1992); Maryland, et al. v. United States Dep’t of Agriculture, et al., 2025 WL 800216, at *26.

        The amount “ordinarily depends on the gravity of the potential harm to the enjoined party . . . .”

        Hoechst Diafoil Co., 174 F.3d at 421 n.3.

               Plaintiffs ask the Court to “exercise its discretion to waive or set at $0 the security

        requirement . . . because Defendants will face no monetary injury from any relief ordered by the

        Court.” ECF 21-1 at 35 n.39. Defendants’ Opposition is silent on the security requirement.



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                I conclude that a nominal bond is appropriate. Accordingly, I shall require each plaintiff

        to pay a bond of $250, for a total of $750.


        Date:   March 20, 2025                                          /s/
                                                              Ellen Lipton Hollander
                                                              United States District Judge




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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         NORTHERN DIVISION

         AMERICAN FEDERATION OF STATE,
         COUNTY AND MUNICIPAL EMPLOYEES,
         AFL-CIO, et al.,

                  Plaintiffs,
                  vs.                                       Civil Action No. 1:25-cv-00596

         SOCIAL SECURITY ADMINISTRATION,
         et al.,
                 Defendants.



                                  DECLARATION OF LELAND DUDEK

        I, Leland Dudek, hereby declare upon penalty of perjury:

           1. I am the Acting Commissioner at the Social Security Administration (SSA), in Woodlawn,

               Maryland, and I have served in this role since February 16, 2025.

           2. In my role as Acting Commissioner, I am responsible for the exercise of all powers and the

               discharge of all duties of the agency and have authority and control over all personnel and

               activities thereof. This includes assigning duties and authority to act to officers and

               employees of the agency, including information and systems access by SSA’s DOGE

               Team.

           3. I provide this declaration in support of the Status Report and Certification required by the

               Court’s March 20, 2025 Temporary Restraining Order (Order). This declaration outlines

               what actions SSA has taken to comply with the Order. These statements are made with my

               personal knowledge, discussion with SSA staff, and review of documents and information

               furnished to me in the course of my official duties.




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            4. As of Monday, March 24, 2025, SSA revoked all SSA DOGE Team1 members’ access to

                SSA systems containing personally identifiable information (PII) or systems of record,

                including the Enterprise Data Warehouse, Numident, Master Beneficiary Record, and

                Supplemental Security Record. See Order ¶ 1.a. The DOGE Defendants have never had

                access to SSA systems of record.

            5. As of March 24, the SSA DOGE Team is not directing, or involved, in any SSA projects,

                including those that the SSA DOGE Teams previously led or were involved that include

                use of, access to, or otherwise involve systems containing personally identifiable

                information (PII) or systems of record. However, these agency projects may continue

                without the SSA DOGE Team members’ involvement.

            6. As of March 24, SSA employees, including myself, are not accessing SSA records at the

                direction of, or for, the SSA DOGE Team or the U.S. DOGE Service, the U.S. DOGE

                Service Temporary Organization, Elon Musk, and Amy Gleason (collectively “DOGE

                Defendants”). However, SSA employees continue to access SSA records for other official

                SSA duties.

            7. SSA has directed DOGE Team members and DOGE Affiliates to delete all non-

                anonymized PII in their possession or control, if any, to the extent obtained from prior

                access to an SSA system. See Order ¶ 1.b.

            8. The DOGE Defendants, as well as the SSA DOGE Team and DOGE Affiliates, do not

                have access to non-anonymized PII derived, contained, copied, or exposed from any SSA

                system. Order ¶ 1.a. Any non-anonymized PII previously obtained by the SSA DOGE




                1
                    Currently, SSA’s DOGE Team consists of eleven members, one of which we began onboarding on March
        17, 2025.

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              Team or DOGE Affiliates since January 20, 2025 has been permanently deleted. Order

              ¶ 1.b.

           9. As of March 24, the DOGE Defendants, SSA DOGE Team members, and DOGE Affiliates

              do not have the ability to install any software on SSA devices, information systems, or

              systems of record, or to access alter, or disclose any SSA computer or software code. Order

              ¶¶ 1.c, d. The DOGE Defendants have never had the ability to do so.

           10. Any software on SSA devices, information systems, or systems of record installed since

              January 20, 2025 by the SSA DOGE Team members, or DOGE Affiliates, or anyone acting

              on their behalf or on behalf of the DOGE Defendants, has been removed. See Order ¶ 1.c.

           11. Before seeking to provide access to systems or records containing PII any DOGE

              Defendant, SSA DOGE Team member, or DOGE Affiliate, SSA will ensure that the

              individual seeking access has been provided all training required for such access; that a

              background investigation has been completed comparable to the quality of an investigation

              for SSA employees with similar access, including execution of SSA documents

              acknowledging the duty to protect PII; and that any agreement concerning the individual’s

              employment at SSA (such as detail agreements) is complete. Order ¶¶ 4.a, b, c. Moreover,

              before seeking to provide any SSA DOGE Team member access to non-anonymized data

              from SSA systems containing PII, SSA will obtain from the SSA DOGE Team member,

              in writing, a detailed explanation as to the need for the record and why, for said particular

              and discrete record, an anonymized or redacted record is not suitable for the specified use.

              Order ¶ 3.

           12. Before seeking to provide a DOGE Defendant, DOGE Team member, or DOGE Affiliate

              access to non-anonymized PII in an SSA system, SSA will provide the Court with an



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               explanation of why the person for whom access is sought is in need of non-anonymized

               access to the PII in the relevant SSA data system. Order ¶ 4.d.



        I declare the foregoing to be true and correct, upon penalty of perjury.




        Date: ______3/24/2025________                 Signed: ___/S/ Leland Dudek_________________

                                              Leland Dudek
                                              Acting Commissioner
                                              Social Security Administration




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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
                                      NORTHERN DIVISION

         AMERICAN FEDERATION OF STATE,
         COUNTY AND MUNICIPAL EMPLOYEES,
         AFL-CIO, 1625 L Street NW,
         Washington, D.C. 20036,
         ALLIANCE FOR RETIRED AMERICANS,
         815 16th Street NW, Washington, D.C. 20006, and
         AMERICAN FEDERATION OF TEACHERS,
         555 New Jersey Avenue NW, Washington, D.C.
         20001,
                                          Plaintiffs,
                                 vs.                            Case No. 1:25-cv-00596
         SOCIAL SECURITY ADMINISTRATION,                        Jury Trial Requested
         6401 Security Blvd., Baltimore, MD 21235
         (Baltimore County),
         LELAND DUDEK, in his official capacity as
         purported Acting Commissioner, Social Security
         Administration, 6401 Security Blvd.,
         Baltimore, MD 21235 (Baltimore County),
         MIKE RUSSO, in his official capacity as Chief
         Information Officer, Social Security Administration,
         6401 Security Blvd., Baltimore, MD 21235
         (Baltimore County),
         ELON MUSK, in his official capacity as Senior
         Advisor to the President and de facto head of
         DOGE, 1600 Pennsylvania Ave. NW,
         Washington, DC 20500,
         U.S. DOGE SERVICE, 736 Jackson Pl. NW,
         Washington, DC 20503,
         U.S. DOGE SERVICE TEMPORARY
         ORGANIZATION, 736 Jackson Pl. NW,
         Washington, DC 20503, and
         AMY GLEASON, in her official capacity as
         DOGE Acting Administrator, 736 Jackson Pl. NW,
         Washington, DC 20503,
                                         Defendants.




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                              PLAINTIFFS’ FIRST AMENDED COMPLAINT
                             FOR DECLARATORY AND INJUNCTIVE RELIEF

               1.      Since its founding, the Social Security Administration (“SSA”)—charged with

        administering the nation’s retirement, disability, and survivor benefits—has committed itself to

        maintaining the privacy of the data it collects from Americans, including eligible noncitizens.

        Numerous laws and regulations require the agency to keep that data secure, with good reason. SSA

        maintains data including the Social Security numbers, employment and wage information, medical

        histories, tax return information, and personal addresses—among other things—of hundreds of

        millions of people. The data is, to put it mildly, highly sensitive, personal, and private.

               2.      But over the last six weeks, SSA has abandoned its commitment to maintaining the

        privacy of personal data. SSA and its acting officials have opened its data systems to unauthorized

        personnel from the “Department of Government Efficiency” (or “DOGE”) in violation of

        applicable laws and with disregard fo the privacy interest of the millions of Americans that SSA

        serves. DOGE’s access has already harmed Plaintiffs and their members, and every day DOGE

        retains access, the risk of additional injury increases.

               3.      SSA is not the first agency that DOGE has infiltrated. Since President Trump’s

        inauguration, DOGE and “senior advisor” Elon Musk have unilaterally and unlawfully accessed

        highly sensitive information systems across multiple federal agencies.

               4.      DOGE has attempted to seize control of carefully protected information systems at

        the Treasury Department (including the Internal Revenue Service); the Consumer Financial

        Protection Bureau; the General Services Administration; the United States Agency for

        International Development (“USAID”); Office of Personnel Management (“OPM”); the

        Department of Housing and Urban Development; the National Oceanic and Atmospheric

        Administration; and the Departments of Education, Labor, and Health and Human Services. At

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        USAID, DOGE has obtained “God mode” access—full, unrestricted admission to the agency’s

        digital infrastructure. 1

                5.       DOGE and its government-wide commandeering of sensitive information have

        wreaked havoc on the American system of government and caused incredible concern for the

        privacy of the American public. Because DOGE has unlawfully mined data from multiple

        agencies, it is able to cross-reference and potentially cross-contaminate information from different,

        previously secure and segregated sources. That only compounds the harm (and ongoing risk of

        future harm) to the American people.

                6.       It hasn’t helped that the Executive Branch has been unable or unwilling to explain

        exactly what DOGE is, what its activities are, or the authority under which it is operating.

                7.       Courts have taken notice. Two judges, including in this Circuit, have granted

        emergency relief to safeguard information systems at the Department of Education 2 and the

        Department of Treasury. 3 Another acknowledged that “DOGE’s unpredictable actions have

        resulted in considerable uncertainty and confusion,” highlighting the concerning nature of “the

        unchecked authority” being wielded by “an unelected individual and an entity that was not created

        by Congress.” 4 And another expressed “serious concerns” about the privacy of the data of millions

        and rejected the government’s argument that DOGE is a “goldilocks” entity that can wield massive

        authority with minimal oversight.” 5



        1
          Charlie Warzel et al., DOGE has ‘God Mode’ Access to Government Data, The Atlantic (Feb.
        19, 2025), https://perma.cc/9QXM-NKK5.
        2
          See Am. Fed’n of Teachers v. Bessent, No. 8:25-cv-00430, 2025 WL 582063 (D. Md. Feb. 24,
        2025).
        3
          See New York v. Trump, No. 25 CIV. 1144, 2025 WL 435411 (S.D.N.Y. Feb. 8, 2025),
        modified on clarification, No. 25-CV-01144 (JAV), 2025 WL 455406 (S.D.N.Y. Feb. 11, 2025).
        4
          New Mexico v. Musk, No. 25-cv-429, 2025 WL 520583, at *4 (D.D.C. Feb. 18, 2025).
        5
          Am. Fed’n of Lab. & Cong. of Indus. Orgs. et al. v. Dep’t of Lab. et al., No. CV 25-0339, 2025
        WL 542825, at *3 (D.D.C. Feb. 14, 2025).
                                                         2

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               8.      Only once before has a presidential administration sought access to such sensitive,

        personally identifiable information. Congress met those notorious attempts by President Nixon

        with the Privacy Act of 1974 and the Tax Reform Act of 1976, which implemented broad and

        decisive protections meant to prevent presidential misuse of sensitive, personal information

        maintained in government systems.

               9.      Today, the American public again faces Executive Branch overreach threatening

        the privacy of hundreds of millions of people’s personal data. In attempting to seize and maintain

        access to agency systems, including SSA’s, the Trump administration is violating the many

        protections that Congress and the Executive Branch have erected against exactly this type of data

        mining and misuse.

               10.     Even against the backdrop of the Nixon administration, these unlawful attempts are

        without equal. Never before has a group of unelected, unappointed, and unvetted individuals—

        contradictorily described as White House employees, employees of either existing or putative

        agencies (multiple and many), and undefined “advisors”—sought or gained access to such

        sensitive information from across the federal government.

               11.     Never before has an industry mogul with countless conflicts of interest—not to

        mention an undefined role in the administration—sought and gained access to protected, private

        data on nearly every person in the country.

               12.     And never before has a White House demonstrated such a breathtaking disregard

        for the legal protections Congress and the Executive Branch implemented to protect data belonging

        or pertaining to individual Americans.

               13.     This lawsuit seeks to protect Plaintiffs and their members against the ongoing (and

        ever increasing) harm caused by DOGE and certain SSA executives’ unlawful seizure of personal,


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        private, and sensitive data from SSA systems. The seizure and unauthorized use of that data is

        prohibited by the Privacy Act, the Social Security Act, the Internal Revenue Code, the Federal

        Information Systems Modernization Act, and the Administrative Procedure Act.

                                         JURISDICTION AND VENUE

               14.     This Court has subject matter jurisdiction over this action pursuant to 28

        U.S.C. § 1331 because this action arises under federal law, specifically the Privacy Act, 5 U.S.C.

        § 552a; the Social Security Act, 42 U.S.C. § 1306; the Tax Reform Act, 26 U.S.C. §§ 6103, 7213A;

        the Federal Information Security Modernization Act of 2014 (“FISMA”), 44 U.S.C. §§ 3551-58,

        and the Administrative Procedure Act, 5 U.S.C. § 701.

               15.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because Defendant

        SSA is an agency of the United States headquartered in Baltimore, Maryland, where a substantial

        part of the events or omissions giving rise to Plaintiffs’ claims.

                                                     PARTIES

               16.     Plaintiff the American Federation of State, County and Municipal Employees,

        AFL-CIO (“AFSCME”) is a national labor organization and membership association

        headquartered in Washington, D.C. AFSCME is the largest trade union of public employees in the

        United States, with around 1.4 million members organized into approximately 3,400 local unions,

        58 councils, and affiliates located throughout 46 states, the District of Columbia, and Puerto Rico.

        Of AFSCME’s members, approximately 200,000 are retired public service workers who continue

        to remain members of AFSCME, participate in its governance, and advocate for fairness, equality,

        and income security for retired Americans. AFSCME’s retiree membership is organized into local

        and state chapters that are chartered by AFSCME. They elect local and state leadership and,

        together, organize under a national Retiree Council. AFSCME’s Retiree Council elects


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        chairpersons who, by virtue of their position, are representatives to and attend meetings of

        AFSCME’s International Executive Board. Retiree Chapters also elect delegates who participate

        in AFSCME’s biennial constitutional convention, at which the union’s policy, agenda, and goals

        are established by the Convention Delegates through the adoption of resolutions.

               17.      Plaintiff Alliance for Retired Americans (“ARA” or the “Alliance”) is a grassroots

        advocacy organization with 4.4 million members headquartered in Washington, D.C. Founded by

        the AFL-CIO Executive Council in 2001, the Alliance has 40 state alliances and members in every

        state. The Alliance’s retiree members are from all walks of life. They are former teachers, industrial

        workers, state and federal government workers, construction workers, and community leaders, all

        united in the belief that every American deserves a secure and dignified retirement after a lifetime

        of hard work.

               18.      Plaintiff American Federation of Teachers (“AFT”) is a national labor organization

        headquartered in Washington, D.C., representing over 1.8 million members who are employed as

        pre-K through 12th-grade teachers, early childhood educators, paraprofessionals, and other school-

        related personnel; higher education faculty and professional staff; federal, state, and local

        government employees; and nurses and other healthcare professionals. Approximately 490,000 of

        AFT’s members are retired, and most benefit from programs administered by SSA. AFT’s purpose

        is to promote fairness, democracy, economic opportunity, and high-quality public education,

        healthcare, and public services for students, their families, and the communities AFT’s members

        serve. AFT does so by ensuring its members receive fair pay and benefits for their critical work

        and by fighting for safe working conditions that also benefit students, patients. and all those who

        use public services. Economic and retirement security is at the core of AFT’s mission.




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                19.     Defendant Social Security Administration (“SSA”) is an independent federal

        agency established to administer the Old-Age, Survivors, and Disability Insurance programs and

        the Supplemental Security Income program.

                20.     Defendant Leland Dudek is the purported Acting Commissioner of SSA. He is sued

        in his official capacity.

                21.     Defendant Mike Russo is the Chief Information Officer of SSA. He is sued in his

        official capacity.

                22.     Collectively, Defendants SSA, Dudek, and Russo are referred to herein as “SSA

        Defendants.”

                23.     Defendant Elon Musk is a Senior Advisor to the President and the de facto Head of

        DOGE. He is sued in his official capacity.

                24.     Defendant U.S. DOGE Service (previously the U.S. Digital Service) was

        established by Executive Order 14158, which reorganized and renamed the United States Digital

        Service as the United States DOGE Service, established in the Executive Office of the President.

        Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 20, 2025).

                25.     Defendant U.S. DOGE Service Temporary Organization is a temporary

        organization also created by Executive Order 14158 and headed by the U.S. DOGE Service

        Administrator. Id.

                26.     Defendant Amy Gleason is the Acting Administrator of the U.S. DOGE Service

        and the U.S. DOGE Service Temporary Organization. She is sued in her official capacity.

                27.     Collectively, Defendants U.S. DOGE Service, U.S. DOGE Service Temporary

        Organization, Musk, and Gleason are referred to herein as “DOGE Defendants.”




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                                                       FACTS

            I.         The Social Security Administration

                 28.      The Social Security Administration is the nation’s principal benefit-paying agency.

        Founded in 1935 in the depths of the Great Depression, the agency was intended to “give some

        measure of protection to the average citizen,” particularly those facing “poverty-ridden old age.” 6

                 29.      SSA issues Social Security numbers (“SSN”) to U.S. citizens, permanent residents,

        and other eligible noncitizens. Over 450 million SSNs have been issued thus far.

                 30.      SSA also manages and administers some of the largest federal benefit programs,

        including Old-Age, Survivors, and Disability Insurance (“OASDI”) and Supplemental Security

        Income (“SSI”).

                 31.      Although most Social Security beneficiaries are retired, others receive benefits

        because they have a qualifying disability; are the spouse (or former spouse) or child of someone

        who receives or is eligible for Social Security; or are the spouse (or former spouse), child, or

        dependent parent of a deceased worker. 7 In fact, SSA pays more benefits to children than any other

        federal program. 8

                 32.      Collectively, SSA pays over $1.5 trillion to seventy million people—more than one

        in five Americans—each year. 9 Those benefits lift 22 million people, including over 16 million

        adults aged sixty-five and over, out of poverty. 10 They reduce the depth of poverty for millions




        6
          Soc. Sec. Admin., Presidential Statement on Signing the Social Security Act (August 14, 1935),
        https://perma.cc/7RDU-EDWD.
        7
          Soc. Sec. Admin., Understanding the Benefits (2025) 2, https://perma.cc/V2MH-VANX.
        8
          Id.
        9
          Soc. Sec. Admin., Fact Sheet, https://perma.cc/595S-B36F.
        10
           Kathleen Romig, Social Security Lifts More People Above the Poverty Line Than Any Other
        Program, Ctr. on Budget & Pol’y Priorities (Jan. 21, 2025), https://perma.cc/6U8X-7U9A.
                                                           7

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        more. 11 These benefits are funded primarily through payroll taxes that employees and employers

        pay over the course of their working lives. 12

               33.     SSA also helps administer other federal programs and laws, including Medicare,

        Medicaid, SNAP, eVerify, and the Help America Vote Act.

               34.     To facilitate its work on behalf of the American public, SSA collects and houses

        some of the most sensitive, personally identifiable information (including personal health

        information) of millions of seniors, working-age adults, and children. Form SS-5, which applicants

        must submit to SSA to receive a Social Security number, provides a small sample of the type of

        data SSA collects. It requires applicants to provide their name (including prior names or other

        names used), place and date of birth, citizenship, ethnicity, race, sex, phone number, and mailing

        address, as well as their parents’ names and Social Security numbers.

               35.     SSA also collects driver’s license and identification card information, bank and

        credit card information, birth and marriage certificates, pension information, home and work

        addresses, school records, immigration and/or naturalization records, health care providers’

        contact information, family court records, employment and employer records, psychological or

        psychiatric health records, hospitalization records, addiction treatment records, and tests for, or

        records about, HIV and AIDS.

               36.     And it collects tax information. Each year, employers send SSA a W-3 form

        showing the total earnings, Social Security wages, Medicare wages, and withholdings for all

        employees for the previous year.




        11
         Id.
        12
         Soc. Sec. Admin., Press Office, How Is Social Security Financed?, https://perma.cc/6AKF-
        DC7Z.
                                                         8

                                                    ADD156
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              II.         Laws and Regulations Governing Privacy and Security of SSA Data

                    37.      Since its founding, SSA (originally called the Social Security Board) has been

        legally obligated to protect the sensitive data it obtains and has made public commitments to

        protect the data with which it is entrusted. For example, the agency’s first regulation, adopted in

        1937, prohibited SSA and its employees from producing or disclosing the agency’s records and

        files. 13

                    38.      Because of the breadth and sensitivity of the confidential information SSA

        maintains, the agency’s information systems are subject to even more stringent privacy protection

        than those of other agencies.

                    39.      Among the panoply of laws governing SSA’s information systems are the Privacy

        Act, Social Security Act, Tax Reform Act, Taxpayer Browsing Protection Act, and the Federal

        Information Systems Modernization Act. SSA’s data systems and the security thereof are also

        governed by standards developed by the National Institute of Standards and Technology.

                    40.      Compliance with those laws and regulations requires both stringent protection of

        the sensitive personal data SSA maintains and public disclosures about the agency’s management

        of that data.

                    41.      As but one example, the Privacy Act requires that when an agency establishes or

        revises a system of records, it must issue a System of Records Notice (“SORN”) disclosing

        information about the records contained in the system, the manner(s) in which those records may

        be used, and related storage and access policies. 5 U.S.C. § 552a(e)(4).

                    42.      SORNs must be made publicly available on the issuing agency’s website and

        published as notices in the Federal Register. The agency must solicit comments from the public



        13
             Soc. Sec. Admin., Regulation No. 1, https://perma.cc/JNV8-QG9G.
                                                             9

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        and must update the Federal Register any time an agency changes its system of record policies

        change. No SORN, for any SSA records system, authorizes the disclosure of information to DOGE

        or its personnel.

                 43.   For example, the Master Beneficiary Record contains information about every

        person who has applied for OASDI benefits. The Master Beneficiary Record SORN permits the

        disclosure of certain of that data for “routine uses,” such as disclosures made to the Department of

        Treasury for use when collecting Social Security taxes, 71 Fed. Reg. 1826 (Jan. 11, 2006), or

        disclosures to federal, state, and local agencies after a data breach, 72 Fed. Reg. 69723 (Dec. 10,

        2007).

                 44.   It permits disclosure to the Office of the President in only one circumstance: “for

        the purpose of responding” to an inquiry made by “an individual or from a third party on [the

        individual’s] behalf.” 71 Fed. Reg. at 1827. The same is true of the SORN for the Supplemental

        Security Income database, 71 Fed. Reg. at 1831, which contains sensitive personal information

        about SSI eligibility, citizenship, residency, Medicaid eligibility, addiction history, income, SSN,

        and date of birth, among other things.

                 45.   SSA regulations regarding data maintenance and disclosure also require that the

        agency weigh, among other things, whether disclosure would “result in a clearly unwarranted

        invasion of personal privacy,” the “sensitivity of the information (e.g., whether individuals would

        suffer harm or embarrassment as a result of the disclosure),” “[t]he rights and expectations of

        individuals to have their personal information kept confidential,” and “[t]he public’s interest in

        maintaining general standards of confidentiality of personal information.” 20 C.F.R. § 401.140.

        This regulation reflects the sensitivity of this information and the inherent risks of it being made

        public, as recognized by other laws such as the Freedom of Information Act. See id. (“When no


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        law specifically requiring or prohibiting disclosure applies to a question of whether to disclose

        information, we follow FOIA principles.”); see also 5 U.S.C. § 552(b)(6) (exempting from

        disclosure “personnel and medical files and similar files the disclosure of which would constitute

        a clearly unwarranted invasion of personal privacy”).

                    46.      This web of privacy protections reflects the sensitivity of the personal data SSA

        maintains and, among other things, is responsive to the widespread attempts to scam everyday

        Americans into disclosing their Social Security information to unauthorized sources. 14 Those risks

        are particularly acute for senior citizens, who are among the most vulnerable targets of fraud,

        particularly fraud aimed at seeking access to Social Security and financial information. 15

             III.         Creation of the Department of Government Efficiency

                    47.      On November 12, 2024, President-Elect Trump announced his intent to create a

        “Department of Government Efficiency” to “provide advice and guidance from outside of

        Government” to “the White House and Office of Management & Budget” and to help “pave the

        way” for the Trump-Vance Administration to “dismantle,” “slash,” and “restructure” federal

        programs and services. 16

                    48.      Upon taking the oath of office, he did just that via Executive Order 14158, titled

        “Establishing and Implementing the President's ‘Department of Government Efficiency’” (the




        14
           Soc. Sec. Admin., Social Security and Scam Awareness (Nov. 16, 2023),
        https://perma.cc/EFL8-V2TL.
        15
           See Dep’t of Just., Elder Just. Initiative Home, Senior Scam Alert, https://perma.cc/TH4Q-
        8CAR.
        16
           See Donald J. Trump (@realDonaldTrump), Truth Social (Nov. 12, 2024, 7:46 PM ET),
        https://perma.cc/K75N-RTC7.
                                                             11

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        “E.O.”). The E.O. reorganized and renamed the United States Digital Service as the United States

        DOGE Service and established the department in the Executive Office of the President. 17

               49.     The E.O. created a new role, U.S. DOGE Service Administrator, housed within the

        Executive Office of the President and reporting to the White House Chief of Staff. 18

               50.     The E.O. further established within U.S. DOGE Service a temporary organization

        known as “the U.S. DOGE Service Temporary Organization,” headed by the U.S. DOGE Service

        Administrator and tasked with advancing “the President’s 18-month DOGE agenda.” 19

               51.     The E.O. required each agency head to establish a “DOGE Team” to “coordinate

        their work with [U.S. DOGE Service]” and advise each team’s head-of-agency on “implementing

        the President’s DOGE Agenda.” 20

               52.     The E.O. also directed agency heads across the government to take “all necessary

        steps” to “ensure USDS has full and prompt access to all unclassified agency records, software

        systems, and IT systems.” 21 It did so without any reference to applicable legal restraints on such

        activity, directing only that DOGE adhere to undefined “rigorous data protection standards.” 22

               53.     DOGE officials have made clear their view that DOGE is “subject to [the]

        Presidential Records [Act].” 23 That Act applies, in relevant part, to EOP individuals and units

                       whose function is to advise or assist the President, in the course of
                       conducting activities which relate to or have an effect upon the carrying out
                       of the constitutional, statutory, or other official or ceremonial duties of the
                       President.
        17
           Exec. Order No. 14158, 90 Fed. Reg. 8441 (Jan. 29, 2025).
        18
           Id. § 3(b).
        19
           Id.
        20
           Id. § 3(c).
        21
           Id. § 4(b).
        22
           Id.
        23
           Minho Kim, Trump’s Declaration Allows Musk’s Efficiency Team to Skirt Open Records
        Laws, N.Y. Times (Feb. 10, 2025), https://perma.cc/3KCP-GFVV; see also Katie Miller
        (@katierosemiller), X (Feb. 5, 2025, 8:26 PM), https://perma.cc/VQB6-447P (contending that
        the E.O. made DOGE “subject to Presidential Records [Act]”).
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        44 U.S.C. § 2201.

               54.    DOGE is being “headed by Elon Musk.” 24

               55.    DOGE reportedly has more than fifty employees. 25

               56.    DOGE has been executing a cross-agency infiltration campaign: personnel swoop

        in to agencies, demand access to sensitive data systems, and take adverse employment action

        against employees who resist. The ultimate goal is to re-work entire agencies to DOGE’s will.

               57.    Since Inauguration Day, DOGE personnel have sought and in most instances

        obtained unprecedented access to information systems across numerous federal agencies,

        including the Department of Treasury 26 (including the Internal Revenue Service 27), the Consumer




        24
           Full Transcript of President Trump’s Speech to Congress, N.Y. Times (March 4, 2025),
        https://perma.cc/AT4N-WRDY (“I have created the brand new Department of Government
        Efficiency. DOGE . . . . [w]hich is headed by Elon Musk.”); Joe Hernandez, Trump hired Musk
        as a ‘special government employee.’ Here’s what that means, NPR (Feb. 13, 2025),
        https://perma.cc/6XTG-UHEC. Josh Marshall (@joshtpm.bsky.social), X (Mar. 6, 2025, 1:01
        AM), https://perma.cc/7Y5N-95BE.
        25
           See Avi Asher-Shapiro et al., Elon Musk’s Demolition Crew, ProPublica (updated Feb. 20,
        2025), https://perma.cc/5Z9Z-F2EP. The People Carrying Out Musk’s Plans at DOGE, N.Y.
        Times (updated March 4, 2025), https://perma.cc/DD2M-C8FR.
        26
           Katelyn Polantz et al., How an arcane Treasury Department office became ground zero in the
        war over federal spending, CNN (Feb. 1, 2025), https://perma.cc/U5VF-RWE7; Andrew
        Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payment System, N.Y. Times
        (Feb. 1, 2025), https://perma.cc/YGR9-2J65; Vittoria Elliott et al., A 25-Year-Old With Elon
        Musk Ties Has Direct Access to the Federal Payment System, Wired (Feb. 4, 2025),
        https://perma.cc/6U6Z-3CK4.
        27
           Jeff Stein et al., Musk’s DOGE seeks access to personal taxpayer data, raising alarm at IRS,
        Wash. Post (Feb. 9, 2025), https://perma.cc/GJ38-S2M2.
                                                       13

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        Financial Protection Bureau, 28 the General Services Administration, 29 USAID, 30 OPM,31 the

        Department of Housing and Urban Development, 32 the National Oceanic and Atmospheric

        Administration, 33 and the Departments of       Education, 34 Labor, 35 and Health and Human

        Services. 36

                58.    Some DOGE staffers are mining data from and working within multiple agencies

        at the same time. 37 That unauthorized cross-agency access allows DOGE to collect sensitive


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           Makena Kelly, DOGE Is Now Inside the Consumer Financial Protection Bureau, Wired (Feb.
        7, 2025), https://perma.cc/9YP7-EA57; Jason Leopold, DOGE-Backed Halt at CFPB Comes
        Amid Musk’s Plans for ‘X’ Digital Wallet, Bloomberg Law (Feb. 10, 2025),
        https://perma.cc/9356-2UFN.
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           Emily Davies & Faiz Siddiqui, GSA engineering lead resigns over DOGE ally’s request for
        access, Wash. Post (Feb. 18, 2025), https://perma.cc/E2X9-3VST.
        30
           Charlie Warzel et al., DOGE has ‘God Mode’ Access to Government Data, supra (“DOGE has
        acquired God-mode access across the entire digital system [at USAID].”).
        31
           Davies, supra note 29.
        32
           Jesse Coburn, DOGE Gains Access to Confidential Records on Housing Discrimination,
        Medical Details — Even Domestic Violence, ProPublica (Feb 26, 2025), https://perma.cc/E33L-
        2ACL.
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           Michael Sainato, Doge staffers enter NOAA headquarters and incite reports of cuts and
        threats, The Guardian (Feb. 4, 2025), https://perma.cc/W4WP-MHRV; Eric Katz, DOGE enters
        NOAA, accesses IT systems and removes the top HR official, Gov’t Exec. (Feb. 5, 2025),
        https://perma.cc/5DFK-NUTU.
        34
           See Laura Meckler et al., Trump Preps Order to Dismantle Education Dept. as DOGE Probes
        Data, Wash. Post (Feb. 3, 2025), https://perma.cc/PP8N-NCD7 (“At least some DOGE staffers
        have gained access to multiple sensitive internal systems, the people said, including a financial
        aid dataset that contains the personal information for millions of students enrolled in the federal
        student aid program.”).
        35
           Ex. F, Decl. of Rushab Sanghvi ¶ 9, Am. Fed’n of Lab. & Cong. of Indus. Orgs. et al. v. Dep’t
        of Lab. et al., No. CV 25-0339 (JDB) (D.D.C. Feb. 12, 2025), ECF No. 29-8.
        36
           Chelsea Cirruzzo and Kelly Hooper, How HHS gets DOGE’d, Politico (Feb. 10, 2025),
        https://perma.cc/N772-EKFF; Dan Diamond et al., DOGE broadens sweep of federal agencies,
        gains access to health payment systems, Wash. Post (Feb. 5, 2025), https://perma.cc/398V-
        QY7Y.
        37
           See, e.g., Tim Marchman & Matt Giles, This DOGE Engineer Has Access to the National
        Oceanic and Atmospheric Administration, Wired (Feb. 5, 2025), https://perma.cc/4PNG-XF55;
        Vittoria Elliott et al., The US Treasury Claimed DOGE Technologist Didn’t Have ‘Write Access’
        When He Actually Did, Wired (Feb. 6, 2025), https://perma.cc/U9V8-GBB8; Asher-Schapiro,
        supra note 25; Ella Nilsen & Sean Lyngaas, Trump Energy Secretary Allowed 23-Year-Old Doge
        Rep To Access It Systems Over Objections From General Counsel, CNN (Feb. 7, 2025),

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        information from multiple agency systems. DOGE personnel are then able to combine and cross-

        reference data in ways never contemplated by each agency’s security policies and/or safeguards.

                 59.      DOGE has not merely accessed sensitive and protected information. On the

        contrary: it is publicly disclosing it. For example, DOGE has posted classified information,

        including classified personnel information, from the National Reconnaissance Office on its

        website, 38 and has posted sensitive SSA system code GitHub, an open platform that allows

        developers to create, store, manage and share code through which sensitive information about the

        structure of government information systems could be revealed. At some agencies, DOGE staffers

        have even been accidentally granted edit access to sensitive data systems. 39

           IV.         President Trump, Elon Musk, and DOGE Take Aim at Social Security and
                       Medicare

                 60.      President Trump, Elon Musk, and other administration officials have had their

        sights set on Social Security for the past year, even as President Trump has claimed that “Social

        Security will not be touched.” 40

                 61.      On March 11, 2024, then-candidate Trump implied that he would be amenable to

        cutting Social Security and Medicare if he won the presidency, stating during an interview on


        https://perma.cc/Y7XW-HL6M (DOGE staffer Luke Farritor working at HHS and Department of
        Energy); Evan Weinberger, Musk’s DOGE Descends on CFPB With Eyes on Shutting It Down,
        Bloomberg Law (Feb. 7, 2025), https://perma.cc/GKQ4-NAZB; Makena Kelly & Zoe Schiffer,
        Elon Musk’s Friends Have Infiltrated Another Government Agency, Wired (Jan. 31, 2025),
        https://perma.cc/RZG8-XDP2; Laura Barrón-López (@lbarronlopez), X (Feb. 3, 2025, 2:05 PM),
        https://perma.cc/GNM2-DXM2.
        38
           Jennifer Bendery, Elon Musk’s DOGE Posts Classified Data On Its New Website, HuffPost
        (Feb 14, 2025), https://perma.cc/9KSL-KLUT; Will Steakin et al., DOGE Data Release
        Criticized By Intel Community; Trump Admin Says It’s Public Data, ABC News (Feb. 16, 2025),
        https://perma.cc/HZ72-W9M8.
        39
           Beatrice Nolan, A 25-year-old staffer with Elon Musk’s DOGE was accidentally given
        permission to edit a sensitive Treasury payments system, Fortune (Feb. 13, 2025),
        https://perma.cc/P928-YZY2.
        40
           Eli Hager, Anxiety Mounts Among Social Security Recipients as DOGE Troops Settle In,
        ProPublica (Feb. 22, 2025), https://perma.cc/K8X2-3KZW.
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        CNBC: “There is a lot you can do in terms of entitlements, in terms of cutting and in terms of also

        the theft and the bad management of entitlements.” 41

               62.     Elon Musk stated during the presidential campaign that if Trump were re-elected,

        his administration would likely cause “temporary hardship” for American citizens because of the

        ensuing budget cuts. 42

               63.     Elon Musk also expressed a desire to slash the federal budget by at least $2 trillion,

        a figure that amounts to more than what the federal government spent in the last fiscal year on

        “defense, education, veterans’ health and other discretionary items” combined. 43

               64.     On December 2, 2024, Musk implied that he was amenable to overhauling Social

        Security, quote tweeting an “X” thread by Senator Mike Lee that called Social Security an

        “outdated, mismanaged system.” 44

               65.     Since Donald Trump has taken office, both he and Elon Musk have repeatedly

        suggested that there is widespread fraud within Social Security, as well as other entitlements.

               66.     On February 11, 2025, Musk wrote on “X”: “At this point, I am 100% certain that

        the magnitude of the fraud in federal entitlements (Social Security, Medicare, Medicaid, Welfare,

        Disability, etc.) exceeds the combined sum of every private scam you’ve ever heard by FAR. It’s

        not even close.” 45




        41
           Kate Sullivan & Tami Luhby, Trump suggests he’s open to cuts to Medicare and Social
        Security after attacking primary rivals over the issue, CNN (Mar. 11, 2024),
        https://perma.cc/83AG-2QZ3.
        42
           Rob Wile & Lora Kolodny, Elon Musk asks voters to brace for economic 'hardship,' deep
        spending cuts in potential Trump Cabinet role, CNN (Nov. 1, 2024), https://perma.cc/3F5T-
        LQHG.
        43
           Tami Luhby et al., Trump wants Elon Musk to overhaul the government. Here’s what could be
        on the chopping block, CNN (Nov. 14, 2024), https://perma.cc/5ULP-QL7H.
        44
           Elon Musk (@elonmusk), X (Dec. 2, 2024, 9:47 PM ET), https://perma.cc/MX85-XK7K.
        45
           Elon Musk (@elonmusk), X (Feb. 11, 2025, 1:23 AM ET), https://perma.cc/R6YD-5KY9.
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                67.     On February 17, 2025, Musk falsely claimed on “X”: “Yes, there are FAR more

        ‘eligible’ Social Security numbers than there are citizens in the USA. This might be the biggest

        fraud in history.” 46

                68.     On February 17, 2025, White House Press Secretary Karoline Leavitt stated on Fox

        News that President Trump “has directed Elon Musk and the DOGE team to identify fraud at the

        Social Security Administration.” 47 Leavitt also stated on Fox News: “They haven’t dug into the

        books yet, but they suspect that there are tens of millions of deceased people who are receiving

        fraudulent Social Security payments.” 48

                69.     On February 19, 2025, Commerce Secretary Howard Lutnick stated on Fox

        News:

                        Back in October … I flew down to Texas, got Elon Musk to [set up DOGE], and
                        here was our agreement: that Elon was gonna cut a trillion dollars of waste fraud
                        and abuse….We have almost $4 trillion of entitlements, and no one’s ever looked
                        at it before. You know Social Security is wrong, you know Medicaid and Medicare
                        are wrong…. 49

                70.     On February 19, 2025, purported Acting SSA Commissioner Leland Dudek issued

        a press release endorsing DOGE and stating that DOGE “is a critical part of President Trump’s

        commitment to identifying fraud, waste, and abuse.” 50




        46
           Elon Musk (@elonmusk), X (Feb. 17, 2025, 12:17 AM ET), https://perma.cc/UU68-7ZHY.
        47
           Yamiche Alcindor & Raquel Coronell, Top Social Security official steps down after
        disagreement with DOGE over sensitive data, CNN (Feb. 17, 2025), https://perma.cc/9ZLL-
        VLFH.
        48
           Zachary B. Wolf, Trump and Musk set their sights on Social Security by spreading rumors,
        CNN (Feb. 19, 2025), https://perma.cc/YY7H-8XPA.
        49
           Acyn (@Acyn), X (Feb. 19, 2025, 8:16 PM ET), https://perma.cc/T4RA-6BXL.
        50
           Soc. Sec. Admin., Press Release, Statement from Lee Dudek, Acting Commissioner, about
        Commitment to Agency Transparency and Protecting Benefits and Information (Feb. 19, 2025),
        https://perma.cc/W33R-QKEZ.
                                                       17

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                71.     On February 22, 2025, President Trump reiterated his administration’s claims that

        tens of millions of Americans are improperly receiving Social Security benefits, 51 calling Social

        Security “the biggest Ponzi scheme of all time … It’s all a scam, the whole thing is a scam.” 52

                72.     On February 28, 2025, Elon Musk went on “The Joe Rogan Experience”—a widely

        listened to podcast—and proclaimed that “a basic search of the Social Security database” indicated

        “20 million dead people [were] marked as alive” and that “Social Security is the biggest Ponzi

        scheme of all time.” 53 That claim is false. 54

                73.     On March 4, 2025, in his first speech before a joint session of Congress, President

        Trump claimed there to be “shocking levels of incompetence and probable fraud in the Social

        Security Program.” 55

                74.     At the same time, SSA leadership has sought to wholly rework the agency.

                75.     On February 21, 2025, SSA announced an “organizational realignment” of its

        Office of Analytics, Review, and Oversight, which was responsible for addressing

        recommendations from external monitoring authorities and overseeing fraud detection. 56




        51
           The Express Tribune, Trump Reveals Shocking Social Security Records & Payments, YouTube
        (Feb. 20, 2025), https://perma.cc/4ZC6-EL8M; Justin Glawe, Lies, Cuts, Closures: Trump and
        Musk Ravage Social Security Administration, Rolling Stone (Feb. 28, 2025),
        https://perma.cc/Y76Q-AJAZ.
        52
           Mandy Taheri, Donald Trump Riffs on Social Security—'It's All a Scam,' Newsweek (Feb. 23,
        2025), https://perma.cc/THX8-3ZS4.
        53
           HappyScribe, #2281 – Elon Musk, The Joe Rogan Experience (Feb. 28, 2025),
        https://perma.cc/RJ9A-7K6Q.
        54
           Soc. Sec. Admin., Off. of Inspector Gen., IG Reports: Nearly $72 Billion Improperly Paid;
        Recommended Improvements Go Unimplemented (Aug. 19, 2024), https://perma.cc/WR7T-
        3KZA.
        55
           Full Transcript of President Trump’s Speech to Congress, supra note 24.
        56
           Soc. Sec. Admin., Press Release, Social Security Announces Change to Improve Agency
        Operations and Strengthen Protections (Feb. 21, 2025), https://perma.cc/3EC7-KARR.
                                                          18

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                76.     On February 24, 2025, SSA announced it was closing the agency’s Office of

        Transformation, 57 which was dedicated to the digital modernization of SSA programs and

        services, including improving the agency’s website. A day later, SSA shuttered its Office of Civil

        Rights and Equal Opportunity, 58 which had been tasked with overseeing the agency’s civil rights,

        equal employment, harassment prevention, accommodations, and disability services.

                77.     On February 27, 2025, SSA announced that it was implementing an “agency-wide

        organizational restructuring that will include significant workforce reductions” 59 and began

        offering buyouts to agency employees. 60

                78.     On February 28, 2025, SSA announced it was reducing the agency’s workforce by

        7,000 and reducing the number of regional SSA offices from ten to four. 61 The agency had already

        been at a fifty-year staffing low. 62

                79.     That same day, over twenty senior SSA leaders announced their resignations. 63

                80.     During this time, DOGE has also been examining SSA’s contracting and other

        systems, posting various cuts to agency contracts on its “wall of receipts.” 64



        57
           Soc. Sec. Admin., Press Release, Social Security Eliminates Wasteful Department (Feb. 24,
        2025), https://perma.cc/WMY9-T2WN.
        58
           Soc. Sec. Admin., Press Release, Social Security Dissolves Duplicative Office (Feb. 25, 2025),
        https://perma.cc/CMG2-JBCJ.
        59
           Soc. Sec. Admin., Press Release, Social Security Announces Options to its Workforce (Feb. 27,
        2025), https://perma.cc/J64C-SX3T.
        60
           Aaron Navarro, Social Security Administration offering voluntary buyouts ahead of
        "significant workforce reductions," CBS News (Feb. 27, 2025), https://perma.cc/3XYQ-HHQJ.
        61
           Soc. Sec. Admin., Press Release, Social Security Announces Options to its Workforce (Feb. 27,
        2025), https://perma.cc/J64C-SX3T.
        62
           Natalie Alms, Social Security shutters its civil rights and transformation offices, Gov’t Exec.
        (Feb. 26, 2025), https://perma.cc/VY6T-K9FZ.
        63
           Gregory Korte and Emily Birnbaum, Social Security Revamp Sees at Least Two Dozen
        Leaders Exit, Bloomberg Law (Feb. 28, 2025), https://perma.cc/K7HL-S43F.
        64
           The people voted for major reform, Dep’t of Gov’t Efficiency, https://perma.cc/G6VS-NR2J
        (Last visited Mar. 6, 2025); Aliss Higham, DOGE Reveals Social Security Administration Cuts,
        Newsweek (Feb. 20, 2025), https://perma.cc/3R6K-BZEC.
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                  81.      The purported Acting Commissioner has confirmed: DOGE personnel—or, as he

        called them, “outsiders who are unfamiliar with nuances of SSA programs”—are calling the

        shots. 65

             V.         DOGE Seeks Access to Protected Information at SSA

                  82.      DOGE has also sought access to SSA data systems containing highly sensitive

        information.

                  83.      On the morning of January 30, 2025, Tiffany Flick—then-Acting Chief of Staff to

        the Acting SSA Commissioner—received a phone call from Leland Dudek—who was at the time

        serving as a mid-level manager in the Office of Program Integrity, where he worked on anti-fraud

        measures. 66 Mr. Dudek told Ms. Flick that some members of DOGE requested to be on-site

        immediately and wanted to come to SSA headquarters that day. Over the following two weeks,

        DOGE, working with Mr. Dudek, ransacked the agency, installing DOGE associates without

        proper vetting or training, threatening career employees, and demanding access to some of the

        agency’s most sensitive data systems.

                  84.      Then-Acting Commissioner Michelle King and other career employees did their

        best to hold DOGE at bay, understanding the harm that would ensue should DOGE gain unfettered

        access to SSA’s data systems.

                  85.      In the end, DOGE won. The President installed Mr. Dudek as the purported Acting

        Commissioner, and Commissioner King and Ms. Flick retired from government service.

                  86.      Commissioner Dudek then gave DOGE access to numerous data systems, including

        at least the following:


        65
           Lisa Rein et al., DOGE is driving Social Security cuts and will make mistakes, acting head
        says privately, Wash. Post (Mar. 6, 2025), https://perma.cc/FYY3-QGRR.
        66
           Marisa Kabas, The Curious Case of Leland Dudek, The Handbasket (Feb. 20, 2025),
        https://perma.cc/HND5-AHVQ.
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                              a.     The Enterprise Data Warehouse, which houses SSA’s master files

                      and includes extensive information about anyone with a Social Security number,

                      including names, names of spouses and dependents, work history, financial and

                      banking information, immigration or citizenship status, and marital status;

                              b.     The NUMIDENT file, which contains information about the

                      assigning of Social Security numbers;

                              c.     The Master Beneficiary Record and Supplemental Security Record

                      files, which contain detailed information, including medical information, about

                      anyone who applies for or receives Social Security or Supplemental Security

                      benefits.

                87.   Now, reporting suggests that SSA is now pushing to get DOGE access to additional

        data systems, including the Federal Parent Locator Service and the National Directory of New

        Hires database—both of which contain additional sensitive information about working Americans,

        including quarterly wage data from state workforce agencies, unemployment insurance claims,

        employer history and information, information about child support cases and child support

        orders. 67

                                         HARMS TO PLAINTIFFS

                88.   Plaintiffs have been engaged in, advocating for, and ensuring the availability of

        Social Security benefits for decades, as a central piece of their missions. Plaintiffs ASCME and

        AFT have active members in the workforce who participate in and contribute to the Old Age,

        Survivors, and Disability Insurance (“OASDI”) program managed by SSA. AFSCME, AFT, and

        ARA also have retired members—most of whom receive OASDI payments or are otherwise


        67
          Jeff Stein and Dan Diamond, DOGE targets child support database full of income data, Wash.
        Post (Mar. 6, 2025), https://perma.cc/D9DX-WVGU.
                                                      21

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        eligible for OASDI. Many AFSCME members also have children who receive disability benefits

        administered by SSA of whom receive survivor benefits.

               89.     SSA has collected and stored extensive personal and financial information about

        Plaintiffs’ members, including their Social Security numbers, names and addresses, taxable

        income, and contributions to Social Security.

               90.     Many of Plaintiffs’ members also have highly sensitive medical information on file

        with SSA, including members whose medical records may contain information that carries stigma.

               91.     Plaintiffs’ members have understood the information they submit to SSA to be

        private barring a few specific exceptions. Their trust in SSA is engendered by their understanding

        of the privacy laws the agency is subject to and the agency’s own public commitments to data

        privacy, both in its official communications (for example, on its website) and in the statements

        made by agency employees during the course of conducting SSA business.

               92.     SSA Defendants are required by law to protect the sensitive personal and financial

        information that they collect and maintain about individuals from unnecessary and unlawful

        disclosure.

               93.     Plaintiffs’ members have not—and do not—consent to the release of their sensitive

        information to DOGE personnel.

               94.     The decision to grant DOGE personnel access to the extensive records that SSA

        maintains—and any future decisions to do so—without obtaining or even requesting the consent

        of affected individuals like Plaintiffs’ members, violates those requirements and upends the

        reliance these members had on their data being secure.

               95.     Plaintiffs’ members—senior citizens—are also among the most targeted for and

        vulnerable to scams seeking or using their sensitive financial and medical information.


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               96.     Plaintiffs’ members rely on the programs that President Trump, Elon Musk, the

        White House, and DOGE are targeting to live.

               97.     Defendants’ actions have thus harmed Plaintiffs’ members by depriving them of

        privacy protections guaranteed by federal law and by making their information available for, and

        subject to, investigation by DOGE and scammers. This harm is exacerbated by the attendant risk

        that this information, still being improperly disclosed, is more easily accessed and abused by

        malicious actors.

                                             CLAIMS FOR RELIEF

                                                Count I
         Violation of the APA: Unlawful, Arbitrary and Capricious Agency Action, 5 U.S.C. § 706
                                     (Privacy Act, 5 U.S.C. § 552a)

               98.     Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               99.     The Privacy Act prohibits agencies from “disclos[ing] any record which is

        contained in a system of records by any means of communication to any person, or to another

        agency, except pursuant to a written request by, or with the prior written consent of, the individual

        to whom the record pertains.” 5 U.S.C. § 552a(b).

               100.    The Privacy Act authorizes agencies to enter into agreements to share data,

        including via computer matching agreements, only if they adhere to strict processes. 5 U.S.C.

        § 552a(o).

               101.    SSA Defendants have disclosed and continue to disclose personal records contained

        in systems of records under their control. Those disclosures are neither pursuant to a written request

        from Plaintiffs’ members nor made with their prior written consent. 5 U.S.C. § 552a(b).




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               102.    SSA Defendants have also entered inter-agency data sharing agreements without

        abiding the process prescribed by law, 5 U.S.C. § 552a(o).

               103.    SSA Defendants’ conduct constitutes final agency action under 5 U.S.C. § 704.

               104.    SSA Defendants have thereby engaged in conduct that is contrary to law, in excess

        of statutory authority, and arbitrary, capricious, an abuse of discretion, or otherwise not in

        accordance with law. See 5 U.S.C. § 706(2).

                                                    Count II
                                  Violation of the Privacy Act, 5 U.S.C. § 552a

               105.    Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               106.    The Privacy Act prohibits agencies from “disclos[ing] any record which is

        contained in a system of records by any means of communication to any person, or to another

        agency, except pursuant to a written request by, or with the prior written consent of, the individual

        to whom the record pertains.” 5 U.S.C. § 552a(b).

               107.    The Privacy Act authorizes agencies to enter into agreements to share data,

        including via computer matching agreements, only if they adhere to strict processes. 5 U.S.C.

        § 552a(o).

               108.    SSA Defendants have disclosed and continue to disclose personal records contained

        in systems of records under their control. Those disclosures are neither pursuant to a written request

        from Plaintiffs’ members nor made with their prior written consent. 5 U.S.C. § 552a(b).

               109.    SSA Defendants have also entered inter-agency data sharing agreements without

        abiding the process prescribed by law, 5 U.S.C. § 552a(o).




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               110.    Accordingly, and alternatively to Count I, Plaintiffs are entitled to civil remedies

        under 5 U.S.C. § 552a(g).

                                               Count III
         Violation of the APA: Unlawful, Arbitrary and Capricious Agency Action, 5 U.S.C. § 706
         (Internal Revenue Code, 26 U.S.C. §§ 6103, 7213A; Social Security Act, 42 U.S.C. § 1306)

               111.    Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               112.    The Internal Revenue Code makes clear that “[r]etrns and return information shall

        be confidential” and prohibits, and the Social Security Act prohibits “disclosure of any return or

        portion of return.” 26 U.S.C. § 6103; 42 U.S.C. § 1306.

               113.    “Return information” includes “the nature, source, or amount” of a taxpayer’s

        income and any other data gathered or collected by the Secretary of the Treasury.

               114.    SSA Defendants unlawfully permitted DOGE Defendants to access and inspect tax

        return information protected by the Internal Revenue Code, 26 U.S.C. §§ 6103, 7213A, and the

        Social Security Act, 42 U.S.C. § 1306.

               115.    Defendants’ conduct constitutes final agency action under 5 U.S.C. § 704.

               116.    Defendants have thereby engaged in conduct that is contrary to law, in excess of

        statutory authority, and arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

        with law under 5 U.S.C. § 706(2).




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                                               Count IV
         Violation of the APA: Unlawful, Arbitrary and Capricious Agency Action, 5 U.S.C. § 706
                                      (FISMA, 44 U.S.C. §§ 3554)

               117.    Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               118.    SSA Defendants have administered systems containing vast quantities of sensitive

        personal information without complying with statutorily required security protections under

        FISMA. 44 U.S.C. §§ 3554(a)(1)–(2).

               119.    Defendants’ conduct constitutes final agency action under 5 U.S.C. § 704.

               120.    Defendants have thereby engaged in conduct that is contrary to law, in excess of

        statutory authority, and arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

        with law under 5 U.S.C. § 706(2).

                                                Count V
         Violation of the APA: Unlawful, Arbitrary and Capricious Agency Action, 5 U.S.C. § 706

               121.    Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               122.    SSA Defendants have disclosed an unfathomable amount of sensitive, personally

        identifying information about the American public without acknowledging that SSA was changing

        its policies, identifying the source of its authority to do so, or providing any analysis whatsoever

        of why its decision is not arbitrary and capricious, and without considering the consequences,

        including to the reliance interests of Plaintiffs and their members.

               123.    Defendants’ conduct constitutes final agency action under 5 U.S.C. § 704.

               124.    Defendants have thereby engaged in conduct that is contrary to law, in excess of

        statutory authority, and arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

        with law under 5 U.S.C. § 706(2).




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                                                    Count VI
                                                Actions Ultra Vires

               125.    Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               126.    In directing and controlling the use and administration of Defendant SSA’s

        systems, DOGE Defendants have breached secure government systems and caused the unlawful

        disclosure of the personal data of hundreds of millions of people.

               127.    DOGE Defendants may not take actions which are not authorized by law.

               128.    No law or other authority authorizes or permits DOGE Defendants to access or

        administer these systems.

               129.    Through such conduct, DOGE Defendants have engaged (and continue to engage)

        in ultra vires actions that injure Plaintiffs’ members by exposing their sensitive, private, and

        personally identifiable information and increasing the risk of further disclosure and misuse thereof.

                                               Count VII
             Violation of the Appointments Clause, U.S. Const. Art. II, § 2, cl.2, 42 U.S.C. § 902

               130.    Plaintiffs assert and incorporate by reference the foregoing paragraphs.

               131.    The Appointments Clause of the U.S. Constitution provides that officers of the

        United States may be appointed by the President “by and with the advice of the Senate” unless

        Congress has “by Law” authorized the appointment of an inferior officer by the President, the

        courts, or a department head. U.S. Const. Art. II, § 2, cl.2.

               132.    As purported Acting Commissioner, Defendant Dudek is exercising significant

        authority and discretion. He therefore was purporting to act as an officer for purposes of the

        Appointments Clause when he unlawfully gave DOGE access to systems. The same is true today.



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               133.    Despite serving in a presidentially appointed and Senate-confirmed position,

        Defendant Dudek was neither nominated by the President nor confirmed by the Senate. Nor has

        Congress enacted any law authorizing him to perform the functions and duties of the

        Commissioner without Senate confirmation.

               134.    Mr. Dudek is therefore acting in violation of 42 USC § 902.

               135.    Plaintiffs filed suit to challenge the access granted to SSA systems within a

        reasonable amount of time after it occurred, and Defendants had reasonable notice of the defect in

        Mr. Dudek’s appointment. The grant of initial and continued access to SSA systems is thus

        unlawful and must be invalidated.


                                             REQUESTED RELIEF

               Plaintiffs therefore request that this Court:

               1.      Declare unlawful and fully enjoin DOGE Defendants’ access, inspection,

        disclosure, or use of any information, including but not limited to return information, personally

        identifiable information, or non-anonymized information, that is contained in or obtained, derived,

        copied, or exported from SSA information systems or systems of record;

               2.      Declare unlawful and fully enjoin all Defendants’ access, inspection, disclosure, or

        use of any SSA information system or system of record, or data contained in or obtained, derived,

        copied, or exported therefrom, for any purpose other than those permitted by the Privacy Act, a

        published System of Records Notice, the Internal Revenue Code, and the Federal Information

        Security Modernization Act.

               3.      Declare unlawful and fully enjoin DOGE Defendants’ or purported Acting

        Commissioner Dudek’s direction or control of access, inspection, disclosure, or use of any SSA


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        information system or system of record, or data contained in or obtained, derived, copied, or

        exported therefrom, including but not limited to return information, personally identifiable

        information, and non-anonymized information;

               4.      Direct all Defendants to file, within 24 hours of issuance of any grant of injunctive

        relief, a notice confirming that DOGE Defendants no longer have access to SSA information

        systems or systems of record or any data contained in or obtained, derived, copied, or exported

        therefrom;

               5.      Order DOGE Defendants to disgorge or delete all unlawfully obtained, disclosed,

        or accessed data, including but not limited to return information, personally identifiable

        information, or non-anonymized data, from any SSA information system or system of record they

        could not lawfully access prior to January 20, 2025;

               6.      Prohibit DOGE Defendants from installing any software on SSA devices,

        information systems, or systems of record and order that any software previously installed be

        removed;

               7.      Prohibit DOGE Defendants from accessing, altering, or disclosing any SSA

        computer or software code;

               8.      Award costs and reasonable attorneys’ fees incurred in this action; and

               9.      Grant such other relief as the Court may deem just and proper.

               Plaintiffs request a trial by jury on all issues so triable.




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        Dated: March 7, 2025                      Respectfully Submitted,

                                                   ________________________
                                                   Alethea Anne Swift (Bar No. 30829)
                                                   Mark B. Samburg (Bar No. 31090)
                                                   Karianne M. Jones*+
                                                   Emma R. Leibowitz*+
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                                                   Counsel for Plaintiffs
                                                   * Admission to this Court pending
                                                   + Admitted pro hac vice




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                                       CERTIFICATE OF SERVICE

               I hereby certify that I filed this document through the CM-ECF system and sent it via

        email to counsel for Defendants in the Federal Programs Branch at the Department of Justice,

        Civil Division. I additionally certify that summons were submitted for Defendants Russo, Musk,

        and Gleason.

         Dated: March 7, 2025                            /s/ Alethea Anne Swift
                                                         Counsel for Plaintiffs




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


        AMERICAN FEDERATION OF STATE,
        COUNTY AND MUNICIPAL
        EMPLOYEES, AFL-CIO, et al.,

                          Plaintiffs,
                                                Case No. 1:25-cv-00596-ELH
                    v.

        SOCIAL SECURITY
        ADMINISTRATION, et al.,

                          Defendants.



                 DEFENDANTS’ MOTION FOR A STAY PENDING APPEAL AND
                      MEMORANDUM IN SUPPORT OF THE MOTION




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                                                 INTRODUCTION

                Defendants respectfully move for a stay of this Court’s Memorandum Opinion and Order,

        as clarified, see ECF Nos. 48–52. For the reasons stated in Defendants’ Opposition to Plaintiffs’

        Motion for Temporary Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay,

        Defendants are likely to prevail on appeal. This Court lacks jurisdiction because Plaintiffs have

        not alleged a concrete harm and because the data access decisions Plaintiffs challenge are not

        reviewable under the Administrative Procedure Act. Moreover, on the merits, and assuming

        jurisdiction, Defendants are likely to prevail on Plaintiffs’ claims that Defendants acted in violation

        of the Privacy Act and arbitrarily and capriciously. The equities also weigh in favor of a stay.

        Neither Plaintiffs nor their members will be harmed during the pendency of an appeal, and the

        Court’s injunction intrudes on the basic operation of federal agencies and thwarts implementation

        of a critical Presidential directive.

                Plaintiffs oppose this motion.

                                                   ARGUMENT

                   THE COURT SHOULD STAY ITS INJUNCTION PENDING APPEAL

                Defendants request a stay pending appeal of the Court’s injunction under Federal Rule of

        Civil Procedure 62. In evaluating whether to grant a stay pending appeal, courts consider four

        factors: (1) the movant’s likelihood of prevailing on the merits of the appeal, (2) whether the

        movant will suffer irreparable harm absent a stay, (3) the harm that other parties will suffer if a

        stay is granted, and (4) the public interest. See Hilton v. Braunskill, 481 U.S. 770, 776 (1987);

        Long v. Robinson, 432 F.2d 977, 979 (4th Cir. 1970).

                For the reasons stated in Defendants’ Opposition to Plaintiffs’ Motion for Temporary

        Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay, Defendants are likely to



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        prevail on appeal. See Defs.’ Opp’n to Pls.’ Mot. for TRO, Prelim. Inj., and/or Stay, ECF No. 36

        (“Defs.’ Opp’n”). First, Plaintiffs lack Article III standing because they fail to allege concrete

        injury. Id. at 6–13; TransUnion LLC v. Ramirez, 594 U.S. 413, 417 (2021). Plaintiffs claim a

        purely intangible form of injury—namely, they allege that the disclosure of their personal

        information to DOGE team members at the agencies constitutes an invasion of privacy. That

        injury is not concrete. Nor does the tort of intrusion upon seclusion have a “close relationship” to

        Plaintiffs’ claimed injury. TransUnion, 594 U.S. at 417. Mere access to data housed by a

        government agency by government employees is not an unwarranted intrusion in the home, or

        otherwise into Plaintiffs’ members solitude or seclusion. See O’Leary v. TrustedID, Inc., 60 F.4th

        240, 246 (4th Cir. 2023). Compare Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 462 (7th Cir.

        2020) (Barrett, J.) (finding standing based on “irritating intrusions” caused by unwanted text

        messages, which is “analogous to [the] type of “intrusive invasion of privacy” covered by the tort

        of intrusion upon seclusion); Garey v. James S. Farrin, P.C., 35 F.4th 917, 919, 922 (4th Cir.

        2022) (finding standing where defendants had obtained plaintiffs information to mail unsolicited

        advertising materials to the plaintiffs’ homes). There is no intrusion at all into Plaintiffs’ members’

        seclusion, much less one that would be “highly offensive” to a reasonable person. Restatement

        (Second) of Torts § 652B.

               The Court also lacks jurisdiction because Plaintiffs do not challenge final agency action

        reviewable under the APA. Defs.’ Opp’n. at 13–19. Plaintiffs sought, and have now received, an

        injunction that manages the day-to-day operations of the defendant agencies. But the APA does

        not provide oversight of the types of decisions such as which agency employees get access to

        which data systems. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 899 (1990); Indep. Equip.

        Dealers Ass’n v. EPA, 372 F.3d 420, 427 (D.C. Cir. 2004). And personnel decisions about which



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        particular agency personnel have access to any particular agency data system is not “final” because

        they are not decisions by which “rights and obligations have been determined” or from which

        “legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997).

               On the merits, Plaintiffs fail to show any violation of the Privacy Act because the DOGE

        team members of the Social Security Administration are employed (or effectively employed

        through detail arrangements) by their respective agencies and have a “need to know” within the

        meaning of 5 U.S.C. § 552a(b)(1). Defs.’ Opp’n. at 19–23. The Court’s contrary conclusion is

        inconsistent with federal agency practice broadly and imposes obligations on agencies beyond

        what the Privacy Act requires. Defendants are also likely to prevail on Plaintiffs’ claim that

        Defendants acted arbitrarily and capriciously. It was not arbitrary and capricious for Defendants

        to grant access to data systems to agency personnel engaged in implementing the President’s

        Executive Order of “improv[ing] the quality and efficiency of government-wide software, network

        infrastructure, and information technology (IT) systems.” 90 Fed. Reg. 8441, § 4. It is sufficient

        and reasonable that members of the agency DOGE teams were employed by the relevant agency

        and that Defendants, in their broad discretion to manage agency operations, found it appropriate

        to grant access so that those employees could perform duties within the scope of their employment,

        including detecting fraud, waste, and abuse in SSA programs.

               The remaining factors—irreparable harm, the balance of harms, and the public interest—

        likewise favor the requested stay. In their motion for injunctive relief and reply brief in support

        thereof, Plaintiffs repeatedly claim that the continued disclosure of the Plaintiffs’ members’

        personal information within each agency is irreparable harm that money damages cannot rectify.

        ECF Nos. 21-1, 39. But as other courts have found in cases addressing similar issues, that kind of

        harm is not irreparable because the mere possibility of misuse of data is conjectural, and Plaintiffs



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        fail to provide evidence that their information has been improperly made public. See Defs.’ Opp’n.

        at 28–29 (citing similar cases denying injunctions based on lack of irreparable harm)

               By contrast, the preliminary injunction causes direct irreparable injuries to the government

        and the public, whose interests “merge” in this context. See Nken v. Holder, 556 U.S. 418, 435

        (2009). As described in the accompanying declaration of Acting Commissioner Leland Dudek,

        the injunction harms the agency’s operations by halting ongoing efforts to detect and eliminate

        fraud. See Declaration of Leland Dudek (appended). Preventing the SSA DOGE Team from

        continuing their work, moreover, deprives the agency of valuable expertise and effectively stops

        work on projects that could otherwise reduce improper payments to the tune of millions of dollars

        per day. Id. ¶¶ 5–8.

               More broadly, the Court’s injunction impinges on the President’s broad authority over and

        responsibility for directing agency employees. It is therefore “an improper intrusion by a federal

        court into the workings of a coordinate branch of the Government.” Immigr. & Naturalization

        Serv. v. Legalization Assistance Project of the L.A. Cty. Fed’n of Labor, 510 U.S. 1301, 1305–06

        (1993) (O’Connor, J., in chambers). By instructing the government who can and cannot access

        the Defendant agencies’ data systems, the Court curtails the Executive Branch’s core duty to

        manage the day-to-day operations of its agencies. See City of New York v. United States Dep’t of

        Def., 913 F.3d 423, 431 (4th Cir. 2019) (“This distinction between discrete acts, which are

        reviewable, and programmatic challenges, which are not, is vital to the APA’s conception of the

        separation of powers.”); see also Walmart Inc. v. U.S. Dep’t of Just., 517 F. Supp. 3d 637, 655

        (E.D. Tex. 2021) (finding that challenges to agency action “must identify specific and discrete

        governmental conduct, rather than launch a ‘broad programmatic attack’ on government's

        operations.’”), aff’d, 21 F.4th 300 (5th Cir. 2021).



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                                                 CONCLUSION

               For these reasons, and for the reasons stated in Defendants’ opposition to Plaintiffs’ Motion

        for Temporary Restraining Order, Preliminary Injunction, and/or 5 U.S.C. § 705 Stay, Defendants

        ask the Court to stay its temporary restraining order pending resolution on appeal. Defendants

        intend to seek relief from the Fourth Circuit later today.



        Dated: March 26, 2025                         Respectfully submitted,

                                                       YAAKOV M. ROTH
                                                       Acting Assistant Attorney General
                                                       Civil Division, Federal Programs Branch

                                                       ELIZABETH J. SHAPIRO
                                                       Deputy Branch Director
                                                       Civil Division, Federal Programs Branch

                                                       BRADLEY P. HUMPHREYS
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                                                        /s/ Marianne F. Kies
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                                         Attorneys for Defendants




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                                       CERTIFICATE OF SERVICE

                I certify that on March 26, 2025, I electronically filed the foregoing and thereby caused a

         copy to be served on counsel of record.

                                                                /s/ Marianne F. Kies
                                                                MARIANNE F. KIES




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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         NORTHERN DIVISION

         AMERICAN FEDERATION OF STATE,
         COUNTY AND MUNICIPAL EMPLOYEES,
         AFL-CIO, et al.,

                  Plaintiffs,
                  vs.                                      Civil Action No. 1:25-cv-00596

         SOCIAL SECURITY ADMINISTRATION,
         et al.,
                 Defendants.



                                  DECLARATION OF LELAND DUDEK

        I, Leland Dudek, hereby declare upon penalty of perjury:

           1. I am the Acting Commissioner at the Social Security Administration (SSA), in Woodlawn,

               Maryland, and I have served in this role since February 16, 2025.

           2. In my role as Acting Commissioner, I am responsible for the exercise of all powers and the

               discharge of all duties of the agency and have authority and control over all personnel and

               activities thereof. This includes assigning duties and authority to act to officers and

               employees of the agency, including information and systems access by SSA’s DOGE

               Team.

           3. I provide this declaration to explain the operational burden on the agency to continue to

               comply with the Court’s March 20, 2025 Temporary Restraining Order (Order). These

               statements are made with my personal knowledge, discussion with SSA staff, and review

               of documents and information furnished to me in the course of my official duties.




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              4. The SSA DOGE team partners with SSA’s anti-fraud offices to address fraud costing

                  taxpayers and Social Security beneficiaries up to $521 billion annually.1 Essential to these

                  efforts is the ability of the SSA DOGE team to work and partner with other SSA employees

                  in order to carry out the President’s Executive Order 14158, which tasks the DOGE teams

                  with modernizing federal technology and software to maximize governmental efficiency

                  and productivity to work with Agency heads to promote inter-operability, ensure data

                  integrity, and facilitate responsible data collection and synchronization.

              5. The SSA DOGE team provides world-class professionals such as highly-skilled engineers

                  who have extensive private sector experience dealing with complex fraud and automation

                  issues. These highly specialized DOGE Team detailees and special government

                  employees are appointed to work and consult with SSA on a time limited basis. SSA has

                  a strong business need to ensure these time limited employees can continue key agency

                  efforts without interruption to receive the full benefit of their expertise and appointments

                  at SSA.

              6. The SSA DOGE team is focusing on key efforts that would adversely impact the agency

                  and public if not timely pursued, which include:

                      a. Direct Deposit Fraud: Fraudsters alter direct deposit information for retirement,

                          disability, or SSI benefits, diverting payments from recipients.

                      b. Wage Reporting Fraud: Fake W-3s are filed to launder illicit income or claim

                          inflated tax returns from the Internal Revenue Service, for which SSA partners in

                          its combined annual wage reporting process.




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            See https://www.gao.gov/fraud‐improper‐payments.

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                   c. Improved Fraud Detection: The agency lacks certain security features that could

                       improve fraud detection and automation. These efforts are targeting systemic

                       vulnerabilities to protect funds and beneficiaries.

                   d. Extreme Age Records: The agency has certain records in its master files that

                       reflect extreme age of the individual but for which SSA does not have a date of

                       death in our system, which results in individuals showing as living when they may

                       be deceased.

            7. Every day that SSA must stop work on the above key projects risks increased and

               continued fraud, waste, or abuse in government programs that could have been addressed.

               For instance, SSA’s Fiscal Year 2024 Financial Report2 estimates $10.4 billion of

               improper payments annually (including fraud, waste, and abuse), which equates to

               approximately $28.5 million per day in potential improper payments while existing

               systems and processes remain in place.

            8. SSA’s most senior leadership, including myself, have and continue to spend a substantial

               amount of time on ensuring compliance with and response to the Court’s Order. This

               time has significantly impacted SSA’s ability to complete work necessary to otherwise

               manage the agency and complete our mission work.



        I declare the foregoing to be true and correct, upon penalty of perjury.



        Date: __3/26/2025____                 Signed: ___/s/ Leland Dudek___________

                                              Leland Dudek
                                              Acting Commissioner

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         See pages 192 and 198 of this Report, available at
        https://www.ssa.gov/finance/2024/Full%20FY%202024%20AFR.pdf

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                                     Social Security Administration




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                                 CERTIFICATE OF SERVICE

              I hereby certify that on March 26, 2025, I electronically filed the

        foregoing with the Clerk of the Court by using the appellate CM/ECF

        system. Participants in the case are registered CM/ECF users and service

        will be accomplished by the appellate CM/ECF system.



                                                     s/ Jacob Christensen
                                                    Jacob Christensen
